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                              Exhibit A
      Cited Administrative Record Excerpts
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                              Medicare
                            Part C & D
             Call Center Monitoring
    Accuracy and Accessibility Study
                         Technical Notes




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Document Change Log

   Previous                                                         Description of                                                         Revision
   Version                                                             Change                                                               Date
        2008                 Added purpose section, contact information, and expanded/clarified                                          05/15/2016
                                                           definitions
        2017                Revised call and measure outcomes and provided additional detail for                                          3/23/2017
                                 performance metrics shown in HPMS for 2017, including
                                                    unsuccessful calls.
        2019                          Expanded sections for Purpose, Contact Information,                                                06/30/2019
                                              and Understanding the Data. Added FAQs.
        2021                          Revised language to match the Call Center Monitoring                                               07/20/2021
                                                Memo, and expanded/clarified definitions
        2022                                                                                                                             06/30/2022
                                      Revised based on 42 CFR 422.111(h) and 423.128(d)

        2024                          Revised language around where calls originate. Minor                                               06/05/2024
                                                format updates.


Purpose

This document describes the Medicare Part C and Part D Call Center Monitoring metrics for the
yearly Accuracy and Accessibility Study. All results are reported at the contract level.
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Background

Each year, CMS issues an annual Call Center Monitoring Memo to all Medicare Advantage
Organizations (MAOs), Prescription Drug Plans (PDPs), Medicare Advantage-Prescription Drug
Plans (MA-PDs), and Medicare-Medicaid Plans (MMPs) affected by the Call Center Monitoring
studies it performs. The memo explains that the studies are for the purpose of monitoring the
performance of plan sponsors’ call centers with respect to the standards adopted to implement 42
C.F.R. §422.111(h)(1) and 42 C.F.R. §423.128(d)(1). The annual memo describes the study and
also offers tips to help your organization be successful. The annual memo supersedes any
definitions contained in this document.

In an effort to reduce the burden on plans by reducing the number of phone calls necessary for
the Accuracy and Accessibility Study, CMS selects samples across call centers rather than
basing this study on the phone number itself. In order to select these samples, we review the toll-
free prospective beneficiary customer service phone numbers listed in HPMS for your Part C and
Part D prospective customer service centers. CMS’ monitoring contractor, Insight Policy
Research, then asks the compliance officer on record in HPMS to indicate if the customer service
phone numbers route into the same or different physical call centers. The monitoring contractor
then determines the number of distinct physical call centers indicated by the compliance officer
and notes which phone numbers route to each unique physical call center. The contractor assigns
a unique call center indicator (in other words, a numerical identifier) to each call center for use in
the study.

This study is conducted at the call center indicator level by calling all toll-free prospective phone
numbers for the Part C call center or the Part D call center. A simple random sample method is
adopted for the Accuracy and Accessibility Study where no advance knowledge of call centers’
Limited English Proficiency (LEP) and TTY services or customer service representative (CSR)
performance is required. There are eight different survey modes: English, Spanish, French,
Vietnamese, Mandarin, Cantonese, Tagalog, and TTY. (These modes are announced each year in
the annual call center monitoring memo.) English is considered the native language we are
testing for all states/territories except Puerto Rico, where Spanish is tested as the native
language. For interpreter availability/LEP calls, the overall sample size is first determined at the
unique phone line or call center level and the sample size for each mode is then allocated.
Although TTY services utilize a separate set of phone numbers, TTY is defined as one of the
survey modes and it is treated like one of the languages from the sample design perspective.
Therefore, TTY calls are a subset of the total sample. Since there is no TTY call center
information, TTY sample size is first built at the unique TTY phone number level. For state relay
phone numbers and other TTY lines that cover a large number of contracts, the sample is
selected at the TTY/ LEP call center level to get sufficient coverage for these lines.
The metrics and compliance outcomes are posted in the HPMS at the conclusion of the study.
The raw data, which is available by download from HPMS, show which accuracy questions
were “assigned” to plans for each case/call. Each call center is assigned a numerical call
center indicator which is also shown in the raw data. All plan-level results are “rolled up”and
reported out to you in HPMS by contract ID.

Results are displayed for all MAOs, MA-PDs, PDPs, and MMPs. Data were collected from
contracts that cover U.S. territories but were not collected from the following organization types:
1876 Cost, Employer/Union Only Direct Contract PDP, Employer/Union Only direct Contract
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PFFS, National PACE (Programs for the All-Inclusive Care of the Elderly), MSA, employer
contracts, and organizations that did not have a phone number accessible to survey callers.
Contracts with only SNPs are excluded from the accuracy measure of the Accuracy and
Accessibility Study. Any plan under marketing and enrollment sanction is excluded from the
Accuracy and Accessibility Study until such sanction is released.

The following categories are reported within the HPMS Call Center Monitoring Part C and Part
D Prospective Beneficiary Customer Support Performance Metrics sections: TTY functionality,
interpreter availability/LEP, accuracy measures, and breakouts by language tested, unsuccessful
calls, and Star Ratings. The TTY functionality and interpreter availability/LEP scores are
combined for Star Ratings purposes but are shown in the Call Center Monitoring data only as
they relate to the Accuracy and Accessibility Study. Inquiries about Star Ratings should be
referred to the Part C & D Star Ratings Team.


Contact Information

The Call Center Monitoring resource mailbox can assist you with all aspects of Call Center
Monitoring, including questions or concerns related to this study. Please include the contract ID,
phone number on which the call was received, and specific details such as the unique call ID
found in the raw data or the date and time of the call along with your question/concern. Please
do not use secure email to communicate with us. This project never shares personally
identifiable information.

If you have questions or require information about other subject areas that overlap with Call
Center Monitoring, please write to those contacts directly and cc the Call Center Monitoring
mailbox.

       CMS Medicare Learning Network Team: MLNMattersTeam@cms.hhs.gov
       Part C & D Star Ratings: PartCandDStarRatings@cms.hhs.gov




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Performance Metrics Availability in HPMS

Detailed results (e.g., number of calls by language, number of questions answered correctly,
number of completed TTY calls, etc.) will be available in the HPMS at the following paths:
(https://hpms.cms.gov):

   1. For Part C results, from the HPMS home page (https://hpms.cms.gov): Quality and
      Performance > Performance Metrics > Call Center Monitoring > Part C Prospective
      Beneficiary Customer Service > [choose date range for current study] > [enter the
      contract number].

   2. For Part D results, from the HPMS home page (https://hpms.cms.gov): Quality and
      Performance > Performance Metrics > Call Center Monitoring > Part D Prospective
      Beneficiary Customer Service > [choose date range for current study] > [enter the
      contract number].


Understanding the Data: Call Outcomes Compared to Measure Outcomes

Call outcomes and measure outcomes may differ, meaning you may have a call listed in the raw
data that reached a CSR, but one of the measures included in that call was not successful. To
help you understand your raw data and your results, please think about the separate phases of
each call as shown below:

       Phase 1: Dial
       Phase 2: Connect
       Phase 3: Introductory Question (Interpreter Availability/LEP or TTY measure)
       Phase 4: Accuracy Measure

In phase 1 (dial), we download your toll-free and alternate toll-free (TTY) calling information
fromHPMS. We program it, schedule it, and then dial it.

In phase 2 (connect), we determine if we can reach a live CSR at the plan who can assist us with
our questions. Reasons for unsuccessful calls may include (1) wrong number listed in HPMS; (2)
technology barrier preventing us from connecting (e.g., all circuits are busy; please check
number and try again later); (3) prolonged wait times for a representative due to high call
volumes at the plan; (4) center is closed at an inappropriate time; or (5) other reasons caused by
the plan or the plan’s phone carrier.

Whichever type of call was scheduled (TTY, interpreter availability/LEP, or native language
call) will be scored as unsuccessful if we are not able to connect to a live CSR at the plan during
that scheduled call or if the CSR cannot assist us with our questions or cannot forward our call to
someone who can assist. (CMS provides you with a data dictionary in HPMS. The data




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dictionary provides definitions for our numerical codes in the raw data. These codes explain the
outcome for you.)

Once we connect to the plan, we wait in the IVR or hold queues until a CSR is available, with
certain time limits. Timers allow 10 minutes each for wait times in both hold and IVR queues for
non-TTY calls. If either timer expires before we reach a live CSR, the call is unsuccessful.
Whichever type of call was scheduled (TTY, interpreter availability/LEP, or native language
call) will be scored as unsuccessful if we are not able to reach a live CSR.

If we connect with a live CSR within the given time parameters, the call moves into phase 3
(introductory question) to ensure we are speaking with a representative in the correct
department. If yes, the call is moves into phase 4 to ask the three accuracy questions.

       For native language the call is connected if we reach a live representative within the
       permitted time.
       The interpreter availability/LEP measure may have a connected, complete, or
       unsuccessful outcome. If we are testing interpreter availability, we place the call in a
       foreign language and wait for the CSR to bring an interpreter to the phone to assist the
       CSR in answering our introductory question. We permit eight minutes for the CSR to
       connect to an interpreter and answer our introductory question. An example of an
       introductory question is, “Are you the right person to answer questions about [Plan
       name’s] health benefits?” The call is considered connected when the caller connects with
       the CSR. The interpreter availability/LEP measure is considered completed when the
       CSR, via an interpreter, provides an affirmative response to the introductory question
       (before beginning the first of three general Medicare or plan-specific accuracy questions)
       within eight minutes. Alternatively, if a CSR happens to speak the foreign language we
       are testing, and that representative is able to answer the questions without an interpreter’s
       assistance, this too would count as a completed interpreter availability/LEP measure
       outcome. In order for the interpreter availability/LEP measure to be complete, there
       must be true communication, meaning the CSR must answer the introductory question
       and be able to converse in the foreign language we are testing with or without an
       interpreter’s assistance. For non-SNP cases, we will then move to the accuracy measure
       by asking the first of three accuracy questions.
       The TTY functionality measure may have a connected, complete, or unsuccessful
       outcome. When we test TTY functionality, we contact the plan via TTY device either
       directly for in- house TTY devices or via a state or national relay operator’s assistance
       when the plan opts to list 711 or a state relay operator’s phone number in HPMS. If we
       can connect to a live CSR and they answer “yes” to the introductory question (e.g., “Are
       you the right person to answer questions about [Plan name’s] health benefits?”) within
       seven minutes,the TTY functionality measure is completed.
       For non-SNP cases, we will then move to the accuracy measure by asking the first of
       three accuracy questions.
       The final phase for non-SNP calls is the accuracy measure. Recall that SNPs are exempt
       from the accuracy measure, so for SNPs, this phase is skipped. Accuracy question
       outcomes are defined as either having been answered correctly or answered incorrectly.
       Accuracy questions not answered due to a timer expiring are not included in the
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       calculation of the percentage of accurately answered questions for this measure. For this
       reason, not answering before the seven-minute timer expires is neutral to the plan’s
       performance.

If we are testing accuracy in the native language, we simply call the plan’s toll-free prospective
phone number and ask the CSR “Are you the right person to answer questions about…?” and
wait to ensure we hear a “yes” response before we move on to the first accuracy question.
English calls placed within the United States are given seven minutes to answer the introductory
question. Spanish calls paced within Puerto Rico are likewise given seven minutes to answer the
introductory question. (Please note that when we call plans in Puerto Rico, where Spanish is the
native language, and we ask questions in English, this is considered an interpreter
availability/LEP call and not a native language call, so CSRs would therefore be given eight
minutes to answer the introductory question.)

For all non-SNP call types, we ask up to three plan-specific benefit questions or general
Medicare questions. The contractor knows the correct answer it should receive, and their
interviewer “scores” the answer received from the CSR against the expected response. In the raw
data, you will see the question we asked, the expected response, and the scoring. If an incorrect
answer was provided by a CSR, we record what the CSR stated during the call in the raw data.
You may use the raw data to better understand your accuracy measure scores. You should also
use the raw data and results from the study as a learning experience for your CSRs. CMS
recommends that you review the raw data to see what questions were answered incorrectly, and
then review the correct information with your staff members as a knowledge refresher
opportunity.

The raw data will show outcomes for each test call placed. The raw data will include a numerical
code for the call that also explains the call outcome. Please refer to the data dictionary to help
you decipher the numerical call outcome codes. The data dictionary is available for download in
HPMS next to the link for the Raw Data at the bottom of the performance metrics pages. In
addition to the raw data, HPMS will list the unsuccessful call in the performance metrics section
as well as the reason why the call was unsuccessful.

Please be aware that certain outcome codes in the raw data imply a call is completed.
       Code 295 indicates the call was completed, meaning that the interpreter
       availability/LEP or TTYmeasure (phase 3) and the accuracy questions (phase 4) were
       completed.
       Code 295.2 indicates an SNP call was completed, meaning the interpreter
       availability/LEP or TTY measure (phase 3) was completed. (SNPs do not receive accuracy
       questions.)
       Code 290.x (where x is filled in with a number) indicates that interpreter availability/LEP
       or TTY measure (phase 3) was completed, and the accuracy measure (phase 4) was
       partially completed. This means we reached a live CSR and received a response to the
       introduction question, but a later measure was not able to be completed for some reason.
       For example, code 290.7 is defined in the data dictionary as “Partial interview - CSR
       could not answer accuracy question in seven minutes.” This means the call was answered
       by a live person and the phase 3 measure (interpreter availability/LEP, TTY
       functionality, or native language call) was completed. We then moved on to the phase 4
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       component of the call – the accuracy measure - where a separate seven-minute timer is
       activated for each accuracy question. In this example, a code 290.7could mean that the
       CSR did not answer the first, second, or third accuracy question because a timer expired,
       or some other problem prevented that from happening. You can review the raw data for
       the individual call to determine if each question was answered and, if so, whether it
       answered accurately or inaccurately. The raw data also shows you if and when a timer
       expired for an accuracy question, meaning on the first, second, or third accuracy
       question. Please recall that any unanswered question has a neutral impact to the plan’s
       performance and is not cause for concern.

Performance Metrics
The performance metrics listed below correspond with column letters in the Call Center
Performance Metrics tables in HPMS.

Total Number of all Monitoring Calls – This metric is the number of all monitoring calls,
including interpreter availability/LEP, TTY, and native language calls.

Total Number of Completed Monitoring Calls - This metric includes the total number of
completed LEP calls, completed TTY calls, and completed native language calls (codes 295,
295.2, 290.x).

All Calls - Percentage of Completed Calls out of All Calls – This metric shows the
percentage of completed monitoring calls out of the total number of monitoring calls.

Unsuccessful Calls – This section shows the call weeks, which are the calendar weeks of the
year when the study was active. For example, week 1 is the first week in January. This study is
normally active from approximately February through June. The chart includes a count of
unsuccessful calls, the total number of unsuccessful calls during the study, and a call outcome
description. For example, the reader may see an outcome description that states, “TTY seven-
minute HOLD.” This would imply that the call interviewer was on hold for longer than seven
minutes when testing TTY functionality, and therefore the call was unsuccessful, and thus the
TTY measure was unsuccessful.

   A call is classified as unsuccessful for any of the following reasons:
      Phone number was called but did not answer after six rings.
       Survey could not continue; Call Center disconnected call (including hanging up).
       Survey could not continue; Call Center responded in Spanish only.
       Survey could not continue; call dropped before it rang six times.
       Survey could not continue; line did not accept incoming calls.
       Survey could not continue; message stated that the target number cannot be dialed from
        surveyor’s area code.
       Survey could not continue; phone line problems.
       Survey could not continue; reached a number that was NOT the targeted call center (due
        to incorrect phone number listed in HPMS).
       Survey could not continue; reached a system filtering inbound calls.
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        Survey could not continue; reached Call Center voicemail.
        Survey could not continue; received a busy signal.
        Survey could not continue; technology barrier (e.g., received a computer modem/fax
         machine signal, beeper/pager number, etc.)
        Survey could not continue; received a message that an identification number was needed
         to continue.
        Survey could not continue; received a TYY device for the hearing impaired when calling
         via telephone.
        Survey could not continue; received message that the Call Center was closed.
        Survey could not continue; CSR refused to answer question.
        Survey could not continue; CSR insists on member name, SSN, ID etc. to continue.
        Survey could not continue; CSR tells our interviewer to call back.
        Survey could not continue: CSR unable to answer questions about Medicare/Medicaid.
        Surveyor navigated the IVR for 10 minutes and call reached time limit.
        Surveyor was in the HOLD queue for 10 minutes and then call reached limit.
        Surveyor cannot connect to TTY operator.
        Surveyor can connect to TTY operator but cannot connect to the plan.
        Survey could not continue for other reasons*.

 *When the classification “Survey could not continue for other reasons” is used, the interviewer
 includes the reason in a descriptor field. Most commonly recorded reasons include:
        Disconnected number
        CSR Offers New Number to Call

 Connected and Completed Calls by Language - The languages tested were: English, Spanish,
 French, Vietnamese, Mandarin, Cantonese, and Tagalog. HPMS displays the total number of
 monitoring calls, total number of connected calls, total number of completed calls,and
 percentage of completed calls out of all calls.

 Total Number of All Interpreter Availability/LEP Monitoring Calls – The metric shows
 the total number of monitoring calls placed to test interpreter availability.
 Total Number of Completed Interpreter Availability/LEP Calls Out of All LEP Calls –
 This metric shows the total number of times that an attempt to confirm interpreter availability
 was completed.

    A call is considered connected when the caller reaches the CSR (phase2). A call is
    considered complete when establishing contact with an interpreter (or receiving assistance
    through a bilingual CSR), answering the introductory question (phase 3), and then beginning
    the first of three general Medicare or plan-specific accuracy questions (phase 4) within eight
    minutes of reaching a CSR. (For example, this means the introductory question was
    answered “yes” before moving on to the first accuracy question in the accuracy measure.)
    Interpreters must be able to communicate responses to the call surveyor in the call center’s
    non-primary language (Spanish in Puerto Rico and English elsewhere) about the plan
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    sponsor’s Medicare benefits.

 Percentage of Completed Interpreter Availability/LEP Calls Out of All LEP Calls – This
 metric shows the percentage of completed LEP calls out of the total number of all LEP
 monitoring calls.

 Total Number of TTY Monitoring Calls - This metric shows the total number of
 monitoring calls placed to test TTY functionality.

 Total Number of Completed calls to the organization TTY number - This metric shows
 the total number of times that an attempt to confirm TTY functionality was completed.

    Completed contact using a TTY device is defined as establishing contact with and
    confirming that the CSR can answer questions about the plan’s Medicare Part C (or Part D)
    benefit within seven minutes. Remember: A call is considered connected for TTY cases when the
    caller reaches the plan.

 Percentage of completed calls to the organization TTY number – This metric shows the
 percentage of completed TTY calls out of the total number of TTY monitoring calls.

 Star Ratings Calculation - The calculation of this measure is the number of completed contacts
 with the interpreter and TTY divided by the number of attempted contacts. Completed contact with
 an interpreter is defined as establishing contact with an interpreter and confirming that the customer
 service representative can answer questions about the plan’s Medicare Part C benefit within eight
 minutes. Completed TTY contact is defined as establishing contact with and confirming that the
 customer service representative can answer questions about the plan’s Medicare Part C benefit within
 seven minutes. The formula is as shown below.

                        # Completed TTY calls + # Completed LEP calls
                        # TTY calls + # LEP calls


 For more info on Star Ratings: https://www.cms.gov/Medicare/Prescription-Drug-
 Coverage/PrescriptionDrugCovGenIn/PerformanceData.html

 Accuracy - Total Number of Medicare Questions Answered – This metric shows the total
 number of times the Medicare accuracy questions were answered within seven minutes. If an
 answer was not provided before the seven-minute timer expired during the monitoring call, it
 was not counted in this metric.

 Accuracy - Total Number of Accurate Answers to all Medicare Questions – This metric
 shows the total number of times a CSR provided an accurate response to the accuracy
 question.

 Accuracy - Percentage of Accurate Answers to all Medicare Questions – This metric is
 the percentage of times that a Medicare question was answered accurately out of the total
 number of Medicare questions answered.

 Foreign Language Accuracy Result – This metric is the percentage of times that a Medicare
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 question was answered accurately out of the total number of Medicare questions answered,
 when those questions were asked in a foreign language.

 TTY Accuracy Result – This metric is the percentage of times that a Medicare question was
 answered accurately out of the total number of Medicare questions answered, when those
 questions were asked via TTY device.


 Call Center Monitoring Definitions

 Accuracy Questions – During the Accuracy and Accessibility Study, CMS interviewers will ask
 up to three accuracy questions per monitoring call placed. Each question is allotted seven
 minutes to determine if the CSR is able to provide an accurate and timely response to questions
 based upon the approved bid submission submitted into HPMS by the plan, or to a general
 Medicare accuracy question. The percentage of accurate responses is calculated as the number of
 questions answered accurately divided by the total number of answered questions multiplied by
 100. Note: If a CSR is unable to answer the question before the timer expires, the call ends
 without progressing to the next accuracy question (e.g., question number 2 or 3). The effect of a
 timed-out call during the accuracy measure is neutral to the plan, meaning the question was not
 answered accurately or inaccurately and therefore is not counted in the accuracy measure
 performance metric.

 Hold Time
 During the Accuracy and Accessibility Study, the maximum hold time for waiting in an IVR or
 in the Hold queue is 10 minutes for non-TTY calls.

 The Hold queue is defined as the time spent on hold by the interviewer following the interactive
 voice response (IVR) system, touch-tone response system, or recorded greeting and before
 reaching a live person. After 10 minutes has expired, the system closes out the case and the
 interviewer assigns a status code shown in the raw data.

 Interpreter Availability is defined as the percent of time that a caller was able to communicate
 with someone and receive answers to questions in the caller’s language and ask that person
 questions. Interpreters must be able to communicate responses to the call surveyor in the call
 center’s non-primary language about the plan sponsor’s Medicare or Medicare-Medicaid
 benefits. (The primary language is Spanish in Puerto Rico and English elsewhere.) A call is
 considered connected when the caller confirms that the call connects to the CSR. The measure is
 considered completed when contact has been established with an interpreter and the introductory
 question has been correctly answered within eight minutes of reaching a CSR. The interviewer
 may also have moved on to asking the first of three general Medicare or plan- specific accuracy
 questions, but this is not required for consideration as a completed interpreter availability
 measure. The number of completed calls out of all foreign language calls is used for compliance
 as well as star ratings measures.

 Limited English Proficiency (LEP) – The acronym LEP is used in the performance metrics
 section of HPMS to indicate a call made to determine interpreter availability as part of the
 Accuracy and Accessibility Study.


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 LEP Hold Time is a code used to capture the time waiting for the interpreter. Each call is allotted
 eight minutes for this timer.

 LEP Hold time begins after reaching a live customer service representative and ends after the
 interviewer has confirmed that the CSR is available and able to assist in answering questions
 about Medicare Part C or Part D benefits.

 Missing Data - When call data are not available for a contract, HPMS will display “N/A.”
 Reasons for missing data include technical issues and other reasons for which calls cannot be
 made/connected.

 Phone Numbers - Prospective beneficiary customer service lines are called for the Accuracy and
 Accessibility Study. Phone numbers used in the study were extracted from data provided by
 MAOs, MA-PDs, PDPs, and MMPs in HPMS for prospective Part C and Part D customer
 service lines. Customer service numbers were extracted at the plan-level (i.e., HXXXX-001 or
 SXXXX-001). Extracts from HPMS are performed to update phone numbers on a weekly basis
 throughout this study.

 Calls are made to a number during the time it is supposed to be operable, which is at least 8:00
 a.m. to 8:00 p.m. (according to the time zones for the regions in which they operate) for
 prospective beneficiary customer service lines. For example, if the same phone number serves
 plans in both New York and California, that number received calls from 8:00 a.m. in New York
 until 8:00 p.m. in California. The calls received are distributed throughout the interval. Statistics
 for any given contract typically include all calls made to phone numbers associated with the
 contract.

 If any beneficiary customer service calls were made before the hour of 8:00 a.m. in the time
 zone of the contract’s eastern-most service area or after 8:00 p.m. in the time zone of the
 western-most service area, they will be excluded from the analyses for that specific contract
 since the contractor is not expected to maintain call center operations at those times.

 Connected Calls – Generally speaking, a call is considered “connected” when the study caller
 reaches a live person (or connects to the plan for TTY calls) in a timely manner. The measure is
 considered completed when that person confirms that they are able to assist the caller with
 questions about Medicare Part C or Part D benefits in a timely manner.

 Time Data - All time data are provided in minutes and seconds in the format of MM:SS and are
 recorded in the Eastern Time Zone.

 When reviewing the raw data, please remember to calculate the time difference between
 the East Coast and your plan’s region(s).

TTY functionality is defined as the percent of the time a caller using a TTY device was able to
communicate with someone who could answer questions either at the sponsor’s call center or via
relay operator. The calculation of this measure is the number of completed contacts with the CSR
divided by the number of attempted contacts.
TTY Hold Time is a code used to capture the time waiting for the TTY operator. The TTY hold
time is the time between reaching the plan, either via 711/state relay operator or connecting
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directly to a live CSR, and the time when a live CSR confirms he or she can assist with questions
about Medicare Part C or Part D benefits and the confirmation was received on the tester’s TTY
device. The time for waiting for the TTY operator (TTY_HOLD) is seven minutes.

HPMS Display Groupings

 The Accuracy and Accessibility Study displays all cumulative results for the total study in any
 given year. Weekly and quarterly totals are not available.


 Raw Data

 The raw data that supports these performance metrics is also available in HPMS in the Part C
 and Part D prospective beneficiary customer service performance metrics sections. Links to the
 raw data are displayed immediately below the performance metrics display. MAOs, MA-PDs,
 PDPs, and MMPs may download the data either in an Excel document for a single contract, or as
 a text-delimited file for all contracts under the parent organization ID.


 Data Dictionary

 A data dictionary is available for you to download via link in HPMS adjacent to the link for the
 raw data. The data dictionary provides an explanation for numerical codes shown in the raw data.




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 Frequently Asked Questions

 Accuracy and Accessibility Study

 Question: During what time of day do you place outbound monitoring calls for the Accuracy
 and Accessibility Study?

 Answer: Calls are made to a number during the time it is supposed to be operable, which is at
 least 8:00 a.m. to 8:00 p.m. (according to the local time zones for the regions in which they
 operate) for beneficiary customer service lines. For example, if the same phone number serves
 plans in both New York and California, the number receives test calls from CMS from 8:00 a.m.
 in New York until 8:00 p.m. in California. The calls received in that interval are distributed
 evenly throughout the interval. Statistics for any given contract typically include all calls made to
 phone numbers associated with the contract.

 Where multiple time zones are served by a single call center servicing multiple contract IDs, if
 any beneficiary customer service calls were made before the hour of 8:00 a.m. in the time zone
 of the contract’s eastern-most service area or after 8:00 p.m. in the time zone of the western-most
 service area, the call will be excluded from the analyses for that specific contract since the
 contractor is not expected to maintain call center operations at those times.

 Note: Prospective beneficiary customer service lines are called for the Accuracy and
 Accessibility Study. Phone numbers used in the study were extracted from data provided by MA
 organizations and Part D sponsors in HPMS for prospective Part C and Part D customer service
 lines. Customer service numbers were extracted at the plan-level (i.e., HXXXX-001 or SXXXX-
 001). Extracts from HPMS are performed to update phone numbers on a weekly basis throughout
 this study.

 Prior to the start of this study, CMS asked MA organizations and Part D sponsors to indicate if
 the prospective customer service phone numbers in HPMS routed to one or more physical call
 centers so that CMS could assign a call center indicator. This was done in an effort to minimize
 the call volume to Part C and Part D prospective enrollee customer service call centers.

 Question: How are call center indicators assigned?

 Answer: CMS’ contractor writes to the compliance officer and asks them to assign a letter (A, B,
 C for example) for each physically separate, distinct call center it operates. We do this late in the
 year prior to the study beginning the following year. The CMS contractor then further breaks
 down the sample by phone numbers, plan types, etc. and assigns indicators as necessary for call
 completion.

 This process can become quite involved for large contracts that cover SNPs, non-SNPs, MMPs,
 and non-MMPs. If you are confused by the raw data and you are in a large contract that covers
 many plan types, it may be best to send specific questions to
 CallCenterMonitoring@cms.hhs.gov and we will assist you.

 Below are some generalities about our contractor’s process:

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        Calls made to call center indicators that have phone numbers dedicated to SNP plans may
        be handled differently. If an assigned call center indicator only includes phone numbers
        that are dedicated to SNP plans, there is no change. If a call center indicator includes
        phone numbers that are dedicated to SNP plans along with phone numbers that serve both
        SNP and non-SNP, at least one LEP or English call is made to the SNP-dedicated phone
        number. Please note that a contract with ONLY SNPs is exempt from the accuracy
        measure and interviewers will not ask any accuracy questions on calls under these SNP-
        only contracts. Contracts with both SNP and non-SNP plans will be asked accuracy
        questions for the non-SNP plans and no accuracy questions are asked for the SNP plans.
        The results are rolled up to the contract level.
        Regarding how calls are applied, our contractor reviews the counties served by each plan
        type and the time zones served in those local service areas. (For example, some contracts
        will occasionally have counties that are split into two time zones. If two time zones are
        served, the call center is required to be open from 8 am to 8 pm in EACH local service
        area/time zone.) Calls are scheduled to be placed at appropriate times. The results of the
        calls are applied to every contract ID within the call center indicator that is appropriate
        based upon the time the call was actually placed.

 To handle a big contract which normally covers all SNPs, non-SNPs, MMPs, and non-MMP
 plans, our contractor needs extra steps and assumptions to make sure that it can minimize the
 amount of calls to the plans. These assumptions are made, for example, for contracts with

    1. Some phone numbers covering both SNPs and non-SNPs.
    2. Some phone numbers covering either MMPs or non-MMPs.
    3. Some phone numbers covering both MMPs and non-MMPs.

When a compliance office has indicated a physical call center is shared by SNP-only and non-SNP
phone numbers, calls are distributed so that the SNP-only number receives at least one call a week.
In this case, TTY calls are only made to non-SNP phone numbers. When a call center only uses
SNP-only phone numbers, the call center can expect six calls per week, including TTY calls.
We will not ask any accuracy questions for SNP plans, so the call is considered complete when
an interpreter is available and answers “Yes” to our introductory question. In contrast, for non-
SNP plans we will also ask accuracy questions. Consequently, SNPs which share phone numbers
with non-SNPs can also share interpreter availability/LEP performance metrics with the non-
SNP plan (but NOT vice versa.)

 As stated previously, this can be confusing for large organizations, so let us know if you need
 help by sending your contract ID and your question to CallCenterMonitoring@cms.hhs.gov.


 Question: Is there an average number of phone calls placed for the Accuracy and Accessibility
 Study?

 Answer: Each year, CMS’ contractor re-evaluates the number of calls needed for statistical
 significance in keeping with the margin of error for this study, so the examples below should
 only be used as an estimate of the volume of calls that could be received in any given year.
 In 2024, you could expect to receive, on average, 96 calls to each call center indicator. This
 total comes from an average of 6 calls each week. Those 6 calls were comprised of 1 TTY test

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 call, 2 native language calls, and 3 foreign language calls. In 2024, we placed approximately 96
 calls to your Part C Call Center Indicator, and approximately 96 calls to your Part D Call Center
 Indicator, if you were a sponsor offering Part D services.

 The contractor will review the information each year to determine how many calls should be
 placed for that year’s study.

 Recall that the Accuracy and Accessibility Study is conducted at the call center level, not the
 phone number level like the Timeliness Study. Our monitoring calls include the native language
 (Spanish in Puerto Rico; English elsewhere), TTY, and each of the six foreign languages that we
 test. Note that a call center indicator could have many phone lines (e.g., 35 phone lines in 2024)
 and each call will be to a different phone number when there is more than one number for a call
 center indicator. Another thing to note is that one phone line can be associated with multiple
 plans.

 Interpreter Availability Measure

 Question: When do you release the languages for testing?

 Answer: We announce the languages in our annual call center monitoring memo. We typically
 release this in December of the year prior to the study. The memo is announced via HPMS and is
 emailed to compliance officers listed in HPMS for the organizations we monitor.

 Question: During the Accuracy and Accessibility Study, when testing interpreter availability, if
 the interviewer remains on the line for more than the eight minutes allowed, before having an
 ability to ask for an interpreter, would this be considered an unsuccessful – or failed – call result?

 Answer: For our Accuracy and Accessibility Study, when testing interpreter availability, there
 are separate timers for many functions. There is one for time spent in the IVR and a separate
 timer for the hold queue, and there is still another timer for time waiting for the interpreter to
 join. Once the call is answered, our interviewer identifies if he or she encountered an IVR or a
 live person (sometimes a call center is set up so that a live customer service representative
 answers the phone rather than the IVR options). Other things our interviewer could experience
 are whether there was a ring but no answer or some kind of auto-dialer failure. The majority of
 the time they encounter an IVR. Time spent in the IVR is captured in “IVR_Time” in our raw
 data. For all non-TTY calls, when the interviewer encounters an IVR, the plan has 10 minutes
 before the test call will time out if no CSR comes to the phone. If a timer expires, the call ends
 and the interviewer records information to capture the call failure so it will appear in the raw
 data. If a live CSR does come to the phone before those 10 minutes expire, our interviewer then
 selects “Live Operator” on their screen so that the raw data will capture the time when this




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 occurred. The second timer is what we call the “LEP_Hold” screen if we are testing interpreter
 availability, with LEP meaning “limited English proficiency.” This is an 8-minute timer. The
 interpreter should connect with the CSR and assist with answering yes to our introductory
 question before the 8-minute LEP Hold timer goes off; if not, the call ends due to the timer
 failure, and this is an unsuccessful call counted toward the interpreter availability measure.

 The introductory question we ask is “Are you the right person to answer questions about [Plan
 name’s] health (or prescription drug) benefits?” We determine the question based upon which
 number we dialed - the Part C prospective beneficiary line or their Part D prospective beneficiary
 line. If the CSR, with assistance via the interpreter, is able to respond “yes,” we move on to the
 first of three accuracy questions. If we hear “yes” before the timer expires and move to the first
 accuracy question, this is a complete interpreter availability measure outcome.

 To answer your question directly, if an interviewer sat on the line waiting for the plan CSR for
 10 minutes in the IVR or on hold but no CSR picked up the call, the call will time out and it will
 be counted as an unsuccessful call. If the CSR answers, this is a connected call outcome. If the
 CSR cannot get the interpreter on the line and have the interpreter help to answer the
 introductory question before the 8-minute LEP Hold timer goes off, the call is ended, and the
 interpreter availability measure does not have a complete result.

 Question: Regarding the rule about connecting an interpreter within eight minutes, can no single
 transaction be longer than eight minutes, or is this an average?

 Answer: No single transaction can take longer than eight minutes. If it takes longer than eight
 minutes for the CSR to bring the interpreter onto the line to answer our introductory question, the
 timer will expire, and the call will end. This results in an unsuccessful outcome. For the
 interpreter availability measure to be complete, the CSR, with the interpreter’s help, must be able
 to respond “yes” to the introductory question before the 8-minute timer expires.

 Question: During the interpreter availability test, is there actually a Limited English Proficient
 (LEP) person on the line, or do you use bilingual agents?

 Answer: We use bilingual interviewers. They are fluent in the language being tested.

 Question: How is the interpreter availability performance established? Must the call be
 connected and complete? We believe this to mean:

        Caller reaches a live CSR
        CSR brings an interpreter on the line, and the interpreter relays a response to the
        question, “Are you the right person to answer questions about…?” and
        Caller begins to ask the first benefit question within eight minutes of reaching the CSR.

 Answer: For interpreter availability, we measure both connected and completed statuses. We
 report both results to you in HPMS at the conclusion of the study.




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 To explain further, if we establish contact with your CSR while speaking in a foreign language,
 the call is connected. Then we ask an introductory question (for example, “Are you the right
 person to answer questions about [Plan name’s] health benefits?” The CSR will then bring an
 interpreter to the phone to assist with answering that question. Answering the introductory
 question with the interpreter’s assistance (or having a bilingual CSR answer the introductory
 question in the language being tested) within eight minutes determines the outcome of the
 interpreter availability measure (i.e., a caller was able to reach someone who could speak the
 caller’s language and ask that person questions). Once the interpreter helps the CSR answer
 “yes” to this introductory question, if done within eight minutes and allowing us to move on to
 the first accuracy (benefit) question for non-SNP plans, we have determined that your interpreter
 availability measure is complete. Once we know that a yes answer has been received, we stop
 measuring interpreter availability and begin measuring the accuracy component by moving on to
 the first of three accuracy (benefit) questions, each of which is given seven minutes to answer.
 So, the definition we provide of needing to move on to begin the first of three accuracy questions
 for a complete interpreter availability status simply shows that the introductory question has been
 answered and we’ve then moved on to the next separate measure, which is accuracy. In other
 words, your explanation above is a correct understanding of the interpreter availability measure.

 The difference between a connected call outcome and a complete interpreter availability measure
 is reported for you. A number of things could cause a call to go awry and not permit the
 interpreter availability measure to complete. For example, sometimes the interpreter joins the call
 and the CSR then hangs up or gets disconnected. Sometimes the interpreter joins but then the
 interpreter gets disconnected. If this happens, they cannot actually answer the introductory
 question, so interpretation did not occur and the measure is not complete. In this scenario, a CSR
 could have a second interpreter join and answer the introductory question. As long as that
 happens within eight minutes, we could still have a complete outcome.

 Question: Does the outcome of the three accuracy questions have any bearing on the interpreter
 availability component of the survey, or do these just pertain to the accuracy measure?

 Answer: The accuracy questions only pertain to the accuracy measure. They have no bearing on
 the interpreter availability measure. We only count questions in our accuracy scores that were
 asked to and answered by the CSR. If our timer expires before the CSR can answer an accuracy
 question, the effect is neutral to the plan because unanswered accuracy questions are not counted
 in the numerator or the denominator for the accuracy measure. So, if a timer expires, the call will
 end but please know that this has a neutral effect on the plan’s performance.


 TTY Functionality

 Question: Do plans have to use teletypewriters for TTY functionality?

 Answer: For the purpose of this study TTY can refer to either a machine (device) or IP software.
 Plans must provide TTY functionality, but CMS does not direct plans on how to handle the calls.


 Question: Do you ask questions in foreign languages when testing TTY functionality?

 Answer: The TTY measure is conducted in English only. For plans with service areas
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 exclusively in Puerto Rico, please be aware that we do test TTY only in English for your plans as
 well.

 Question: If the state or national (711) relay operator for TTY is not available or accidentally
 drops the call, is the outcome considered unsuccessful?

 Answer: Yes, the outcome would be considered unsuccessful if the state or national relay
 operator is not available or accidentally drops the call.

 The majority of contracts opt to use the relay operator via 711 in lieu of using in-house TTY
 equipment, so we want to share additional information about the monitoring experience when
 using a relay operator. Below is a narrative describing the process.

 During the call, the 711-relay operator narrates what is happening via TTY for the contractor’s
 interviewer as they move through the call. That way, we can capture what is happening and report
 those metrics for each contract. Below is a description of how it works, andinstances when a
 failure is or is not counted against the contract.

 The interviewer uses TTY IP (Internet Protocol) to call 711. There is no ring limit for TTY
 calls to the relay operator.

 If the call does not connect to the relay operator on the first attempt or they receive a busy signal,
 they may log out of the TTY program, restart if needed, and make a second attempt to connect
 via 711. If they cannot connect via 711 on the second attempt, they also have a toll-free number
 for the relay operator to be used in a third attempt. If the interviewer uses the toll-free option in
 lieu of 711, they are trained to leave a comment in the call notes. For example, they might
 include this note, “Call did not go through with 711 and used 1-800-xxx-xxxx instead.” If, after a
 third attempt, theinterviewer is not able to connect with a TTY relay operator, the inability to
 connect is reported and this is counted against the contract. Codes for reporting a failure to
 connect via TTY are available. For example, we might see code 296.19 (TTY Could Not
 Connect to Relay Operator) in the raw data results. Rationale: We attempt to create an authentic
 experience of a Medicare beneficiary trying to receive assistance via a TTY device. Our policy is
 to report an unsuccessful call if, after three attempts, we cannot connect to the relay operator. The
 organization should use this feedback to evaluate its business policy for use of a relay operator
 in lieu of an in-house TTY device.

 Once our interviewer connects using TTY IP with the relay operator at 711, we give 711 the
 plan’s toll-free Part C or Part D prospective beneficiary customer service number to dial. There
 is no timer activated at this point. We ask the TTY operator to confirm the number he or she is
 dialing. Note: If the TTY operator dials the wrong number, the monitoring contractor opts to use
 its “do over” option available to try again. In this scenario, the invalidated call is not counted
 against the plan.

 The operator will narrate what’s happening by replying through the TTY software, e.g., he or
 shemay type “ringing.”

 When answered, the relay operator will relay the next options: “Thank you for calling The
 Example Health Plan. Please hold for next representative,” or relay the IVR options available. At
 this point, the seven-minute TTY hold timer is initiated.
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 The interviewer navigates through the IVR via the relay operator by telling the operator to select
 X in the IVR choices, or to say “representative.” If the relay operator relays information to the
 interviewer indicating that his or her call disconnected from the health plan when making the
 requested selection in the IVR, the disconnected call gets coded as such and this is counted in the
 results in the same manner that disconnected calls are counted for non-TTY calls.

 If the relay operator indicates there has been an extended hold time and asks if we wish to call
 back later, the interviewer will state again, “No, please hold for a live CSR.” The CMS
 interviewer will hold until a live CSR answers or the seven-minute TTY hold timer expires.
 According to the Federal Communications Commission’s Telecommunications Relay Service
 Consumer Guide, the relay operator answering or placing a call must stay with the call for a
 minimum of 10 minutes to avoid disruptions to the user, and relay operators must answer 85
 percent of all calls within 10 seconds. If a relay operator is unwilling to hold for the duration of
 our seven-minute timer waiting for a live representative to answer, the outcome is beyond CMS’
 control and an unsuccessful call will be attributed to the plan.

 If the call successfully connects with a live CSR who can respond “yes” to the introductory
 question (“Are you the right person to answer questions about [Plan name’s] health (or
 prescription drug) benefits?”) before the seven-minute TTY HOLD timer expires, the TTY
 measure is completed and the survey continues and each of the randomly generated three
 accuracy questions is asked. A time stamp is set on exiting the interviewer’s screen so that the
 length of time to answer can be determined. The TTY_HOLD timer captures the time waiting for
 the live CSR to respond to the relay TTY operator. We then move to asking the first of three
 randomly generated accuracy questions. Each accuracy question has its own seven-minute timer.

 If the relay operator stops responding via TTY before the introductory question is answered
 “yes” and relayed to us via TTY, this counts against the contract in the form of anunsuccessful
 TTY outcome. For example, our interviewer is communicating and types “GA” for “go ahead” to
 the relay operator on our TTY software and we receive no response in return. In this case, we
 remain on the line until the call times out. This is counted as unsuccessful in our test forTTY
 functionality because we have not had true communication in the process because we are still
 awaiting an answer to our introductory question. Our rationale behind this is that plans needsto
 know how members are affected when they attempt to contact their plan via a relay operator,
 especially if there are TTY functionality failures occurring during this process. We want plans to
 have this information so that they can make informed business decisions about processes that
 affect their membership.

 Question: If the relay operator disconnected from the TTY test call or the caller is unable to
 understand operator messages, why would CMS attribute that unsuccessful result to the plan?

 Answer: All organizations are free to decide if they want to use an in-house TTY device or TTY
 software to handle customer service calls from members or prospective members who have a
 hearing or speech impairment. When a plan opts to use a state or national relay service in lieu of
 using an in-house device, CMS considers the relay operator to be an agent of the plan. During
 our test calls, if we disconnect the line with the relay operator, we will not count the outcome of
 the call in the plan’s performance. If the relay operator disconnects the call or refused to wait the



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 entire seven minutes in use for the TTY hold timer, CMS views this the same as if the plan had
 disconnected the call or hung up because CMS views the relay operator as an agent of the plan,
 by extension. If the plan disconnects from the call with the relay operator through which we are
 communicating, we also count the unsuccessful outcome of the TTY call in the plan’s
 performance because the plan caused the disconnection to occur and thus the performance should
 reside with the plan. Please be aware that on our TTY calls, if the plan is disconnected, we will
 ask the relay operator if they know what happened, meaning we ask the relay operator if they
 know if the CSR hung up. Oftentimes, the relay operator will not know if the line was
 disconnected or the CSR hung up, but they are able to confirm for us that we still have an active
 line of communication open with the relay service and we are still able to communicate;
 therefore, our interviewer did not lose the connection with the relay operator. For this reason, if
 the plan or the relay service is the party that is no longer available on the call, the unsuccessful
 outcome is attributed to the plan.

 Question: How should we decide if we want to use an in-house TTY device or software or a relay
 service?

 Plan: This is a business decision for the plan to make and CMS cannot offer an opinion.
 Plans should weigh the pros and cons of using an in-house TTY system versus the national 711
 relay service or their state relay number.

 Question: Should we list 711 or the state relay operator’s number in HPMS?

 Answer: You may list either number in HPMS. When 711 is dialed, the call will route to the
 locality of where the call is originating from. Please understand that you can dial 711 to connect
 to certain forms of telecommunications relay services in the United States instead of having to
 remember a ten-digit telephone number for the state relay service. Dialing 711 makes it easier for
 travelers to use the relay service because they do not have to remember telecommunications relay
 service numbers in every state.

 Question: Is there anything we should do to test our in-house TTY devices or software?

 Answer: CMS, through its monitoring contractor, makes the following suggestions for testing
 in-house TTY devices or software:

        Regularly test your device to ensure that it is working properly.
        Have outside callers call in and test the system. (If in Puerto Rico, Guam, or island off the
        mainland, have someone on the mainland call into TTY system to test.)
        Have two callers from outside the system call at the same time to make sure there is no
        disruption on either call, calls don’t get disconnected, or garbling does not occur.
        When testing, check for garbled language on both sides of the call.
        Whenever you make a telephone system change, retest all TTY systems.
        If you have an outgoing message on your in-house TTY system that states to callers that
        if they called this number by accident, they should call the main number instead at xxx-
        xxx-xxxx, confirm that a TTY-recognized call will roll over to a TTY operator. This
        should be tested by calling from a phone line and a TTY line.
        Verify with your telecom provider that TTY calling is supported, in case there are any
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        settings on the carrier side that need to be adjusted.
        If using TTY Voice over Internet Protocol (VOIP), analyze network bandwidth
        utilization to confirm no packet loss. If there is packet loss, internet speed will need to be
        increased.

 Accuracy Measure

 Question: If the timer expired during our accuracy question and we were not able to answer it,
 is the result counted against the contract’s performance?

 Answer: No, the effect is neutral to the contract. During the Accuracy and Accessibility Study,
 CMS interviewers will ask up to three accuracy questions per monitoring call placed. Each
 question is allotted seven minutes to determine if the CSR is able to provide an accurate and
 timely response to questions based upon the approved bid submission submitted into HPMS by
 the plan, or to general Medicare accuracy questions. The percentage of accurate responses is
 calculated as the number of questions answered accurately divided by the total number of
 answered questions x 100. Note: If a CSR is unable to answer the question before the timer
 expires, the call ends. The effect of a timed-out call is neutral to the plan, meaning the
 question was not answered accurately or inaccurately and therefore is not counted in the
 equation since a response was not received in the allotted time.

 Question: Are we permitted to answer the three accuracy questions within 21 minutes?

 Answer: No. Each accuracy question has a seven-minute timer. If the first accuracy question is
 not answered before the seven-minute timer expires, the call ends. The second accuracy question
 will not be asked. Our interviewers make several calls to each plan so organizations should have
 sufficient opportunity to answer accuracy questions.

 Question: Why is accuracy not included in the Star Ratings?

 Answer: The accuracy measure results were previously part of the Star Ratings process. In the
 past, the majority of plans scored high ranks and that clustered the majority of plans together
 with similar results, so the measure itself was deemed to be not particularly helpful in
 differentiating one plan from another.

 Question: Is the accuracy test on the actual answer provided by the plan’s CSR or on the quality
 of the interpreter to relay the answer in the foreign language?

 Answer: Two of the goals of the Accuracy and Accessibility Study, which is performed by
 testing interpreter availability, TTY functionality, and accuracy of the questions asked, is to
 determine if interpreters are available, and to determine the accuracy of responses given to
 prospective members. So, we would separate the interpreter availability component from this
 question, as it is a given that an interpreter is available in this scenario. In regard to the accuracy
 questions, an interpreter must be able to respond to questions accurately, so if the interpreter did
 not do that correctly, this must be attributed to the plan’s performance. If the response to the
 question is not relayed correctly due to the failure of the language interpreter with whom the plan



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 contracted, we believe it is everyone’s best interest to report that negative result back to the plan
 through the failure of the accuracy question being tested. Doing so helps inform the
 interpretation service’s performance, and the plan can use that feedback for its future business
 decisions. We do not score or judge the interpreter’s performance throughout the call – we are
 only looking for the correct response to the question. We would not hold the performance of the
 interpreter against the plan, generally speaking, so long as the response to the accuracy question
 is accurate. We are always happy to hear from any plan who believes a certain result may be
 unfair, and we are certainly willing to investigate issues that may arise, but in the instance
 described above, failure to respond accurately due to the failure of the interpreter is counted
 against the plan in the form of incorrect response to that the question being tested.

 Please know that we also place calls in the native language, so your accuracy score is comprised
 of us asking questions in all modes – in English via TTY, in the native language (Spanish in
 Puerto Rico and English elsewhere), and via an interpreter when we test interpreter availability
 in six foreign languages.

 Question: Please provide further clarity as to the timeliness metric utilized. For example, if a
 CSR begins providing the answer at six and a half minutes and finishes after the seven-minute
 limit. Does this count as untimely?

 Answer: If the answer is not provided before the seven-minute mark, yes, it would be considered
 to have “timed out”. It might help if I describe the timers to answer your question. The Limited
 English Proficiency (LEP) hold timer is used when waiting for an interpreter to assist the CSR
 with the introductory question (an eight-minute timer), the TTY HOLD timer is used when
 connecting via a TTY device (a seven-minute timer), and each of the three accuracy questions
 utilize a seven-minute timer. The interviewer has a screen that has a timer on it that counts up to
 420 seconds (seven minutes x 60 seconds) or 480 second (eight minutes x 60 seconds). When
 that timer goes off, the interviewer does not have the ability to change the outcome of the call
 ending, so the answer is yes, if someone was halfway through the answer, the result would be the
 same as if they had not begun to answer -- the timer goes off and there is no longer an
 opportunity to accept the response from the CSR.

 If we are determining interpreter availability, if we have not received a yes response to the
 introductory question before the timer goes off, that is counted as an unsuccessful interpreter
 availability measure.

 When we have moved to the accuracy questions, if a timer goes off, that has a neutral effect on
 the plans, meaning we have already had a completed call for the interpreter availability
 component or TTY functionality score, so that would count in a good way for the plan if that
 portion of the test is over. If the timer goes off during the accuracy questions, this does not
 negatively impact the plan because it has a neutral effect. At that stage we are determining the
 accuracy of the answer only. If the timer goes off before an answer was provided, we show a
 “time out” in the raw data. The call will end, but the result of the timer going off during an
 accuracy question is simply that the question was not answered. This is not counted as
 unsuccessful or inaccurate, in other words.




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 Question: Are the accuracy questions that were used in prior years published and available? I
 would like to pass them along to the Member Services staff to be used in training.

 Answer: No, they are not published or available. CMS cannot provide them to anyone. At the
 conclusion of this study, you will receive the questions, the expected responses, and your actual
 study results. These results are stored in HPMS for you to download.

 CMS emphasizes that CSRs will be assisted if they are trained on plan-specific questions (For
 example, “What is my copay or coinsurance for a certain service?” and “Is a certain drug on the
 formulary?”). It may also help if CSRs are familiar with information in the latest version of
 Medicare & You, which is available here at the following link:
 https://www.medicare.gov/medicare-and-you/medicare-and-you.html

 Question: We are a plan with both SNPs and non-SNPs. Our SNPs receive calls that ask only
 your introductory question and nothing more. Why do you do this?

 Answer: SNPs are exempt from the accuracy measure, so we do not ask accuracy questions. The
 main purpose of the Accuracy and Accessibility Study is to determine if a plan is capable of
 bringing an interpreter to the phone to assist, and to test if the plan can communicatewith a
 “prospective enrollee beneficiary” (CMS’ contractor in this case) via TTY device. It is theresults
 of these two measures from which the Part C and Part D Star Ratings are derived. When we call
 in a foreign language or via TTY device, the “main focus” of the study is underway so we can
 determine if the plan was able to communicate with the caller. We ask the introductory question
 as a means of determining if the interpreter can join the line, in other words, or the CSR can
 communicate via TTY device or with the 711 relay service. Because contracts with only SNPs
 are excluded from the accuracy measure (which is not part of the Star Ratings), we have no need
 to ask any more questions.

 Calls placed in English that ask only our introductory question are used for the Timeliness Study,
 where we are measuring the average hold time and disconnect rates, but they are also placed
 during the Accuracy and Accessibility Study. To add some historical perspective on the issue of
 contracts with only SNPs versus those contracts with both non-SNPs and SNPs, in years past we
 did not include contracts with only SNPs in our Accuracy and Accessibility Study. Those
 contracts asked CMS to include them so that they were a part of the data collection for Star
 Ratings purposes, so we added SNP-only contracts back into this study to satisfy the collection
 of information for Star Ratings. Because contracts with only SNPs are excluded from the
 accuracy questions, the introductory question is all that we ask.

 We test English language calls across all studies as a first step to confirming that sponsor call
 center representatives are accessible and can be reached in a timely manner. Then, in addition to
 English language calls we test for interpreter availability and TTY service during the Accuracy
 and Accessibility Study for the reasons stated above. Statistically, if we did not test English
 during the Accuracy and Accessibility Study, we would need to make significantly more
 interpreter and TTY calls, thus increasing the burden on call centers to obtain information that is
 part of the English language subset. English is a baseline measurement and although we do not
 take compliance actions, we do use and analyze the data.



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 Accuracy and Accessibility Study Raw Data

 Question: Where do I find raw data for the Accuracy and Accessibility Study?

 Answer: The raw data is available to you in HPMS under the performance metrics sections.
 This is new functionality we added to make your experience a little easier. Previously you would
 have requested the raw data from the Call Center Monitoring mailbox; now you can download it
 yourself.

 For the Accuracy and Accessibility Study, you can find detailed results for your contract in
 HPMS by following the paths below:

        1. For Part C results, from the HPMS home page (https://hpms.cms.gov): Quality and
           Performance > Performance Metrics > Call Center Monitoring > Part C Prospective
           Beneficiary Customer Service > [choose date of study] > [enter the contract number].

        2. For Part D results, from the HPMS home page (https://hpms.cms.gov): Quality and
           Performance > Performance Metrics > Call Center Monitoring > Part D Prospective
           Beneficiary Customer Service > [choose date of study] > [enter the contract number].

 Raw Data supporting the Part C and Part D performance metrics are available to you in HPMS in
 a link immediately below the performance metrics for the selected contract under Part C and Part
 D. Please access the link entitled “Raw Data for Xxxxx,” with the variable being the contract ID
 you selected. This is available to you for a single contract as an Excel download. Also available
 for your convenience is a link entitled “Raw Data for All Contracts.” This link will provide a
 download of all raw data to which you are entitled under your parent organization identification
 code. The multiple-contract data are available to you in a text-delimited file format. You may use
 this file to import into Excel, Access, or some other database product.

 You will also find a link to an Excel document entitled, “Data Dictionary for Raw Data.” This is
 a data dictionary that explains the numerical codes used within the raw data. The data dictionary
 also contains all of the questions asked during the Accuracy and Accessibility Study and the
 numerical coding that explains the answer received by our interviewers.

 In addition to the above resources, CMS provided a link for you to Technical Notes for the
 Accuracy and Accessibility Study.

 Question: How are completed and unsuccessful calls identified in the call level data? When
 reviewing the raw data, we are unclear on how a completed TTY or interpreter availability call is
 identified in the call level data. We had assumed that ERC=295 (Reached CSR/TTY/Interviewer
 - completed questions) identified the completed calls. However, one call has an ERC code =
 290.7 (Partial interview - CSR could not answer question in seven minutes) so we interpreted
 that as an unsuccessful call. Is that correct?

 Answer: When downloading your raw data from HPMS, you should also see a link to a data
 dictionary for each study just to the left of the raw data link. Please be aware that the Timeliness



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 Study (current enrollees) uses one dictionary, while the Accuracy and Accessibility Study
 (prospective enrollees) uses a different dictionary. If you ever need these, simply download from
 HPMS at the same time you download the raw data.

 In the raw data, look for the “ERC Code” and use the dictionary to decipher the numerical codes.
 Both ERC = 290.X and 295 would be counted as completed calls, because the first purpose of
 this study is that the contracts can provide interpreters and TTY functionality – and the second
 purpose is to test accuracy. Both 290 and 295 codes represent the situation that our interviewer
 has already talked to interpreters and received the answer to the introductory question. As a
 result, the difference between codes 290 and 295 is just that when we ask accuracy questions,
 some unexpected situations can occur (such as the timer expiring before the accuracy question is
 answered, which is neutral to the plan). If all three accuracy questions are asked, the call will be
 coded as 295 (smooth completion of all parts of the call.) If something happened such as timeout
 or a disconnection, we will code the call as 290.X (dot X would tell us in detail what happened
 when asking those accuracy questions.) However, this 290 code will not hurt the plan in regard
 to LEP and TTY functionality scores. In addition, if something happens when asking an
 accuracy question (an example would be the question is not actually answered), the question will
 not be counted in either the accuracy, so the effect is neutral to the plan: the CSR neither
 answered correctly nor incorrectly.

 Because the main purpose of this study is the availability of interpreters and functionality of
 TTY, any situations that happened after a plan already completed the availability/functionality
 will not hurt the plan from those perspectives. Subsequently, the code 290 is a code for a
 completed call with some problems that would benefit the plans to know how to improve when
 answering questions in the future. On the other hand, the code also tells us that at least the plan
 already fulfilled the minimum requirement of interpreter availability and TTY functionality.

 Question: In reviewing the raw data for a prior Accuracy and Accessibly Study result, we are
 noticing that there is variation within the Part C rates for three of our plans, for which calls are
 serviced at the same call center. Because the Accuracy and Accessibility Survey is measured at
 the call center level, doesn’t that indicate that plans with calls serviced at the same call center
 would receive the same rate? Would you be able to explain the variation in the rates?


        Contract                        Plan                             Part C Rate
          ID                            Name
        HXX A                        Example Plan                            94%
                                          1
         HXX B                       Example Plan                            94%
                                          2
         HXX C                       Example Plan                            92%
                                          3

 Answer: You are correct that this study is conducted at the call center level, unlike the
 Timeliness Study which is conducted at the phone number level. First, the study is based at the
 call center level, so we first refer to what the compliance officer told us before the study in our
 response for call center indicators. To explain, we ask the Compliance Officer to tell us which
 lines route into separate and distinct physical call centers. So, please understand that your
 response to that inquiry determines how many call centers are used when testing. However, there
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 are other considerations that will result in variation of results when applied at the contract level.
 For example, SNPs are not asked the accuracy questions. Non-SNPs are asked accuracy
 questions. Results are rolled up to the contract level. So, if you have a contract with ONLY
 SNPs, the contract will not have accuracy results. If you have multiple contracts using the same
 call center indicator where some contracts are SNP-only and some are a mixture of SNP and
 non-SNP, you will not see uniform results for the accuracy measure.

 Other considerations are the counties served by the plans and those time zones they serve. I
 mention this because we schedule our outgoing test calls at appropriate times based upon the
 time zones served by those plans. To minimize burden on the call centers, we attribute the results
 of those calls to contracts within the call center indicator, but the results are only rolled up to the
 contract level when appropriate to do so, meaning one should not expect to see uniform rates
 simply because the same call center is used. Let’s say your call center covers 3 time zones, and
 you have 1 contract with plans under it that serve all 3 time zones. In that case, all call results
 would be attributed to that one contract. If you have a separate contract that only covers the
 Eastern Time Zone, then the results from calls made from 8:00 am to 8:00 pm in Eastern Time
 only would be included in that contract’s performance.

 General Questions

 Question: Who do I contact if I have questions?

 Answer: If your questions are related to our call center monitoring studies, send an email with
 your contract ID, date of call, time of call, and include the phone number on which the call was
 received, if possible, to CallCenterMonitoring@cms.hhs.gov. Please do NOT send your
 questions via secure email. We never share personally identifiable information on this project.
 We monitor thousands of plans and hundreds of contracts and we do not have the resources to
 maintain separate registrations for all of these contracts. Thank you for your understanding.

 If your questions are related specifically to Star Ratings, send your question to
 PartCandDStarRatings@cms.hhs.gov.

 If your question is related to call center performance metrics that fed into your Star Rating, and
 you are not sure which team to consult, send an email to both resource mailboxes and we will
 work together to answer your question.

 Question: Please confirm how IVR menu choices are handled when monitoring calls are made.
 When the menu includes an option for member services, is this the option that will be chosen for
 the monitoring? In other words, they won’t select options such as Behavioral Health crisis lines,
 provider lines or nurse lines. Is that correct?

 Answer: For the Accuracy and Accessibility Study, our telephone interviewers will make an
 IVR/menu selection for prospective members whenever that is an available option in your IVR,
 and it is an appropriate choice for the type of call we are placing. For example, if we are placing
 a native language call, we call your prospective phone number and listen to the options. As long
 as you include a choice for prospective members, sales, or for more information about the plan in
 your IVR call tree, we’ll make that selection. We would not make selections for behavioral
 health lines, nurse lines, crisis lines, or other such choices. Our callers make appropriate IVR
 selections whenever possible, except as described below.
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 If the correct IVR option is not immediately obvious to our interviewers, no IVR selection will
 be made. For this reason, ensure your phone systems will default to a live customer service
 representative if no IVR option is selected or no voice command is given.

 Finally, when testing interpreter availability, our interviewers are simulating the experience of a
 non-English-speaking caller, so if IVR instructions are not available in the language we are
 testing, we do not make an IVR selection because a non-English-speaking caller could not
 understand what is being said and could not make that IVR selection. For this reason, ensure
 your phone systems will default to a live customer service representative if no IVR selection is
 made or voice command given.

 Question: We found a call coded as 297.12 in our raw data. This disposition code says, “Neither
 Call Center Contact nor Ring/No Answer.” Why are you counting this call against our plan’s
 performance if you didn’t contact us?

 Answer: CMS’ duplicate raw data lists the disposition codes from the calls we make in our call
 center monitoring studies (see data dictionaries that explain those codes for each study). Code
 297.12 is one of the codes we use when we are unable to connect to a plan. This code is used for
 situations like receiving a message of “all circuits are busy” or a fast-busy signal. Our contractor
 has a system in place that requires their survey callers to make a second attempt for any
 disposition where we cannot connect to the plan, such as 297.12. The system will not allow the
 caller to record the information of “Neither Call Center Contact nor Ring/No Answer” unless a
 second attempt has been made to connect to the plan. Only one outcome is counted “against” the
 plan, but two attempts are made for every call in this scenario. The call outcome is included in the
 performance metrics and duplicated raw data so that the compliance officer can see the outcome
 of those two attempted calls/1 unsuccessful call disposition for a contract. We pass along that data
 so the compliance officer can understand how a beneficiary would have been impacted by the
 inability to connect to the plan on the same date and time.
 CMS’s contractor has investigated to rule out any phone equipment failures, employee error, or
 an issue on the part of its phone carrier before the results are issued to you. CMS is not able to
 offer an opinion about a call disposition of no plan contact other than it could have been a phone
 carrier’s inability to transfer the call to the call center. The plan may check with their phone
 carrier to determine if there were any outages during the date and time in question. If a phone
 carrier caused the call not to transfer to the plan, the same outcome would happen to a real
 prospective beneficiary attempting to call the plan, so the disposition is included, and the
 information is reported out with the contract’s performance metrics and duplicated raw data. This
 is longstanding practice that meets the expectations of the study’s design.

 Question: Our contracts under our parent organization share a phone number. Why are the
 results different for one or more of our contracts?

 Answer: In a situation like the one above, it is best for you to send the specific details of your
 question to CallCenterMonitoring@cms.hhs.gov. We will research the issue with our contractor.
 Things to consider are: (1) the timeliness study is based upon the phone number. The Accuracy
 and Accessibility Study is conducted at the call center level. All share results at the contract
 level but (1) One or more contracts might have been under sanction during the Accuracy and
 Accessibility Study and therefore would have been excluded. (2) The plan sponsor might have
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 changed the phone number in HPMS at some point during the study. Our contractor tracks this
 and can tell us when the change was made. (3) Some functions of studies do not apply to all
 situations. For example, contracts with only SNPs are excluded from the accuracy measure in the
 Accuracy and Accessibility Study. (4) Contracts under one parent organization may vary,
 especially based upon their service areas. For example, one contract may serve only the Eastern
 Time Zone while another contract may serve Eastern and Central Time Zones. This would mean
 that each could be called the same number of hours (from 8:00 am to 8:00 pm in their local
 service areas), but those times would be different and thus the results applicable to a certain
 contract may be different. (5) The compliance officer may have told us that the phone numbers
 route to physically distinct call centers for the Accuracy and Accessibility Study.

 Question: Our compliance officer sees a compliance action in the Compliance Activity Module
 in HPMS, but she never received the letter herself. Is this letter valid?

 Answer: Please send the specifics of your inquiry to CallCenterMonitoring@cms.hhs.gov. We
 will be happy to research the Compliance Activity Module and our records to determine when
 the letter was issued to the compliance officer. Perhaps the email notification went to a spam or
 junk folder? The party questioning this, could also check the HPMS performance metrics
 sectionto determine if the non-compliant values match what is in the letter. Aside from that, we
 can offer the compliance officer the suggestion that he or she determine:

        Is the email address correct in HPMS? (The CAM auto populates letters with whatever
        email address is available in HPMS, so make sure HPMS is accurate.)
        Add HPMS@cms.hhs.gov in his or her contacts list so the emails do not go to the junk
        folder; and
        Make certain the IT system he or she uses isn’t blocking the email
        addressHPMS@cms.hhs.gov.

 Question: I’m having a hard time downloading the raw data from HPMS. Can you send it to
 me?

 Answer: Please contact the HPMS help desk at 1-800-220-2028 or hpms@cms.hhs.gov. The
 HPMS Team at CMS has asked that we refer folks to the HPMS help desk whenever problems
 occur so that they can learn what is causing the problem and what they need to do to fix it. If this
 does not resolve the problem, please write to us at CallCenterMonitoring@cms.hhs.gov and tell
 us the contract ID, the study for which you need the raw data, and the time period for that study.

 Question: Our call center received a CMS test call after our center closed. We serve only the
 Eastern Time Zone, and we are open from 8:00 a.m. to 8:00 p.m. Your test call came in at 8:15
 p.m. Why did this happen, and will the result be counted against us?

 Answer: First, be sure to adjust the timing of the call in the raw data to your time zone. You’ll
 need to adjust thetime accordingly if your call center is located in another time zone. If the time
 zone is not a factor and the call was truly placed outside of 8:00 a.m. to 8:00 p.m. in your region,
 CMS can invalidate the call and the call’s outcome will NOT be counted against your
 organization.

 The explanation for this is our contractor schedules calls during a certain block of time. The
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 interviewers work through the calls scheduled one at a time. If the interviewer falls behind on
 their schedule due to earlier calls having longer-than-expected wait times or other issues, the
 auto dialer pulls up the call and dials it, and occasionally this inadvertently happens after the
 scheduled block of time. Please know that we do have a quality assurance process on the “back
 end” of the study that reviews the service areas, expected hours of operation, and times calls
 were placed. If any call was placed later than expected hours of operation for your call center,
 the call is removed from your performance metrics and the duplicated raw data we provide to
 you before we share the results with you. We attempt to catch them all, but if we missed one,
 please let us know.

 We try to minimize this from happening so that we do not take up your customer service
 representatives’ time and resources – or our resources -- but it does occasionally happen. We are
 implementing a way to move these calls that are scheduled but not yet placed to the following
 day to avoid this problem. If you ever have questions about this, be sure to let us know at
 CallCenterMonitoring@cms.hhs.gov. We will be happy to research the call and confirm that it
 gets invalidated in your results.

 Question: The upcoming Christmas and New Year’s Day holiday falls on a Sunday. One of my
 plan’s will observe the holidays on the Mondays after (12/26 and 1/2). Are they permitted to use
 alternative technologies on these two days?

 Answer: They are permitted to use alternative technologies on Thanksgiving Day and
 Christmas Day only, per 42 CFR §§ 422.111(h)(1)(i), 423.128(d)(1)(i). This means they will
 have to support their call centers on December 26 and January 2.

 Note: MMPs negotiate their holiday call center coverage. MMPs holiday coverage is dictated by
 their state-specific marketing guidance.

 Question: How long must we retain the recordings of call center calls?

 Answer: Though it is not a requirement of CMS to record a phone call, if an organization
 chooses to record calls then those recordings would be considered a record and would be
 required to comply with 42 CFR 422.504.

 Question: I’d like to send you a recording of a call. How can I do that?

 Answer: If you can, please convert the software to .mp3 or .wav format and put it in a
 compressed zip file format to email to CMS. To compress the file, highlight the file, right click
 with your mouse, and choose “send to a compressed file.” Once compressed, please email it to
 CallCenterMonitoring@cms.hhs.gov along with the contract ID, the phone number on which the
 call was received, the date and time of the call, and the details of your request. CMS uses VLC
 software for recording playback. This software can read several formats including 3GP, ASF,
 AVI, DVR-MS, FLV, Matroska (MKV), MIDI, QuickTime File Format, MP4, Ogg, OGM,
 WAV, MPEG-2 (ES, PS, TS, PVA, MP3), AIFF, Raw audio, Raw DV, MXF, VOB, RM, DVD-
 Video, VCD, SVCD, CD Audio, DVB.

 Please remember to send this via regular email and not secure email. This project never shares
 personally identifiable information, so secure email for a CMS test call should not be necessary.

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 Question: We created a contingency plan in the unlikely event all systems or phones go down.
 We know ideally when it comes to the test calls and member experience, we never want this to
 happen, but we want to be prepared for all circumstances. Does CMS have guidance or best
 practices if an outage like this occurs? We can play a cloud message letting callers know they
 can call back and would accordingly self-report it to CMS, but what happens if a test call comes
 in? Would we fail it if we had a cloud message and self-reported it to CMS?

 Answer: In regard to contingency plans and guidance, Part D sponsors and MAOs are required
 to have operational continuity plans in place. These requirements are described at 42 C.F.R
 §422.504(o) and 42 C.F.R §423.505(p). The plans for continuity of operations must include the
 operation of call center customer services. Therefore, if call center operations cease temporarily
 due to an emergency situation or disaster declaration (or as stated above due to phone outages),
 the MAO or Part D sponsor should implement their continuity plan. MAO/sponsor continuity
 plans should include contingency plans to maintain operations or if unable, to restore call center
 operation within 72 hours.

 CMS does not have a written best practice to share, ideally sponsors should have an alternate call
 center to which calls could be directed. One example used by several sponsors is an auto forward
 to the pharmacy technical assistance call center for issues relating to prescription drugs,
 pharmacy billing questions, etc. To be clear, there is no specific requirement for this, and it is
 only offered as an example. That said, hypothetically, the calls as described would be non-
 compliant and scored as unsuccessful attempts if our test calls reach a message asking the party
 to call back, due to the requirement that call centers must be open during required hours of
 operation. This is true even if the closure was self-reported. Again, hypothetically, inappropriate
 call center closures may result in compliance action. Your plan to alert CMS in such an
 unexpected event is a good one. CMS suggests that MAOs, MA-PDs, PDPs, and MMPs self-
 disclose any call center closures – whether related to declarations of emergency or not -- to the
 assigned CMS Regional Office Account Manager. Adding CallCenterMonitoring@cms.hhs.gov
 as a cc would be helpful to us. Since 2006, CMS has consistently advised Part D sponsors and
 MAOs to report voluntarily to CMS any instances of program non-compliance that they discover
 on their own. As CMS staff have stated in numerous presentations to industry, we look more
 favorably on instances of non-compliance when it is self-reported rather than through other
 means, such as beneficiary complaints, complaints from competing contractors, audits, or our
 own data analysis. That is, CMS believes that self-reporting can be seen as evidence of an
 effective compliance program, indicating that while some non-compliance has occurred, the Part
 D sponsor or MAO has capable management and oversight in place exercising effective control
 over the organization.

Question: How was compliance determined for the 2024 Accuracy and Accessibility Study?

Answer: Interpreter Availability was tested to determine if the services were compliant with 42
C.F.R. §§ 422.111(h)(1)(iii) and 423.128(d)(1)(iii), which require interpreters to be available for
80 percent of incoming calls requiring an interpreter within 8 minutes. TTY functionality was
tested to determine if services were complaint with 42 C.F.R. §§ 422.111(h)(1)(iv) and
423.128(d)(1)(iv), which require 80 percent of incoming calls requiring TTY services to be
connected to a TTY operator within 7 minutes. Accuracy was tested to determine if the services
were compliant with 42 C.F.R. §§ 422.2262(a)(1)(i) and 423.2262(a)(1)(i), which requires MA
organizations and Part D sponsors not to provide information that is inaccurate or misleading.
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For 2024, we determined the accuracy compliance threshold to be 90 percent. MA organizations
and Part D sponsors with accuracy results below 90 percent are outliers and per 42 C.F.R. §§
422.504(m)( ) and 423.505(n)( ) , CMS may determine that an MA Organization or Part
D sponsor is out of compliance when its performance in fulfilling requirements represents an
outlier relative to the performance of other organizations.




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 DEPARTMENT OF HEALTH & HUMAN SERVICES
 Centers for Medicare & Medicaid Services
 7500 Security Boulevard, Mail Stop 00-00-00
 Baltimore, Maryland 21244-1850

 CENTER FOR MEDICARE



 DATE:          December 1, 2023

 TO:            All Medicare Advantage Organizations (MAOs), Prescription Drug Plan Sponsors
                and Medicare-Medicaid Plans (MMPs) (excluding PACE contracts, cost contracts,
                MSA contracts, and employer-only plans)

 FROM:          Vanessa S. Duran, Acting Director
                Medicare Drug Benefit and C & D Data Group

 SUBJECT:       2024 Part C and Part D Call Center Monitoring - Timeliness and Accuracy &
                Accessibility Studies

 The Centers for Medicare & Medicaid Services (CMS) will continue monitoring Part C and Part
 D call centers in 2024. This memo describes the elements CMS will monitor and explains how to
 prepare for the monitoring studies, including updating the Health Plan Management System
 (HPMS) with critical 2024 call center information no later than December 15, 2023.

 For 2024, CMS has contracted with Hendall Inc., and its subcontractor American Institutes for
 Research (AIR), to monitor the performance of plan sponsors’ call centers with respect to the
 standards at 42 C.F.R. § 422.111(h)(1) and 42 C.F.R. § 423.128(d)(1).

 The Timeliness Study measures Part C and Part D current enrollee call center telephone lines
 and pharmacy technical help desk telephone lines to determine average hold times and
 disconnect rates. This study is conducted over four consecutive weeks each quarter, during
 which an organization is expected to maintain an average hold time of 2 minutes or less and
 maintain an average disconnect rate of 5 percent or less.

 Important definitions for the Timeliness Study:

    1. The percentage of calls disconnected is defined as the number of calls unexpectedly
       dropped by the plan divided by the total number of calls made to the telephone number
       associated with the contract.

    2. The average hold time is defined as the average time spent on hold by the caller
       following the interactive voice response (IVR) system, touch-tone response system, or
       recorded greeting and before reaching a live person.

 The Accuracy & Accessibility Study measures Part C and Part D prospective beneficiary call
 center telephone lines to determine (1) the availability of interpreters for individuals, (2)
 teletypewriter (TTY) functionality, and (3) the accuracy of plan information provided by


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 customer service representatives (CSRs) in all languages. Languages tested in 2024 are
 unchanged from 2023 and will include English, Spanish, Cantonese, Mandarin, Vietnamese,
 French, and Tagalog. English will be tested as a foreign language for organizations with a
 service area exclusively in Puerto Rico. This study will be conducted from approximately
 February through June 2024.

 Important definitions and exclusions for the Accuracy & Accessibility Study:

    1. Interpreter availability is defined as the ability of a caller to communicate with someone
       and receive answers to questions in the caller’s language. Interpreters must be able to
       communicate responses to the call surveyor in the call center’s non-primary language
       about the plan sponsor’s Medicare or Medicare-Medicaid benefits. (The primary
       language is Spanish in Puerto Rico and English elsewhere.) A call is considered
       connected when the caller reaches a CSR. The measure is considered completed when the
       caller confirms that the CSR is able to answer questions about plan benefits via an
       interpreter (before beginning the first of three general Medicare or plan-specific accuracy
       questions) within eight minutes. CMS considers a CSR unavailable if the caller is unable
       to communicate with the CSR through an interpreter. The percent of completed foreign
       language calls (number of completed foreign language calls divided by all foreign
       language calls) is used for star ratings measures.

    2. TTY functionality is defined as the ability of a caller using a TTY device to communicate
       with someone and receive answers to questions at the plan’s call center directly or via a
       relay operator. A call is considered connected when the caller reaches a TTY/relay
       operator. The measure is considered completed when the caller confirms that the CSR is
       able to answer questions about plan benefits via the TTY/relay operator (before
       beginning the first of three general Medicare or plan-specific accuracy questions) within
       seven minutes of the TTY/relay operator reaching the plan. CMS considers a CSR
       unavailable if the caller or relay operator is unable to communicate with the CSR. The
       percent of completed TTY calls (the number of completed TTY calls out of all TTY
       calls) is used for Part C and D Star Ratings measures.

    3. Contracts with only Special Needs Plans (SNPs) are excluded from the accuracy measure.

    4. Contracts or plan benefit packages (PBPs) under marketing and enrollment sanction are
       excluded from the study.

 In the event that an organization believes that CMS may have miscalculated its call center results
 based on data posted in HPMS, it may bring the relevant information to CMS’ attention and ask
 for a review of the results. We advise organizations that they should ask for this review
 within 2 weeks if they do not want the data reflected in compliance actions, public
 reporting, or star ratings. CMS may not be able to make adjustments if issues aren’t brought to
 its attention within 2 weeks. CMS will not revise results based on challenges to the
 methodology, which has been applied to all subjects of the study.

 IMPORTANT ACTION: Verify 2024 Call Center Information



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 Compliance Officers should prepare for this monitoring effort by ensuring the accuracy of 2024
 Part C and/or Part D call center telephone numbers in HPMS by December 15, 2023. This
 includes current and prospective enrollee toll-free beneficiary call center telephone numbers,
 toll-free pharmacy help desk numbers, and current and prospective enrollee toll-free TTY
 numbers. Telephone numbers are extracted from HPMS on a weekly basis and updated in the
 monitoring contractor’s automated dialing software. If any of the telephone numbers change
 during the year, sponsors must update their telephone numbers in HPMS immediately, pursuant
 to 42 C.F.R. §§ 422.504(f)(2)(vii) and 423.505(f)(2)(vii). It is important that all organizations
 always keep these telephone numbers up-to-date in HPMS. Organizations should notify
 CallCenterMonitoring@cms.hhs.gov after an update is made. If an organization achieves poor
 results on the measures due to calls to an inaccurate telephone numbers, the calls will not
 be invalidated and the results will not be negated. It is very important that accurate
 information is available in HPMS prior to the launch of the studies. Use the paths outlined
 below to verify and/or update the telephone numbers.

 Verify your pharmacy technical help desk number, which is a contract-level contact and not a
 bid-level contact, using the following path: HPMS home page: > Contract Management > Basic
 Contract Management > [select contract number] > [enter the contract number] > Contact Data >
 Pharmacy Technical Help Desk Contact. There are primary and secondary contacts collected in
 this section. The primary contact is mandatory, and the secondary contact is optional. Please note
 that for call center monitoring purposes, we call only the primary contact.

 Verify current and prospective enrollee numbers and TTY numbers through the following path:
 HPMS home page: > Plan Bids > Bid Submission > CY 2024 – Manage Plans > Edit Contact Data.

 Follow these steps when editing contact information in the HPMS:

    1. On the Select a Contract screen, enter a contract number into the field provided
       (Option 1) or select a contract number (Option 2). Click Next to advance to the Update
       and Save Data screen.

    2. On the Update and Save Data screen, select a plan, and select a contact tab.

    3. Edit the mailing address, telephone numbers, and e-mail address for applicable contracts.

    4. After entering data for the first contact type, the user can complete data entry for other
       contact types under the same plan.

 Notes:
          The above process to verify the accuracy of call center telephone numbers is separate
          from the Call Center Indicator activity that has already begun. You should have received
          communication from CallCenterIndicators@hendall.com in November 2023. The Call
          Center Indicators identify plan benefit package (PBP) phone numbers that are served by
          the same physical call center. This information is important as the Accuracy and
          Accessibility study is conducted at the call center level, with legal entities sharing results



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        of calls placed to a shared call center, with a limited exceptions. The Timeliness study is
        conducted at the phone number level. Results of calls placed to a shared phone number
        are shared by all legal entities utilizing that phone number, with limited exceptions. The
        Accuracy and Accessibility study indicators do not impact the Timeliness study. Please
        be aware that while phone numbers must be kept current in HPMS, the Accuracy
        and Accessibility study indicators cannot be updated after the Call Center Indicator
        collection activity is completed.

        Our regulations at 42 C.F.R. §§ 422.111(h)(1) and 423.128(d)(1) require the operation of
        a toll-free customer call center; MMPs also have state-specific marketing guidance that
        requires the toll-free number. Even if HPMS does not denote this as a required field in
        your view, having toll-free numbers available is required. Contact the HPMS Help Desk
        at hpms@cms.hhs.gov or 1-800-220-2028 if you require assistance.

        All TTY numbers must be either three numeric characters or ten numeric
        characters and entered into HPMS.

        Please make certain you have entered into HPMS the TTY local telephone number and
        the TTY toll- free telephone number. If your plan does not use a dedicated, in-house
        TTY device, you may enter 711 in both fields, or you may enter the toll-free ten-digit
        number for a specific state relay service. The toll-free TTY telephone number must be
        populated, as this is the telephone number we pull for the Accuracy & Accessibility
        Study.

        This information can be found in Chapter 1 of the CY2024 Bid User Manual (HPMS
        home page > Plan Bids > Bid Submission > CY2024 > View Documentation (under
        “Documentation” Section) > Bid Submission User manual for Contract Year 2024).

 Tips for Success/Best Practices

 Based on several years of study results, CMS provides the following tips to help improve results.

 General:

        Provide basic services and information to individuals with disabilities, upon request.

        Make available all plan materials and information, including those produced or
        distributed by contracted providers, in alternate formats (e.g., braille, large print, audio
        and data CDs, and in requested alternate languages) to individuals with disabilities upon
        request.

 We monitor thousands of plans whose IVR options are all unique. This means it is not practical
 or possible to train our interviewers to always make the same selection in an IVR, and we cannot
 program what options they should select for each plan. We train them to listen for options such
 as “current members,” “pharmacy,” or an option for those “interested in learning more about
 enrolling” for prospective calls, for example. When you are setting up your IVR options, please



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 keep this in mind. We suggest that you train your representatives to offer a warm transfer to the
 correct department if a caller is misdirected. You may experience more successful call outcomes
 if the representative offers a warm transfer, allowing us to reach a representative who can answer
 our question. Simply saying, “You need to call another number” or answering “no” to the
 introductory question, “Are you the right person to answer questions about….” will result in an
 unsuccessful call outcome. We call the telephone number listed in the HPMS as provided by the
 plan and make the most reasonable selection in the IVR, so we expect to reach a CSR who can
 answer questions about the plans, or at least transfer us to the correct party who can answer those
 questions.

 HPMS Entries:

        Current, prospective, and TTY/relay services customer service call center toll-free
        telephone numbers must be entered in the appropriate locations in HPMS. There is a toll-
        free field for TTY or Telecommunications Relay Service (TRS) telephone numbers. CMS
        extracts the values found in the toll-free and alternate toll-free fields, so please make sure
        HPMS reflects accurate contact information and is complete in every field. If you have
        updates at any time during the year, please enter them into HPMS immediately, and
        notify CallCenterMonitoring@cms.hhs.gov. A delay in updating the telephone number(s)
        prior to the start of the study may result in unsuccessful calls attributed to your plan’s
        performance. Calls of this nature cannot be negated.

 Ability to Accept Calls:

        Callers to current enrollee and prospective enrollee customer service call centers need to
        be able to communicate with a live person when they call from 8:00 a.m. to 8:00 p.m.
        Messages that ask a caller to leave their telephone number are not appropriate and will
        not be counted as a successful call.

        CMS’ monitoring reveals that our callers experience longer-than-normal hold times at the
        beginning of the year. Generally speaking, CMS also notes longer hold times at the
        beginning of a week with improvement as the week progresses. Call centers should
        evaluate their own needs and consider increased staffing during busier times.

        If your organization intends to implement any new technology affecting telephone
        systems, ensure it will not interfere with the organization’s ability to accept calls,
        including TTY communications.

        CMS makes the following suggestions for self-monitoring your call centers on a regular
        basis:
           o Test every telephone number supported by the call center.
           o Pull the telephone numbers from HPMS and ensure they ring to the intended
               location.
           o Test by making calls from outside the organization’s telephone systems. If the
               plan is located off the mainland, have someone place test calls from the mainland
               to the plan.



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         o Test with more than one caller at the same time.
         o See TTY section below for specific TTY testing suggestions.

      CMS will occasionally solicit volunteers for abbreviated training periods prior to the
      beginning of an actual study launch. This is done by randomly selecting organizations to
      ask if they wish to volunteer. If you are launching new technology in your call center,
      consider joining a pilot or interviewer training session to ensure your equipment is
      working as expected. Contact CallCenterMonitoring@cms.hhs.gov to discuss your desire
      to participate in the next pilot or interviewer training session.

      Ensure that your organization does not employ IVR logic or other functions that
      will block calls at certain times based solely upon the area code of the caller. We call
      regions from the Atlantic time zone to as far west as Guam. We will call you during the
      business standard hours of operation (8:00 a.m. to 8:00 p.m. in the time zone(s) the plan
      serves). If our caller cannot reach a live representative due to programming on your end,
      or we hear messages stating the office is closed during the required hours of operation,
      the call will be counted as unsuccessful.

      Carefully review your service areas to ensure the call center is open and provides services
      at least in accordance with standard business practices. This means that the current and
      prospective enrollee call centers are open minimally from 8:00 a.m. to 8:00 p.m. for all
      of your plans’ local service areas. Check carefully to verify your coverage for any
      counties that are split into two time zones or to confirm observance of daylight savings
      time. For example, some contracts will occasionally serve counties that are split into two
      time zones. Also, most of Arizona is exempt from daylight savings time. However, the
      Navajo Nation lands, which extend to the states of Arizona, New Mexico and Utah,
      observe daylight savings time. Regardless of whether two time zones are served or
      daylight savings time is or is not observed, call centers are required to be open minimally
      from 8:00 a.m.to 8:00 p.m. in all local service areas for all of its current or potential
      enrollees.

      Ensure IVR systems default to a live CSR/operator if the caller does not push any
      buttons or make a verbal selection from an options menu. This is important for both
      studies. Every year CMS encounters plans that offer limited IVR options without a clear
      way to select the option to speak with a current member representative or a prospective
      beneficiary representative, and the IVR message cycles over and over without a live
      representative answering the telephone. This results in unsuccessful calls due to time-
      outs. Test your systems. When planning the IVR choices, ask yourself, “If I am calling to
      get information so I can decide if I want to enroll in this plan, is there an IVR option for
      me on this prospective beneficiary telephone number?”

      Ensure callers with a private number are able to connect to your plan’s customer service
      telephone numbers.

      Train CSRs to answer the introductory question asked of them (“Are you the right person
      to answer questions about…?”) When we call customer service lines, we ask a question



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        intended to determine if we have reached a person who has authority to answer questions
        about the Medicare plan we are calling. If the CSR insists on first knowing the caller’s
        name, date of birth, membership ID number, or Social Security Number or refuses
        to answer the introductory question by stating “no,” the call will be counted as an
        unsuccessful call unless the party transfers the call to a person who can answer
        “yes” in a timely manner. The CSR should refrain from requesting additional
        identifying information until at a minimum the caller is able to confirm that they
        have reached the correct person.

 Interpreter Availability:

        Utilize an interpretation service to identify the beneficiary’s language.

        Use interpreter services personnel who are familiar with healthcare terms and Medicare
        benefit concepts.

        Interpreters should:
           o Adhere to generally accepted interpreter ethics principles, including
               confidentiality.
           o Demonstrate proficiency in speaking and understanding at least spoken English
               and the spoken language in need of interpretation.
           o Interpret effectively, accurately, and impartially, both receptively and
               expressively, to and from such language(s) and English, using any necessary
               specialized vocabulary, terminology and phraseology.

        Train CSRs to connect foreign-language callers with an interpreter.

        Ensure CSRs stay on the telephone when a foreign-language interpreter joins the call.

        In order to replicate a beneficiary’s actual experience, CMS telephone interviewers who
        are testing a language other than the primary language will not make a selection in the
        IVR system if the instruction is only in the primary language. Therefore, ensure IVR
        systems default to a live CSR/operator if the caller does not push any buttons or
        make a verbal selection from an options menu. If the IVR instruction is available in
        the language being tested, the test callers will make an appropriate IVR selection. For
        example, if the language being tested is French, and instruction is available in French in
        the IVR to select an option for French, the test caller will make that selection. (Please note
        that the primary language in Puerto Rico is Spanish and English elsewhere. When testing
        calls in Puerto Rico, English is considered a foreign language.)

        Include a note on the beneficiary’s call center record that indicates his/her preferred
        language, if other than English, for both written and verbal communication. Record and
        maintain that information in a tracking system to be used in future beneficiary contacts.

        Monitor CSR calls to ensure that foreign-language calls are being handled according to
        the plan sponsor’s policies and procedures.



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        Ensure that interpreters are available within 8 minutes of the caller reaching a CSR.

        Ensure that CSRs are able to respond promptly to questions. Each accuracy question has
        a 7-minute timer.

 TTY Functionality:

        CMS makes the following suggestions for testing in-house TTY devices:
        o Regularly test your device to ensure that it is working properly.
        o Have outside callers call in and test the system. (If in Puerto Rico, Guam, or island
          off the mainland, have someone on the mainland call into your TTY system to test.)
        o Have two callers from outside the system call at the same time to make sure there is
          no disruption on either call, calls don’t get disconnected, or garbling does not occur.
        o When testing, check for garbled language on both sides of the call.
        o Whenever you make a telephone system change, retest all TTY systems.
        o If you have an outgoing message on your in-house TTY system that states to callers
          that if they called this number by accident, they should call the main number instead
          at xxx-xxx-xxxx, confirm that a TTY-recognized call will roll over to a TTY
          operator. This should be tested by calling from a telephone line and a TTY line.
        o Verify with your telecom provider that TTY calling is supported, in case there are any
          settings on the carrier side that need to be adjusted.
        o If using TTY Voice over Internet Protocol (VOIP), analyze network bandwidth
          utilization to confirm no packet loss. If there is packet loss, internet speed will need to
          be increased.

        If using an in-house TTY device, have a staffing plan that includes coverage for the TTY
        device during the hours your call center is required to operate with live CSRs.

        If using an in-house TTY device, ensure CSRs always use “GA” for “Go Ahead” after
        they have communicated their opening remark or other response via TTY device, so the
        other party knows it can now safely transmit its next thought. Failure to use “GA” may
        confuse beneficiaries who are familiar with TTY systems and could result in a plan
        hanging up on a TTY caller who has not responded, because the caller is waiting for the
        “GA” as clearance to respond.

        Ensure that beneficiaries using relay services can reach a CSR who has been trained on
        how to best communicate through a relay operator.

        Ensure that TTY services are available in languages other than English.

        Ensure that CSRs communicating to beneficiaries through relay operators are able to
        respond promptly to questions. By protocol, each accuracy question has a 7-minute timer.

        The decision to use 711 for the national relay operator or a different 10-digit
        number for a state relay operator is a business decision made by the plan. If you use



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        a state relay operator, be certain that all callers can successfully connect on that number,
        regardless of the caller’s area code. It is the plan’s responsibility to ensure that calls from
        any area code can be received via their relay operator.

 Information Accuracy:

        Ensure that CSRs are trained on requirements of 42 C.F.R. § 422.111(h)(1) and 42 C.F.R.
        § 423.128(d)(1). Review the 2024 edition of Medicare & You to ensure your CSRs are
        trained on new Part C and Part D benefit information for 2024. Consider sharing the most
        recent Medicare & You with translator service provider.

        CSRs should have specific plan benefit package (PBP) level benefit and formulary data
        easily available.

        Because the time is limited to 7 minutes for each of the general accuracy questions, a best
        practice for CSRs is to speak at a high level first and offer more detail if asked.

        o When we ask our introductory question, (“Are you the right person to answer
          questions about…?”), it is always best for the CSR to respond “yes” or “no,” meaning
          yes, the CSR is the correct person to answer questions about a specific plan’s
          benefits, or no, the CSR is not the correct person to answer questions about the plan’s
          benefits. The CSR should then offer a “warm transfer” to the caller so that he or she
          may speak to the appropriate person. If the CSR responds at this high level first, it
          will save time, especially if the caller needs to be transferred to another party. If the
          CSR spends a great deal of time trying to get more information from the caller, the
          timer may expire, resulting in an unsuccessful call in the plan’s performance.

 Guidance for Providing Services to Limited English Proficient Beneficiaries

 CMS reminds organizations of the HHS Office of Minority Health’s (OMH) National Standards
 for Culturally and Linguistically Appropriate Services in Health and Health Care (National
 CLAS Standards). Originally published in 2000, an enhanced version of the National CLAS
 Standards was most recently updated by OMH in October 2018. The National CLAS Standards
 offer health and health care organizations 15 action steps for providing culturally and
 linguistically appropriate services (CLAS). The National CLAS Standards are intended to
 advance health equity, improve quality, and help eliminate health care disparities. The Principal
 Standard is to “Provide effective, equitable, understandable, and respectful quality care and
 services that are responsive to diverse cultural health beliefs and practices, preferred languages,
 health literacy, and other communication needs” and serves as the overarching goal for National
 CLAS Standards’ implementation. One key area is Communication and Language Assistance,
 which includes: offering language assistance to individuals who have limited English proficiency
 and/or other communication needs, at no cost to them, to facilitate timely access to all health care
 and services (Standard 5); informing all individuals of the availability of language assistance
 services clearly and in their preferred language, verbally and in writing (Standard 6); ensuring
 the competence of individuals providing language assistance, recognizing that the use of
 untrained individuals and/or minors as interpreters should be avoided (Standard 7); and



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 providing easy-to-understand print and multimedia materials and signage in the languages
 commonly used by the populations in the service area (Standard 8). The National CLAS
 Standards are available at ThinkCulturalHealth.hhs.gov/clas. CMS strongly encourages sponsors
 to review and utilize the National CLAS Standards and its guidance document, The Blueprint. To
 learn how to communicate in a way that considers the cultural, health literacy, and language
 needs of individuals, please visit OMH’s free e-learning program, The Guide to Providing
 Effective Communication and Language Assistance Services. If you have any questions about the
 National CLAS Standards, please contact AdvancingCLAS@ThinkCulturalHealth.hhs.gov.

 Call Center Monitoring Reference Materials

 Technical Notes/Frequently Asked Questions and Data Dictionaries for each study are stored in
 HPMS via links in the lower left corners of the Performance Metrics pages. Please refer to pages
 2 and 3 above for the location of the studies’ results. This same location is where you will find
 these reference materials.

 If you have any questions about the 2024 call center monitoring effort, please contact the Call
 Center Monitoring mailbox at CallCenterMonitoring@cms.hhs.gov. Do not use secure email
 when communicating with this resource. CMS will not open a secure email message. CMS
 monitors thousands of plans and cannot register for secure email with each entity. We never
 share personally identifiable information on this project. If you need to send something securely,
 send an email first so we can arrange a call to discuss a mutually agreeable password for the
 document you wish to send.




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  From:            Jody Dougherty
  To:              CMS CallCenterMonitoring
  Cc:              Robin Bender
  Subject:         RE: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:            Thursday, July 25, 2024 9:17:42 AM
  Attachments:     SII2024_NewResult_UnitedHealth.xlsx



  The new results are attached – the invalidation of D0800347 affects 69 contracts.

  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, July 24, 2024 12:48 PM
  To: Robin Bender <Robin.Bender@hendall.com>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>
  Subject: RE: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study

  I agree with invalidating the single call. Please provide the new result.

  From: Robin Bender <Robin.Bender@hendall.com>
  Sent: Tuesday, July 23, 2024 3:56 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>; Robin Bender <Robin.Bender@hendall.com>
  Subject: FW: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study



  CaseID: D0800225
  Date/Time of call: 2/19/2024 2:11:50 PM
  ERC Code: 293.4
  ERC Description: Plan Call Center Dropped Call - Other
  Language: FR
  CallNote: was able to press option 6 for French. silence during hold queue. a voice cut in for a
  second then hold went silent. after about 500 seconds 'the called person hung up' line
  disconnected.,Silence during hold queue ,Call timed out before I could get an answer to my
  question.,was able to press option 6 for French. silence during hold queue. a voice cut in for a
  second then hold went silent. after about 500 seconds 'the called person hung up' line
  disconnected.

  AIR Review: The interviewer was able to connect with the plan and inform the plan they needed
  a French interpreter. The interviewer was on hold and then connected with a CSR but only
  heard the sound of a voice for a second before cutting off. It appeared to the interviewer that
  they were still on hold and tried to confirm by saying “hello” but there was no indication from
  the CSR that they were connected and continued to hold until the CSR disconnected. There
  were no indications of interviewer error so they did not do a case do over. Recommend
  keeping outcome as is.


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  CaseID: D0800347
  Date/Time of call: 2/19/2024 7:48:39 PM
  ERC Code: 296.15
  ERC Description: TTY: OTHER
  Language: TY
  CallNote: Reached TTY oper, reached plan's extended recording that included information
  about special promotion for medical alert device, then unfortunately unable to assist any
  further, just for calling in today...receive a special gift... then TTY oper typed (recording
  finished) ga. I typed operator did the line disconnect or did the representative hang up? ga
  TTY oper confirmed with (person hung up) ga I politely thanked TTY oper saying I'd call back
  another time and ended the call.,Reached plan but did not speak with CSR. TTY oper indicated
  that there was a recording, after which call disconnected. TTY oper said the person hung up,
  but there was never any indication that a live CSR had ever joined the call.

  AIR Review: Reviewing the TTY Tape, the interviewer did give the wrong number to the TTY
  operator. Interviewer provided 1-800-753-8005 instead of 1-800-753-8004. Recommend
  invalidating.




  CaseID: D1400487
  Date/Time of call: 4/2/2024 2:13:00 PM
  ERC Code: 294.1
  ERC Description: LEP: Timeout during wait for interpreter or prior to the interpreter answering
  the introductory question (more than 8 minutes)
  Language: VI
  CallNote: IVR did not respond to my selection ,Call timed out before I could get an answer to
  my question.,IVR did not response to my selection. CSR picked the call she said her
  introduction and I asked for Vietnamese but she keep repeating her name and intro. I asked for
  Vietnamese several times but she couldn't answer or hear me. She indicated that she can't
  hear me and ask to call back. Call timed out.

  AIR Review: Interviewer connected with the plan and a CSR but the CSR could not hear them.
  The interviewer stayed on the line until the call timed out but did not have any indication of
  interviewer error so they did not do a case do over. I reviewed the calls for that interviewer and
  there were no other cases with audio issues. Recommend keeping outcome as is.




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, July 22, 2024 11:56 AM


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                                           067
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  To: Jody Dougherty <jody.dougherty@hendall.com>; Robin Bender <Robin.Bender@hendall.com>
  Subject: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy and
  Accessibility Study

  Please see the below requests.

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:
        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt


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        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to
       the caller. The caller indicated they heard the UHC agent, however the UHC agent
       could not hear the caller and continued to offer support, but the lack of audio from the
       caller side prevented our CSR from engaging with them.
       The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
       support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical


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                                           069
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  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she
        couldn’t hear me, further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation
        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have

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                                             133

  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the
  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582


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  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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                                         072
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2. Case D0800347 (TTY Invalidate)

Part D                                                  LEP                                                                                          TTY
                          Total Number of All LEP   Total Number of complete                                           Total Number of All TTY   Total Number of complete
            # of LEP               calls                    LEP calls              % Complete LEP        # of TTY               calls                    TTY calls              % Complete TTY          Star Rating
 Contract invalidations Old           New           Old          New         Old          New          invalidations Old           New           Old         New          Old          New          Old       New
H0169                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0251                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0271                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0294                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0321                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0432                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0543                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0609                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0624                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0710                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0755                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0764                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H0845                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1045                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1278                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1360                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1659                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1889                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1944                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H1961                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2001                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2226                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2247                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2272                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2292                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2406                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2509                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2577                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2582                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H2802                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3113                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3256                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3307                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3379                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3387                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3418                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3749                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3794                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H3805                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H4094                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H4514                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H4527                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H4544                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H4604                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5008                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5253                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5322                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5420                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5435                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H5652                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H6526                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H6595                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H6706                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H7404                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H7464                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H7778                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H8211                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
H8768                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R0759                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R2604                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R3175                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R3444                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R5329                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R5342                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R6801                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
R7444                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
S5805                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
S5820                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%
S5921                 0           48             48          46           46       95.83%       95.83%             1           16             15          15           15       93.75%      100.00%      95%        97%




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                                                                              074
Case 6:24-cv-00357-JDK              Document 12-1 Filed 10/15/24                               Page 53 of 169 PageID #:
                                                 137

  From:           CMS CallCenterMonitoring
  To:             Dietrich, Sadie M
  Cc:             Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin,
                  Jennifer J; Valenzuela, Jose A; Dobbins, Keith E
  Subject:        RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:           Thursday, July 25, 2024 4:53:00 PM
  Attachments:    SII_RawCallLog_2024_Full_H1045_S5921.xlsx
                  D0800347 TTY Tape.rtf
                  SII2024_NewResult_UnitedHealth.xlsx



  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform
  the plan they needed a French interpreter. The interviewer was on hold and then connected
  with a CSR but only heard the sound of a voice for a second. The interviewer said, “Hello,” but
  there was no response from the CSR. The interviewer continued to hold until the CSR
  disconnected, confirmed by the attached raw data and call log, see column N HangUpBy =
  Resp. We have no indication of audio issues with this call, or others placed by this interviewer.
  The previous case you reference was invalidated due to conflicting disconnect directions, that
  is not what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give
  the wrong number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-
  753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the
  CSR could not hear them. The interviewer stayed on the line until the call timed out. We have
  no indication of audio issues with this call, or others placed by this interviewer. The previous
  case you reference was invalidated due to conflicting disconnect directions, that is not what
  occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will
  see that your Part D % complete TTY has increased to 100% and your Part D Star Rating has
  increased to 97%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve




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  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.



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  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:
        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt
        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to
       the caller. The caller indicated they heard the UHC agent, however the UHC agent


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        could not hear the caller and continued to offer support, but the lack of audio from the
        caller side prevented our CSR from engaging with them.
        The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
        support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical
  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she
        couldn’t hear me, further indicating an audio issue on the caller’s end.



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        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation
        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have
  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the
  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889


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  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820


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  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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 Call Start Date/Time: 02/19/2024 07:49:06 PM

 Call End Date/Time: 02/19/2024 07:56:52 PM

 Remote Party: 711

   MD RELAY OPR 9046 M NBR PLS GA

 800 753 8005 ga


 DIALING 800-753-8005 RING 1 ' (RECORDING) (F) (COLLECTING
 INFO PLS HLD) RING 1 (COLLECTING INFO PLS HLD) THK U FOR
 CALLING(F) (RECORDING) YOU CALL MIXXX MAY BE RECORDED
 FOR QUALITY ASSURANCE WE HAVE A SPECIAL PROMO TODAY
 FOR SELECT CALLERS WE ARE OFFERING YOU A FREE MED ALERT
 DEVICE THE LITTLE LIFE SAVING BUTTON YOU CAN WEAR AROUND
 YOUR NECK IN CASE OF AN EMERGENCY THESE DEVICES ARE
 OFTEN VERY EXPENSIVE UNFORTUNEATELY WE ARE UNABLE TO
 ASSIST YOU ANY FURTHER BUT JUST FOR CALLING IN TODAY YOU
 HAVE THE OPPORTUNITY TO RECEIVE A SPECIAL GIFT
 (RECORDING FINISHED) GA

 operator, please hold for live ga


 (PERSON HUNG UP) GA

 operator, did the line disconnect or did the representative hang up? ga


 (PERSON HUNG UP) GA

 ok. thank you so much. i will call back another time. bye bye sksk


 THK U BYE OPR 9046 M SK




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                                     083
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2. Case D0800347 (TTY Invalidate)

Part D                                                LEP                                                                                       TTY
                         Total Number of All LEP Total Number of complete                                          Total Number of All TTY Total Number of complete
            # of LEP              calls                   LEP calls             % Complete LEP        # of TTY              calls                   TTY calls             % Complete TTY         Star Rating
 Contract invalidations Old          New          Old         New         Old          New          invalidations Old          New          Old         New         Old          New         Old       New
H0169                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0251                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0271                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0294                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0321                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0432                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0543                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0609                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0624                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0710                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0755                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0764                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H0845                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1045                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1278                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1360                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1659                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1889                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1944                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H1961                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2001                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2226                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2247                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2272                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2292                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2406                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2509                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2577                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2582                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H2802                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3113                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3256                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3307                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3379                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3387                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3418                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3749                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3794                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H3805                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H4094                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H4514                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H4527                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H4544                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H4604                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5008                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5253                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5322                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5420                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5435                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H5652                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H6526                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H6595                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H6706                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H7404                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H7464                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H7778                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H8211                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
H8768                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R0759                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R2604                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R3175                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R3444                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R5329                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R5342                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R6801                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
R7444                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
S5805                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
S5820                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%
S5921                 0          48            48          46          46       95.83%       95.83%             1          16            15          15          15       93.75%     100.00%      95%        97%




                                                             UHC v. CMS, No. 6:24-00357 (E.D. Tex.)
                                                                             084
Case 6:24-cv-00357-JDK                Document 12-1 Filed 10/15/24                               Page 63 of 169 PageID #:
                                                   147

  From:             Dietrich, Sadie M
  To:               CMS CallCenterMonitoring
  Cc:               Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin,
                    Jennifer J; Valenzuela, Jose A; Dobbins, Keith E
  Subject:          RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:             Wednesday, July 31, 2024 11:52:06 AM
  Attachments:      image001.png


  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate
  them from the study. With D1400487 and D0800225, the evidence indicates our systems
  and agents were ready and available to fulfill the testing requirements and fails to support a
  conclusion that the audio issues occurred on our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the
  survey caller heard our agent offering support throughout, but the UHC agent heard no
  sound, which provides evidence of likely failure or mute on the caller’s side. With D0800225
  there were similar audio issues noted on both sides. We understand CMS’s position is that
  there was “no indication of audio issues”; however, we have shared evidence that there
  was also no indication of audio issues on our side. Without definitive evidence of the error
  being UHC’s, the calls should be invalidated from the study. We agree that the invalidated
  call we referenced in our previous e-mail (C0901198 from 2022) was regarding
  disconnection; but the precedent correctly established how to handle situations when
  evidence fails to conclusively determine whether the failure was due to an error by the plan
  or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established
  through Elevance’s successful appeal of its March 23, 2023, call, which was resolved after
  “the CMS Reconsideration Official found that there was no evidence the call at issue failed
  due to actions by Elevance and should not have counted against Elevance.” (See Amended
  Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-03902-RDM) at 3.) This
  reconsideration decision reiterates and clarifies that a call will not be held against a plan
  unless there is evidence that the call failed due to actions of the plan. In our two calls, there
  is no evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at
          this time and verified that the calls were functioning for the stated duration.
          Our Omni telecommunication system also had no outages at that time.
          Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS
  reconsideration official’s decision of the Elevance call from 2023, we request you
  reconsider this decision and these calls be categorized as invalid because there is no
  evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):


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                                               148




  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


  Caution: External email. Do not open attachments or click on links if you do not recognize the sender.



  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform
  the plan they needed a French interpreter. The interviewer was on hold and then connected
  with a CSR but only heard the sound of a voice for a second. The interviewer said, “Hello,” but
  there was no response from the CSR. The interviewer continued to hold until the CSR
  disconnected, confirmed by the attached raw data and call log, see column N HangUpBy =
  Resp. We have no indication of audio issues with this call, or others placed by this interviewer.
  The previous case you reference was invalidated due to conflicting disconnect directions, that
  is not what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give
  the wrong number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-


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  753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the
  CSR could not hear them. The interviewer stayed on the line until the call timed out. We have
  no indication of audio issues with this call, or others placed by this interviewer. The previous
  case you reference was invalidated due to conflicting disconnect directions, that is not what
  occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will
  see that your Part D % complete TTY has increased to 100% and your Part D Star Rating has
  increased to 97%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J


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                                           087
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                                            150

  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:
        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt
        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.



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  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to
       the caller. The caller indicated they heard the UHC agent, however the UHC agent
       could not hear the caller and continued to offer support, but the lack of audio from the
       caller side prevented our CSR from engaging with them.
       The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
       support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical
  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM


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  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she
        couldn’t hear me, further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation
        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have
  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the

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  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544


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  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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  notified that any dissemination, distribution or copying of this e-mail is
  prohibited. If you have received this e-mail in error, please notify the


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                                          092
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  sender by replying to this message and delete this e-mail immediately.




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                                          093
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                                             156



  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate
  them from the study. With D1400487 and D0800225, the evidence indicates our systems
  and agents were ready and available to fulfill the testing requirements and fails to support a
  conclusion that the audio issues occurred on our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the
  survey caller heard our agent offering support throughout, but the UHC agent heard no
  sound, which provides evidence of likely failure or mute on the caller’s side. With D0800225
  there were similar audio issues noted on both sides. We understand CMS’s position is that
  there was “no indication of audio issues”; however, we have shared evidence that there
  was also no indication of audio issues on our side. Without definitive evidence of the error
  being UHC’s, the calls should be invalidated from the study. We agree that the invalidated
  call we referenced in our previous e-mail (C0901198 from 2022) was regarding


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  disconnection; but the precedent correctly established how to handle situations when
  evidence fails to conclusively determine whether the failure was due to an error by the plan
  or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established
  through Elevance’s successful appeal of its March 23, 2023, call, which was resolved after
  “the CMS Reconsideration Official found that there was no evidence the call at issue failed
  due to actions by Elevance and should not have counted against Elevance.” (See Amended
  Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-03902-RDM) at 3.) This
  reconsideration decision reiterates and clarifies that a call will not be held against a plan
  unless there is evidence that the call failed due to actions of the plan. In our two calls, there
  is no evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at
        this time and verified that the calls were functioning for the stated duration.
        Our Omni telecommunication system also had no outages at that time.
        Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS
  reconsideration official’s decision of the Elevance call from 2023, we request you
  reconsider this decision and these calls be categorized as invalid because there is no
  evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J


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  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


  Caution: External email. Do not open attachments or click on links if you do not recognize the sender.



  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform
  the plan they needed a French interpreter. The interviewer was on hold and then connected
  with a CSR but only heard the sound of a voice for a second. The interviewer said, “Hello,” but
  there was no response from the CSR. The interviewer continued to hold until the CSR
  disconnected, confirmed by the attached raw data and call log, see column N HangUpBy =
  Resp. We have no indication of audio issues with this call, or others placed by this interviewer.
  The previous case you reference was invalidated due to conflicting disconnect directions, that
  is not what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give
  the wrong number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-
  753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the
  CSR could not hear them. The interviewer stayed on the line until the call timed out. We have
  no indication of audio issues with this call, or others placed by this interviewer. The previous
  case you reference was invalidated due to conflicting disconnect directions, that is not what
  occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will
  see that your Part D % complete TTY has increased to 100% and your Part D Star Rating has
  increased to 97%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve




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  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.



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  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:
        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt
        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to



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        the caller. The caller indicated they heard the UHC agent, however the UHC agent
        could not hear the caller and continued to offer support, but the lack of audio from the
        caller side prevented our CSR from engaging with them.
        The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
        support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical
  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she



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        couldn’t hear me, further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation
        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have
  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the
  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659

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  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805


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  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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        Apr 2 2024 D1400487 call




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      Feb 19 2024 D0800225 call




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  From:           Robin Bender
  To:             CMS CallCenterMonitoring
  Cc:             Jody Dougherty
  Subject:        FW: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:           Monday, September 16, 2024 12:06:20 PM
  Attachments:    image001.png
                  SII2024_NewResult_UnitedHealth_Rev02.xlsx



  Hi-

  Here is the new result after invalidating D1400487.

  Thank you-

  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 11:40 AM
  To: Robin Bender <Robin.Bender@hendall.com>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>
  Subject: RE: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study

  OK, I understand that. Please invalidate that single call and provide the new result.

  From: Robin Bender <Robin.Bender@hendall.com>
  Sent: Monday, September 16, 2024 11:22 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>
  Subject: RE: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study

  Hi Steve

  We wanted to err on the side of caution as the CSR reported they could not hear the CMS
  caller, and the CMS caller’s call note mentioned they didn’t feel the CSR could hear them. We
  could invalidate if you feel that is the best approach.

  Robin

  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 10:25 AM
  To: Robin Bender <Robin.Bender@hendall.com>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>
  Subject: RE: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study




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  I am confused as to why the second call would suggest invalidation when it appears that the
  recording matches what was reported.

  From: Robin Bender <Robin.Bender@hendall.com>
  Sent: Monday, September 16, 2024 10:21 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Jody Dougherty <jody.dougherty@hendall.com>; Robin Bender <Robin.Bender@hendall.com>
  Subject: FW: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study

  Hello-



  CaseID: D0800225
  CallNote: was able to press option 6 for French. silence during hold queue. a voice cut in for a
  second then hold went silent. after about 500 seconds 'the called person hung up' line
  disconnected.,Silence during hold queue ,Call timed out before I could get an answer to my
  question.,was able to press option 6 for French. silence during hold queue. a voice cut in for a
  second then hold went silent. after about 500 seconds 'the called person hung up' line
  disconnected.

  AIR Recording Review: The plan’s recording confirms the interviewer’s experience, that they
  connect to a CSR and heard someone say something and then cut out. Recommend keeping
  outcome as is since the plan’s recording supports our interviewer’s experience.



  CaseID: D1400487
  Date/Time of call: 4/2/2024 2:13:00 PM
  ERC Code: 294.1
  ERC Description: LEP: Timeout during wait for interpreter or prior to the interpreter answering
  the introductory question (more than 8 minutes)
  Language: VI
  CallNote: IVR did not respond to my selection ,Call timed out before I could get an answer to
  my question.,IVR did not response to my selection. CSR picked the call she said her
  introduction and I asked for Vietnamese but she keep repeating her name and intro. I asked for
  Vietnamese several times but she couldn't answer or hear me. She indicated that she can't
  hear me and ask to call back. Call timed out.

  AIR Recording Review: The call recording clearly shows that the plan’s CSR was on the call and
  asking to talk with the person, but our interviewer cannot be heard. This supports what our
  interviewer states in the call note. AIR does not see other issues with this interviewer’s audio
  on that day. Recommend invalidating since it seems to be an issue on the CMS caller’s end.



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  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Friday, September 13, 2024 4:02 PM
  To: Jody Dougherty <jody.dougherty@hendall.com>; Robin Bender <Robin.Bender@hendall.com>
  Subject: [External Sender] FW: 2024 Call Center Monitoring Performance Metrics for Accuracy and
  Accessibility Study

  UHS is back again, let me know if the recordings change anything.

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan
  Preview of 2025 Part C and D Star Ratings Data, CMS encouraged plans to alert CMS of
  any suspected data issues or errors. We have reviewed CMS’s responses to our previous
  inquiries and continue to believe CMS has erred in categorizing calls D0800225 and
  D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two
  calls be invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study. Without specific evidence that the audio issues with these calls
  occurred on our end, rather than the tester’s end, including them as attempted contacts
  would be improper, and to do so would have a material impact to multiple contracts’ Star
  Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below) should
  have a change in their overall Star Rating after these calls are invalidated. It is important
  that this matter be handled during plan preview so that these contracts have the correct
  Star Rating in October for the Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both
  sides have noted there were audio issues, but it is unclear what caused them. As you will
  hear on both calls, audio from the testers cannot be heard in either instance, indicating a
  potential issue on the tester’s end. We have seen no specific evidence indicating the
  source of the issues nor that the issues were due to actions taken, or not taken, by
  UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during


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  the Quality Bonus Payment administrative review process because there was no evidence
  that the call failed due to actions or inactions by Elevance. We expect the same standard
  be applied to us and that these calls be invalidated as there is no specific evidence an error
  occurred on our end while evidence suggests an error could have occurred on the tester’s
  end (accidental muting or other technical issues) in both instances. Again, we are not
  asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our
  end so that we are not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we
  will not be altering our decision at this time.


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  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues
  with these calls or others placed by these interviewers. As we mentioned below, for the 2024
  Star Ratings Elevance appealed a decision on a call and the CMS Reconsideration Official
  found a lack of evidence that the fail was due to actions by Elevance. We have no evidence the
  audio issues occurred on our end and have provided evidence that systems were working and
  the agents were ready and able to fulfill the testing requirements. As mentioned, without
  evidence of a failure on our end these calls should be invalidated similar to the outcome in the
  Elevance appeal. Can you share with us evidence indicating D1400487 and D0800225 failed
  due to actions by UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will
  remain as is. For D1400487 and D0800225 we understand that you believe there were audio
  issues on the CMS side. However, as we previously stated We have no indication of audio
  issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study




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  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate
  them from the study. With D1400487 and D0800225, the evidence indicates our systems
  and agents were ready and available to fulfill the testing requirements and fails to support a
  conclusion that the audio issues occurred on our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the
  survey caller heard our agent offering support throughout, but the UHC agent heard no
  sound, which provides evidence of likely failure or mute on the caller’s side. With D0800225
  there were similar audio issues noted on both sides. We understand CMS’s position is that
  there was “no indication of audio issues”; however, we have shared evidence that there
  was also no indication of audio issues on our side. Without definitive evidence of the error
  being UHC’s, the calls should be invalidated from the study. We agree that the invalidated
  call we referenced in our previous e-mail (C0901198 from 2022) was regarding
  disconnection; but the precedent correctly established how to handle situations when
  evidence fails to conclusively determine whether the failure was due to an error by the plan
  or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established
  through Elevance’s successful appeal of its March 23, 2023, call, which was resolved after
  “the CMS Reconsideration Official found that there was no evidence the call at issue failed
  due to actions by Elevance and should not have counted against Elevance.” (See Amended
  Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-03902-RDM) at 3.) This
  reconsideration decision reiterates and clarifies that a call will not be held against a plan
  unless there is evidence that the call failed due to actions of the plan. In our two calls, there
  is no evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at
        this time and verified that the calls were functioning for the stated duration.
        Our Omni telecommunication system also had no outages at that time.
        Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS
  reconsideration official’s decision of the Elevance call from 2023, we request you
  reconsider this decision and these calls be categorized as invalid because there is no
  evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




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  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform
  the plan they needed a French interpreter. The interviewer was on hold and then connected
  with a CSR but only heard the sound of a voice for a second. The interviewer said, “Hello,” but
  there was no response from the CSR. The interviewer continued to hold until the CSR
  disconnected, confirmed by the attached raw data and call log, see column N HangUpBy =
  Resp. We have no indication of audio issues with this call, or others placed by this interviewer.
  The previous case you reference was invalidated due to conflicting disconnect directions, that
  is not what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give
  the wrong number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-


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  753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the
  CSR could not hear them. The interviewer stayed on the line until the call timed out. We have
  no indication of audio issues with this call, or others placed by this interviewer. The previous
  case you reference was invalidated due to conflicting disconnect directions, that is not what
  occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will
  see that your Part D % complete TTY has increased to 100% and your Part D Star Rating has
  increased to 97%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J


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  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:
        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt
        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.



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  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to
       the caller. The caller indicated they heard the UHC agent, however the UHC agent
       could not hear the caller and continued to offer support, but the lack of audio from the
       caller side prevented our CSR from engaging with them.
       The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
       support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical
  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM


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  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she
        couldn’t hear me, further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation
        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have
  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the

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  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544


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  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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2. Case D0800347 (TTY Invalidate) D1400487 (LEP Invalidate)

Part D                                                  LEP                                                                                          TTY
                          Total Number of All LEP   Total Number of complete                                           Total Number of All TTY   Total Number of complete
            # of LEP               calls                    LEP calls              % Complete LEP        # of TTY               calls                    TTY calls              % Complete TTY          Star Rating
 Contract invalidations Old           New           Old          New         Old          New          invalidations Old           New           Old         New          Old          New          Old       New
H0169                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0251                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0271                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0294                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0321                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0432                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0543                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0609                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0624                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0710                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0755                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0764                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0845                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1045                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1278                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1360                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1659                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1889                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1944                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1961                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2001                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2226                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2247                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2272                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2292                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2406                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2509                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2577                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2582                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2802                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3113                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3256                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3307                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3379                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3387                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3418                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3749                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3794                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3805                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4094                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4514                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4527                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4544                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4604                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5008                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5253                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5322                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5420                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5435                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5652                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6526                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6595                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6706                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7404                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7464                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7778                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H8211                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H8768                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R0759                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R2604                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R3175                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R3444                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R5329                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R5342                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R6801                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R7444                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5805                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5820                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5921                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%




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  From:           CMS CallCenterMonitoring
  To:             Dietrich, Sadie M; CMS PartC&DStarRatings
  Cc:             Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin,
                  Jennifer J; Valenzuela, Jose A; Dobbins, Keith E
  Subject:        RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:           Monday, September 16, 2024 5:27:00 PM
  Attachments:    image001.png
                  SII2024_NewResult_UnitedHealth_Rev02.xlsx
                  SII_RawCallLog_2024_Full_H1045_S5921.xlsx



  Good evening,

  Thank you for reaching out with your questions. We have completed our review and found the
  following.

  Call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s
  experience, that they connected to a CSR and heard someone say something and then cut
  out. The attached raw data and call log confirms that the plan disconnected the call, see
  column O HangUpBy = Resp.

  Call D1400487 has been invalidated. The call recording clearly shows that the plan’s CSR was
  on the call and asking to talk with the person, but our interviewer cannot be heard. This
  supports what our interviewer states in the call note. We are not aware of other issues with
  this interviewer’s audio on that day. Based on the call recording that you provided, and that the
  CMS interviewer seems to indicate that they didn’t believe the CSR could hear them we have
  invalidated this call.

  The attached new result captures the impact of these invalidations on your plan. You will see
  that your Part D % complete LEP has increased to 97.87%, and your Part D Star Rating has
  increased to 98%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team for update after plan preview 2. The call center results in HPMS will not be
  updated.

  Thank you again for reaching out with your questions.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R


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  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan
  Preview of 2025 Part C and D Star Ratings Data, CMS encouraged plans to alert CMS of
  any suspected data issues or errors. We have reviewed CMS’s responses to our previous
  inquiries and continue to believe CMS has erred in categorizing calls D0800225 and
  D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two
  calls be invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy
  and Accessibility Study. Without specific evidence that the audio issues with these calls
  occurred on our end, rather than the tester’s end, including them as attempted contacts
  would be improper, and to do so would have a material impact to multiple contracts’ Star
  Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below) should
  have a change in their overall Star Rating after these calls are invalidated. It is important
  that this matter be handled during plan preview so that these contracts have the correct
  Star Rating in October for the Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both
  sides have noted there were audio issues, but it is unclear what caused them. As you will
  hear on both calls, audio from the testers cannot be heard in either instance, indicating a
  potential issue on the tester’s end. We have seen no specific evidence indicating the
  source of the issues nor that the issues were due to actions taken, or not taken, by
  UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during
  the Quality Bonus Payment administrative review process because there was no evidence
  that the call failed due to actions or inactions by Elevance. We expect the same standard
  be applied to us and that these calls be invalidated as there is no specific evidence an error
  occurred on our end while evidence suggests an error could have occurred on the tester’s
  end (accidental muting or other technical issues) in both instances. Again, we are not
  asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our
  end so that we are not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805



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  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we
  will not be altering our decision at this time.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study




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  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues
  with these calls or others placed by these interviewers. As we mentioned below, for the 2024
  Star Ratings Elevance appealed a decision on a call and the CMS Reconsideration Official
  found a lack of evidence that the fail was due to actions by Elevance. We have no evidence the
  audio issues occurred on our end and have provided evidence that systems were working and
  the agents were ready and able to fulfill the testing requirements. As mentioned, without
  evidence of a failure on our end these calls should be invalidated similar to the outcome in the
  Elevance appeal. Can you share with us evidence indicating D1400487 and D0800225 failed
  due to actions by UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will
  remain as is. For D1400487 and D0800225 we understand that you believe there were audio
  issues on the CMS side. However, as we previously stated We have no indication of audio
  issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring


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  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate
  them from the study. With D1400487 and D0800225, the evidence indicates our systems
  and agents were ready and available to fulfill the testing requirements and fails to support a
  conclusion that the audio issues occurred on our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the
  survey caller heard our agent offering support throughout, but the UHC agent heard no
  sound, which provides evidence of likely failure or mute on the caller’s side. With D0800225
  there were similar audio issues noted on both sides. We understand CMS’s position is that
  there was “no indication of audio issues”; however, we have shared evidence that there
  was also no indication of audio issues on our side. Without definitive evidence of the error
  being UHC’s, the calls should be invalidated from the study. We agree that the invalidated
  call we referenced in our previous e-mail (C0901198 from 2022) was regarding
  disconnection; but the precedent correctly established how to handle situations when
  evidence fails to conclusively determine whether the failure was due to an error by the plan


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  or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established
  through Elevance’s successful appeal of its March 23, 2023, call, which was resolved after
  “the CMS Reconsideration Official found that there was no evidence the call at issue failed
  due to actions by Elevance and should not have counted against Elevance.” (See Amended
  Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-03902-RDM) at 3.) This
  reconsideration decision reiterates and clarifies that a call will not be held against a plan
  unless there is evidence that the call failed due to actions of the plan. In our two calls, there
  is no evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at
        this time and verified that the calls were functioning for the stated duration.
        Our Omni telecommunication system also had no outages at that time.
        Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS
  reconsideration official’s decision of the Elevance call from 2023, we request you
  reconsider this decision and these calls be categorized as invalid because there is no
  evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>


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  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


  Caution: External email. Do not open attachments or click on links if you do not recognize the sender.



  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform
  the plan they needed a French interpreter. The interviewer was on hold and then connected
  with a CSR but only heard the sound of a voice for a second. The interviewer said, “Hello,” but
  there was no response from the CSR. The interviewer continued to hold until the CSR
  disconnected, confirmed by the attached raw data and call log, see column N HangUpBy =
  Resp. We have no indication of audio issues with this call, or others placed by this interviewer.
  The previous case you reference was invalidated due to conflicting disconnect directions, that
  is not what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give
  the wrong number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-
  753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the
  CSR could not hear them. The interviewer stayed on the line until the call timed out. We have
  no indication of audio issues with this call, or others placed by this interviewer. The previous
  case you reference was invalidated due to conflicting disconnect directions, that is not what
  occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will
  see that your Part D % complete TTY has increased to 100% and your Part D Star Rating has
  increased to 97%. I have highlighted the changes in yellow to make them stand out. Please
  keep these results for your records and CMS will do the same. We will pass these results onto
  the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM


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  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie,
  Zoe <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R
  <michael_lenz@uhc.com>; Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J
  <jennifer_j_martin@uhc.com>; Valenzuela, Jose A <jose.valenzuela@uhc.com>; Dobbins, Keith E
  <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center
  Monitoring Performance Metrics for Accuracy and Accessibility Study, CMS encouraged
  plans to contact CMS if they believe an error occurred. UnitedHealthcare (UHC) is
  presenting the following issues for CMS review and consideration as we believe there has
  been an error in categorizing these calls as failures. In accordance with the technical notes
  and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should
  be invalidated according to the technical notes. The study’s technical notes state on page
  19: “We ask the TTY operator to confirm the number he or she is dialing. Note: If the TTY
  operator dials the wrong number, the monitoring contractor opts to use its ‘do over’ option
  available to try again. In this scenario, the invalidated call is not counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct
  phone number or failed to confirm the dialed number per the technical notes and failed to
  opt to use its do over; therefore, this call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call
  should be invalidated:


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        CMS comments by the survey caller stated, “plan's extended recording that included
        information about special promotion for medical alert device.” This comment is clear
        evidence the wrong phone number was reached as UHC does not have any such
        promotion on the IVR or hold language used for the phone line being tested (1-800-
        753-8004). In fact, UHC does not have any audio promoting a medical alert device for
        any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt
        to use its “do over.”
        During our investigation into what may have occurred, we dialed similar numbers to
        recreate the caller’s experience; when we dialed 1-800-753-8001 (not a UHC
        number) instead of 1-800-753-8004 (the 1 and 4 buttons are adjacent), we heard a
        message similar to the one noted by the caller: “Hello and congratulations. Are you
        interested in a free life alert device? You know the little life saving… Press 1 to enjoy
        this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based
        upon our call logs and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that
        date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not
  confirm the number and did not opt to use its “do over” this call should be invalidated and
  not count against the plan per the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s
  side. A UHC French-speaking agent picked up this call at 2:12:52 PM and offered support
  to the caller. CMS’s call log indicates they heard the agent’s voice “cut in”. Our agent
  reported speaking in French to assist the caller, hearing a “hello” from the caller side, then
  a lack of audio from the caller side, indicating an audio issue due to the caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”,
  UHC observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has
       indicated no known issues in their network that would have impacted the call. AT&T’s
       log indicates this call was up from 2:06:24 to 2:20:00 PM (13 min 36 seconds).
       UHC’s telephony system did not have any outages and was at 100% health for that
       date and time.
       UHC’s system recorded the IVR selection of French, and this call was routed to a
       French-speaking agent.
       UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to
       the caller. The caller indicated they heard the UHC agent, however the UHC agent
       could not hear the caller and continued to offer support, but the lack of audio from the
       caller side prevented our CSR from engaging with them.


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        The agent stayed on the line for 8 minutes and 17 seconds and continued to offer
        support in case the audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the
  survey caller’s side, CMS invalidated the call. We have attached our communication from
  2022 on this call (C0901198), which was invalidated due to data indicating a disconnection
  error occurred on the survey caller’s side. Although the details of this call are different, they
  are similar in that for this call there is also sufficient evidence to show an error or technical
  issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the
  results are issued to you” (page 28). This area of the technical notes and CMS application
  in the prior call reviews indicate invalidating this call due to technical issues on the caller’s
  side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the
  full duration of call, the caller’s audio issues preventing our CSR from communicating with
  the caller, and CMS call review precedent, UHC requests this call be invalidated from the
  study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey
  caller’s side. A UHC agent picked up this call at 2:15 PM and offered to assist the caller. As
  noted by CMS, the caller heard our agent; however, our agent reported receiving no audio
  from the caller side, indicating an audio issue due to the survey caller’s equipment,
  connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s
  “report”, UHC observed the following details supporting the invalidation of this call:
        AT&T (our telecom provider) has not identified any outages for this time and has
        indicated no known issues in their network that would have impacted the call. AT&T
        log indicates call was up from 2:13:05 to 2:24:11 PM (11 min 6 secs) and the caller
        hung up the call.
        UHC’s telephony system did not have any outages and was at 100% health at this
        date and time.
        We have evidence that no IVR touchtone input from the caller was received;
        therefore, this call was routed to an English-speaking agent who picked up this call at
        2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or
        other language support; however, there was absolutely no audio coming from the
        caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she
        couldn’t hear me, further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date
        and time (Truc Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation


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        support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer
        assistance to the caller for the duration of the call (surpassing the study’s minimum of
        8 minutes) in case the audio/mute issue on the caller side was resolved (but that did
        not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated
  a potential issue on the survey caller’s side and CMS invalidated the call. We have
  attached our communication from 2022 on this call (C0901198), which was invalidated due
  to data indicating a disconnection error occurred on the survey caller’s side. Although the
  details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out
  any phone equipment failures, employee error, or an issue on the part of its phone carrier
  before the results are issued to you” (page 28). This area of the technical notes and CMS’s
  application in the prior call reviews indicate invalidating this call with technical issues on the
  caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or
  its phone carrier) which prevented our CSR from engaging with the caller, the availability of
  a Vietnamese-speaking agent, and CMS precedent: this call should be invalidated from the
  study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961


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  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921



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  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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2. Case D0800347 (TTY Invalidate) D1400487 (LEP Invalidate)

Part D                                                  LEP                                                                                          TTY
                          Total Number of All LEP   Total Number of complete                                           Total Number of All TTY   Total Number of complete
            # of LEP               calls                    LEP calls              % Complete LEP        # of TTY               calls                    TTY calls              % Complete TTY          Star Rating
 Contract invalidations Old           New           Old          New         Old          New          invalidations Old           New           Old         New          Old          New          Old       New
H0169                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0251                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0271                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0294                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0321                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0432                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0543                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0609                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0624                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0710                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0755                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0764                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H0845                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1045                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1278                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1360                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1659                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1889                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1944                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H1961                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2001                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2226                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2247                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2272                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2292                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2406                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2509                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2577                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2582                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H2802                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3113                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3256                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3307                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3379                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3387                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3418                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3749                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3794                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H3805                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4094                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4514                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4527                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4544                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H4604                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5008                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5253                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5322                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5420                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5435                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H5652                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6526                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6595                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H6706                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7404                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7464                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H7778                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H8211                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
H8768                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R0759                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R2604                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R3175                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R3444                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R5329                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R5342                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R6801                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
R7444                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5805                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5820                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%
S5921                 1           48             47          46           46       95.83%       97.87%             1           16             15          15           15       93.75%      100.00%      95%        98%




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 SII_RawCallLog_2024_Full_H10
           45_S5921




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                                     182
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  From:            Dietrich, Sadie M
  To:              CMS CallCenterMonitoring; CMS PartC&DStarRatings
  Cc:              Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin, Jennifer J; Valenzuela, Jose A;
                   Dobbins, Keith E
  Subject:         RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:            Thursday, September 19, 2024 5:27:28 PM
  Attachments:     image001.png
                   image002.png
                   image004.jpg
                   Feb 19 2024 D0800225 call.wma




  Good evening,

  Thank you for your response on D1400487. We agree invalidating the call is appropriate given our Customer
  Service Representative (CSR) could not hear your interviewer. We believe that, by the same standard,
  D0800225 should be invalidated as well.

  Thank you also for sending the updated call log for D0800225. We believe the call log’s characterization of
  D0800225 shows a misunderstanding of what actually occurred that we would like to address. Together with
  the fact that there is no evidence one way or the other about the source of audio issue, correcting this
  misunderstanding should lead to this call being invalidated from the study.

  Specifically, the call log provides no evidence that the interviewer fulfilled the requirements necessary to
  include the call in the survey. According to the technical specifications, “completed contact with an interpreter
  is defined as establishing contact with an interpreter and confirming that the customer service
  representative can answer questions about the plan’s Medicare Part C benefit within eight minutes”
  (emphasis added). For this call, there is no evidence indicating the interviewer asked a question during the
  eight minutes or that the reason the question was not received was related to UHC’s system as opposed to
  the interviewer’s system. In any event, the CSR never had an opportunity to provide the appropriate
  response, and, therefore, this call should be invalidated and removed from the survey.

  There are three phases for a call to be validly part of the survey for the Star Ratings measure. First, the CMS
  interviewer must dial the plan number, which clearly happened with this call. The second phase is that the
  interviewer connects with the plan’s CSR, which your prior response correctly stated happened in this case.
  In the third phase, the CMS interviewer must ask the introductory question to which the CSR must answer
  affirmatively.

  Here, however, there is no evidence that the introductory question was ever asked, meaning that there is no
  evidence that the CSR had an opportunity to provide a response. As your last response correctly states, the
  interviewer connected to a CSR and heard a voice, which is contrary to your call log that indicates the call
  was placed on hold for 512 seconds. Our prior responses only indirectly addressed these misperceptions. To
  be clear, our evidence clearly demonstrates that the interviewer’s call log and CMS’s understanding of the
  call are incorrect:

          Call details (see call log in Exhibit A)
                2:12:00 PM EST: UHC received the call
                47 seconds: Caller was on IVR and after selection informed they were being connected and that
                the call may be monitored or recorded
                5 seconds: Caller was routed and briefly rang to get to French-speaking CSR
                2:12:52 PM EST: Caller connected to CSR
                        Our audio recording (attached), along with Exhibits A and B (below), confirm that once the
                        interviewer was connected to a French-speaking CSR (within 52 seconds of the call start)
                        they stayed connected with the CSR for the entire duration of the call and were never put
                        on hold (as the interviewer thought and indicated in the call log).
                        Our systems confirm at the following times in the recording we heard the following from the
                        interviewer side:
                               At 0:00:25 the interviewer faintly said hello
                               At various points between 1:03 and 7:17 the recording shows faint rustling and



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                           breathing sounds from the interviewer side of the connection. The noises were heard
                           at these timestamps in the recording:
                                  0:01:03
                                  0:01:08
                                  0:01:14
                                  0:01:15
                                  0:02:47
                                  0:02:49
                                  0:02:58
                                  0:02:59
                                  0:06:00
                                  0:06:48
                                  0:07:17
                     At no point in the recording does the interviewer ask the introductory question as required
                     by phrase 3.
               2:21:11 PM EST: Call disconnected (slightly over required eight minutes)
                     The UHC CSR did disconnect the call, after not being presented the introductory question
                     within eight minutes of connecting to the interviewer, as is allowed per the technical
                     specifications.

  The CMS call log lists code 293.4 for ‘Plan Call Center Dropped Call – Other’ and the finish note and hold
  time entries suggest that the interviewer incorrectly thought they were on “hold.” The call log suggests the
  interviewer believed the call was unsuccessful because the call was disconnected while on hold. However,
  as the facts above indicate, the call was not dropped while on hold and the CSR appropriately ended the call
  after eight minutes after not receiving the introductory question. CMS’s email of September 16 therefore is
  incorrect to the extent that it suggests that this eventual disconnection by the CSR was the source of the
  problem with the call.

  In short, the undisputed recording of the more than eight-minute call does not include evidence that the
  interviewer asked the required introductory question, failing to fulfill phase 3 requirements. The CSR did not
  have the opportunity to respond to the question during the required eight minutes. Had the introductory
  question ever been asked and heard, UHC could have taken the appropriate steps to respond. For these
  reasons, the test call was invalid and should be removed from the study.

  Invalidating the call is warranted, because there is no evidence that actions or inactions by UHC caused the
  problem with the call. In addition, invalidating this call ensures that we are not held to a different standard
  than Elevance, whose call decision was overturned earlier this year because there was no evidence that the
  call failed due to actions or inactions by Elevance. It would be inappropriate for this call to be included in the
  study given that standard.

  We calculate that 12 contracts (listed below) serving over 1,900,000 members should have a change in their
  overall Star Rating after this one call is invalidated. It is important that this matter be handled as soon as
  possible and at least prior to Star Ratings being released publicly so that these contracts have the correct
  Star Rating in October for the Annual Enrollment Period so that members can make informed decisions.

  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768


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  R6801

  Sincerely,
  Sadie Dietrich


  Below is additional evidence in support of our discussion above.

  Exhibit A. Confirms interviewer was on call for full duration with CSR and not on hold.



  Exhibit B. Confirms caller was specifically connected to a French-speaking CSR and given the lack of audio
  from the caller side the call disposition was recorded as “no answer” from the caller




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 4:27 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  Thank you for reaching out with your questions. We have completed our review and found the following.

  Call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s experience, that they
  connected to a CSR and heard someone say something and then cut out. The attached raw data and call log
  confirms that the plan disconnected the call, see column O HangUpBy = Resp.

  Call D1400487 has been invalidated. The call recording clearly shows that the plan’s CSR was on the call and
  asking to talk with the person, but our interviewer cannot be heard. This supports what our interviewer states in
  the call note. We are not aware of other issues with this interviewer’s audio on that day. Based on the call
  recording that you provided, and that the CMS interviewer seems to indicate that they didn’t believe the CSR
  could hear them we have invalidated this call.

  The attached new result captures the impact of these invalidations on your plan. You will see that your Part D %
  complete LEP has increased to 97.87%, and your Part D Star Rating has increased to 98%. I have highlighted the
  changes in yellow to make them stand out. Please keep these results for your records and CMS will do the same.
  We will pass these results onto the Stars team for update after plan preview 2. The call center results in HPMS



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                                                          201

  will not be updated.

  Thank you again for reaching out with your questions.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan Preview of 2025 Part C
  and D Star Ratings Data, CMS encouraged plans to alert CMS of any suspected data issues or errors. We
  have reviewed CMS’s responses to our previous inquiries and continue to believe CMS has erred in
  categorizing calls D0800225 and D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two calls be
  invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study.
  Without specific evidence that the audio issues with these calls occurred on our end, rather than the tester’s
  end, including them as attempted contacts would be improper, and to do so would have a material impact to
  multiple contracts’ Star Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below)
  should have a change in their overall Star Rating after these calls are invalidated. It is important that this
  matter be handled during plan preview so that these contracts have the correct Star Rating in October for the
  Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both sides have
  noted there were audio issues, but it is unclear what caused them. As you will hear on both calls, audio from
  the testers cannot be heard in either instance, indicating a potential issue on the tester’s end. We have seen
  no specific evidence indicating the source of the issues nor that the issues were due to actions taken, or not
  taken, by UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during the
  Quality Bonus Payment administrative review process because there was no evidence that the call failed due
  to actions or inactions by Elevance. We expect the same standard be applied to us and that these calls be
  invalidated as there is no specific evidence an error occurred on our end while evidence suggests an error
  could have occurred on the tester’s end (accidental muting or other technical issues) in both instances.
  Again, we are not asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our end so that we are
  not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247


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  H3805
  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we will not be
  altering our decision at this time.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues with these calls or
  others placed by these interviewers. As we mentioned below, for the 2024 Star Ratings Elevance appealed a
  decision on a call and the CMS Reconsideration Official found a lack of evidence that the fail was due to actions
  by Elevance. We have no evidence the audio issues occurred on our end and have provided evidence that
  systems were working and the agents were ready and able to fulfill the testing requirements. As mentioned,
  without evidence of a failure on our end these calls should be invalidated similar to the outcome in the Elevance



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  appeal. Can you share with us evidence indicating D1400487 and D0800225 failed due to actions by
  UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will remain as is. For
  D1400487 and D0800225 we understand that you believe there were audio issues on the CMS side. However, as
  we previously stated We have no indication of audio issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;



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  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate them from the
  study. With D1400487 and D0800225, the evidence indicates our systems and agents were ready and
  available to fulfill the testing requirements and fails to support a conclusion that the audio issues occurred on
  our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the survey caller heard
  our agent offering support throughout, but the UHC agent heard no sound, which provides evidence of likely
  failure or mute on the caller’s side. With D0800225 there were similar audio issues noted on both sides. We
  understand CMS’s position is that there was “no indication of audio issues”; however, we have shared
  evidence that there was also no indication of audio issues on our side. Without definitive evidence of the
  error being UHC’s, the calls should be invalidated from the study. We agree that the invalidated call we
  referenced in our previous e-mail (C0901198 from 2022) was regarding disconnection; but the precedent
  correctly established how to handle situations when evidence fails to conclusively determine whether the
  failure was due to an error by the plan or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established through Elevance’s
  successful appeal of its March 23, 2023, call, which was resolved after “the CMS Reconsideration Official
  found that there was no evidence the call at issue failed due to actions by Elevance and should not have
  counted against Elevance.” (See Amended Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-
  03902-RDM) at 3.) This reconsideration decision reiterates and clarifies that a call will not be held against a
  plan unless there is evidence that the call failed due to actions of the plan. In our two calls, there is no
  evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at this time and
        verified that the calls were functioning for the stated duration.
        Our Omni telecommunication system also had no outages at that time.
        Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS reconsideration
  official’s decision of the Elevance call from 2023, we request you reconsider this decision and these calls be
  categorized as invalid because there is no evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich




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  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform the plan they
  needed a French interpreter. The interviewer was on hold and then connected with a CSR but only heard the
  sound of a voice for a second. The interviewer said, “Hello,” but there was no response from the CSR. The
  interviewer continued to hold until the CSR disconnected, confirmed by the attached raw data and call log, see
  column N HangUpBy = Resp. We have no indication of audio issues with this call, or others placed by this
  interviewer. The previous case you reference was invalidated due to conflicting disconnect directions, that is not
  what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give the wrong
  number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the CSR could not hear
  them. The interviewer stayed on the line until the call timed out. We have no indication of audio issues with this
  call, or others placed by this interviewer. The previous case you reference was invalidated due to conflicting
  disconnect directions, that is not what occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will see that your Part
  D % complete TTY has increased to 100% and your Part D Star Rating has increased to 97%. I have highlighted
  the changes in yellow to make them stand out. Please keep these results for your records and CMS will do the
  same. We will pass these results onto the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A



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                                                          206

  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center Monitoring Performance
  Metrics for Accuracy and Accessibility Study, CMS encouraged plans to contact CMS if they believe an error
  occurred. UnitedHealthcare (UHC) is presenting the following issues for CMS review and consideration as
  we believe there has been an error in categorizing these calls as failures. In accordance with the technical
  notes and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should be invalidated
  according to the technical notes. The study’s technical notes state on page 19: “We ask the TTY operator to
  confirm the number he or she is dialing. Note: If the TTY operator dials the wrong number, the monitoring
  contractor opts to use its ‘do over’ option available to try again. In this scenario, the invalidated call is not
  counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct phone number or
  failed to confirm the dialed number per the technical notes and failed to opt to use its do over; therefore, this
  call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call should be
  invalidated:
         CMS comments by the survey caller stated, “plan's extended recording that included information about
         special promotion for medical alert device.” This comment is clear evidence the wrong phone number
         was reached as UHC does not have any such promotion on the IVR or hold language used for the
         phone line being tested (1-800-753-8004). In fact, UHC does not have any audio promoting a medical
         alert device for any of the phone lines filed in HPMS.
         The survey caller makes no mention of confirming the number called and did not opt to use its “do
         over.”
         During our investigation into what may have occurred, we dialed similar numbers to recreate the
         caller’s experience; when we dialed 1-800-753-8001 (not a UHC number) instead of 1-800-753-8004
         (the 1 and 4 buttons are adjacent), we heard a message similar to the one noted by the caller: “Hello
         and congratulations. Are you interested in a free life alert device? You know the little life saving…
         Press 1 to enjoy this special offer”.
         UHC did not have any calls to 1-800-753-8004 at the stated time and date based upon our call logs
         and system reports.


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        UHC’s telephony system did not have any outages and was at 100% health for that date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not confirm the
  number and did not opt to use its “do over” this call should be invalidated and not count against the plan per
  the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s side. A UHC
  French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. CMS’s call log
  indicates they heard the agent’s voice “cut in”. Our agent reported speaking in French to assist the caller,
  hearing a “hello” from the caller side, then a lack of audio from the caller side, indicating an audio issue due
  to the caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”, UHC observed the
  following details supporting the invalidation of this call:
         AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
         issues in their network that would have impacted the call. AT&T’s log indicates this call was up from
         2:06:24 to 2:20:00 PM (13 min 36 seconds).
         UHC’s telephony system did not have any outages and was at 100% health for that date and time.
         UHC’s system recorded the IVR selection of French, and this call was routed to a French-speaking
         agent.
         UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. The
         caller indicated they heard the UHC agent, however the UHC agent could not hear the caller and
         continued to offer support, but the lack of audio from the caller side prevented our CSR from engaging
         with them.
         The agent stayed on the line for 8 minutes and 17 seconds and continued to offer support in case the
         audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the survey caller’s
  side, CMS invalidated the call. We have attached our communication from 2022 on this call (C0901198),
  which was invalidated due to data indicating a disconnection error occurred on the survey caller’s side.
  Although the details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone equipment failures,
  employee error, or an issue on the part of its phone carrier before the results are issued to you” (page 28).
  This area of the technical notes and CMS application in the prior call reviews indicate invalidating this call
  due to technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the full duration of call,
  the caller’s audio issues preventing our CSR from communicating with the caller, and CMS call review
  precedent, UHC requests this call be invalidated from the study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey caller’s side. A UHC
  agent picked up this call at 2:15 PM and offered to assist the caller. As noted by CMS, the caller heard our
  agent; however, our agent reported receiving no audio from the caller side, indicating an audio issue due to
  the survey caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s “report”, UHC
  observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
       issues in their network that would have impacted the call. AT&T log indicates call was up from 2:13:05
       to 2:24:11 PM (11 min 6 secs) and the caller hung up the call.
       UHC’s telephony system did not have any outages and was at 100% health at this date and time.
       We have evidence that no IVR touchtone input from the caller was received; therefore, this call was


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        routed to an English-speaking agent who picked up this call at 2:15:45 PM and offered to assist.
        The UHC agent was ready to assist and transfer to the appropriate Vietnamese or other language
        support; however, there was absolutely no audio coming from the caller side.
        Caller states the UHC agent kept “repeating her name and introduction” and that she couldn’t hear me,
        further indicating an audio issue on the caller’s end.
        UHC can confirm we had three Vietnamese speaking agents available on this date and time (Truc
        Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation support line).
        UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer assistance to the
        caller for the duration of the call (surpassing the study’s minimum of 8 minutes) in case the audio/mute
        issue on the caller side was resolved (but that did not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated a potential issue
  on the survey caller’s side and CMS invalidated the call. We have attached our communication from 2022 on
  this call (C0901198), which was invalidated due to data indicating a disconnection error occurred on the
  survey caller’s side. Although the details of this call are different, they are similar in that for this call there is
  also sufficient evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the results are issued
  to you” (page 28). This area of the technical notes and CMS’s application in the prior call reviews indicate
  invalidating this call with technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or its phone carrier)
  which prevented our CSR from engaging with the caller, the availability of a Vietnamese-speaking agent, and
  CMS precedent: this call should be invalidated from the study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509


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  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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  recipient or intended recipient’s authorized agent, the reader is hereby
  notified that any dissemination, distribution or copying of this e-mail is
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       Feb 19 2024 D0800225 call




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  From:           Dietrich, Sadie M
  To:             CMS CallCenterMonitoring; CMS PartC&DStarRatings
  Cc:             Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin, Jennifer J; Valenzuela, Jose A;
                  Dobbins, Keith E
  Subject:        RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:           Thursday, September 19, 2024 5:34:30 PM
  Attachments:    image002.png
                  image005.png
                  image001.jpg
                  image004.png
                  image006.jpg


  Responding with Exhibit B included below.

  From: Dietrich, Sadie M
  Sent: Thursday, September 19, 2024 4:27 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good evening,

  Thank you for your response on D1400487. We agree invalidating the call is appropriate given our Customer
  Service Representative (CSR) could not hear your interviewer. We believe that, by the same standard,
  D0800225 should be invalidated as well.

  Thank you also for sending the updated call log for D0800225. We believe the call log’s characterization of
  D0800225 shows a misunderstanding of what actually occurred that we would like to address. Together with
  the fact that there is no evidence one way or the other about the source of audio issue, correcting this
  misunderstanding should lead to this call being invalidated from the study.

  Specifically, the call log provides no evidence that the interviewer fulfilled the requirements necessary to
  include the call in the survey. According to the technical specifications, “completed contact with an interpreter
  is defined as establishing contact with an interpreter and confirming that the customer service
  representative can answer questions about the plan’s Medicare Part C benefit within eight minutes”
  (emphasis added). For this call, there is no evidence indicating the interviewer asked a question during the
  eight minutes or that the reason the question was not received was related to UHC’s system as opposed to
  the interviewer’s system. In any event, the CSR never had an opportunity to provide the appropriate
  response, and, therefore, this call should be invalidated and removed from the survey.

  There are three phases for a call to be validly part of the survey for the Star Ratings measure. First, the CMS
  interviewer must dial the plan number, which clearly happened with this call. The second phase is that the
  interviewer connects with the plan’s CSR, which your prior response correctly stated happened in this case.
  In the third phase, the CMS interviewer must ask the introductory question to which the CSR must answer
  affirmatively.

  Here, however, there is no evidence that the introductory question was ever asked, meaning that there is no
  evidence that the CSR had an opportunity to provide a response. As your last response correctly states, the
  interviewer connected to a CSR and heard a voice, which is contrary to your call log that indicates the call
  was placed on hold for 512 seconds. Our prior responses only indirectly addressed these misperceptions. To
  be clear, our evidence clearly demonstrates that the interviewer’s call log and CMS’s understanding of the
  call are incorrect:

          Call details (see call log in Exhibit A)
                2:12:00 PM EST: UHC received the call


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              47 seconds: Caller was on IVR and after selection informed they were being connected and that
              the call may be monitored or recorded
              5 seconds: Caller was routed and briefly rang to get to French-speaking CSR
              2:12:52 PM EST: Caller connected to CSR
                    Our audio recording (attached), along with Exhibits A and B (below), confirm that once the
                    interviewer was connected to a French-speaking CSR (within 52 seconds of the call start)
                    they stayed connected with the CSR for the entire duration of the call and were never put
                    on hold (as the interviewer thought and indicated in the call log).
                    Our systems confirm at the following times in the recording we heard the following from the
                    interviewer side:
                           At 0:00:25 the interviewer faintly said hello
                           At various points between 1:03 and 7:17 the recording shows faint rustling and
                           breathing sounds from the interviewer side of the connection. The noises were heard
                           at these timestamps in the recording:
                                 0:01:03
                                 0:01:08
                                 0:01:14
                                 0:01:15
                                 0:02:47
                                 0:02:49
                                 0:02:58
                                 0:02:59
                                 0:06:00
                                 0:06:48
                                 0:07:17
                    At no point in the recording does the interviewer ask the introductory question as required
                    by phrase 3.
              2:21:11 PM EST: Call disconnected (slightly over required eight minutes)
                    The UHC CSR did disconnect the call, after not being presented the introductory question
                    within eight minutes of connecting to the interviewer, as is allowed per the technical
                    specifications.

  The CMS call log lists code 293.4 for ‘Plan Call Center Dropped Call – Other’ and the finish note and hold
  time entries suggest that the interviewer incorrectly thought they were on “hold.” The call log suggests the
  interviewer believed the call was unsuccessful because the call was disconnected while on hold. However,
  as the facts above indicate, the call was not dropped while on hold and the CSR appropriately ended the call
  after eight minutes after not receiving the introductory question. CMS’s email of September 16 therefore is
  incorrect to the extent that it suggests that this eventual disconnection by the CSR was the source of the
  problem with the call.

  In short, the undisputed recording of the more than eight-minute call does not include evidence that the
  interviewer asked the required introductory question, failing to fulfill phase 3 requirements. The CSR did not
  have the opportunity to respond to the question during the required eight minutes. Had the introductory
  question ever been asked and heard, UHC could have taken the appropriate steps to respond. For these
  reasons, the test call was invalid and should be removed from the study.

  Invalidating the call is warranted, because there is no evidence that actions or inactions by UHC caused the
  problem with the call. In addition, invalidating this call ensures that we are not held to a different standard
  than Elevance, whose call decision was overturned earlier this year because there was no evidence that the
  call failed due to actions or inactions by Elevance. It would be inappropriate for this call to be included in the
  study given that standard.

  We calculate that 12 contracts (listed below) serving over 1,900,000 members should have a change in their
  overall Star Rating after this one call is invalidated. It is important that this matter be handled as soon as
  possible and at least prior to Star Ratings being released publicly so that these contracts have the correct


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  Star Rating in October for the Annual Enrollment Period so that members can make informed decisions.

  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Sincerely,
  Sadie Dietrich


  Below is additional evidence in support of our discussion above.

  Exhibit A. Confirms interviewer was on call for full duration with CSR and not on hold.



  Exhibit B. Confirms caller was specifically connected to a French-speaking CSR and given the lack of audio
  from the caller side the call disposition was recorded as “no answer” from the caller




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 4:27 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  Thank you for reaching out with your questions. We have completed our review and found the following.

  Call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s experience, that they
  connected to a CSR and heard someone say something and then cut out. The attached raw data and call log



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  confirms that the plan disconnected the call, see column O HangUpBy = Resp.

  Call D1400487 has been invalidated. The call recording clearly shows that the plan’s CSR was on the call and
  asking to talk with the person, but our interviewer cannot be heard. This supports what our interviewer states in
  the call note. We are not aware of other issues with this interviewer’s audio on that day. Based on the call
  recording that you provided, and that the CMS interviewer seems to indicate that they didn’t believe the CSR
  could hear them we have invalidated this call.

  The attached new result captures the impact of these invalidations on your plan. You will see that your Part D %
  complete LEP has increased to 97.87%, and your Part D Star Rating has increased to 98%. I have highlighted the
  changes in yellow to make them stand out. Please keep these results for your records and CMS will do the same.
  We will pass these results onto the Stars team for update after plan preview 2. The call center results in HPMS
  will not be updated.

  Thank you again for reaching out with your questions.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan Preview of 2025 Part C
  and D Star Ratings Data, CMS encouraged plans to alert CMS of any suspected data issues or errors. We
  have reviewed CMS’s responses to our previous inquiries and continue to believe CMS has erred in
  categorizing calls D0800225 and D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two calls be
  invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study.
  Without specific evidence that the audio issues with these calls occurred on our end, rather than the tester’s
  end, including them as attempted contacts would be improper, and to do so would have a material impact to
  multiple contracts’ Star Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below)
  should have a change in their overall Star Rating after these calls are invalidated. It is important that this
  matter be handled during plan preview so that these contracts have the correct Star Rating in October for the
  Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both sides have
  noted there were audio issues, but it is unclear what caused them. As you will hear on both calls, audio from
  the testers cannot be heard in either instance, indicating a potential issue on the tester’s end. We have seen
  no specific evidence indicating the source of the issues nor that the issues were due to actions taken, or not
  taken, by UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during the
  Quality Bonus Payment administrative review process because there was no evidence that the call failed due
  to actions or inactions by Elevance. We expect the same standard be applied to us and that these calls be
  invalidated as there is no specific evidence an error occurred on our end while evidence suggests an error


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  could have occurred on the tester’s end (accidental muting or other technical issues) in both instances.
  Again, we are not asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our end so that we are
  not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we will not be
  altering our decision at this time.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>



                                   UHC v. CMS, No. 6:24-00357 (E.D. Tex.)
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  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues with these calls or
  others placed by these interviewers. As we mentioned below, for the 2024 Star Ratings Elevance appealed a
  decision on a call and the CMS Reconsideration Official found a lack of evidence that the fail was due to actions
  by Elevance. We have no evidence the audio issues occurred on our end and have provided evidence that
  systems were working and the agents were ready and able to fulfill the testing requirements. As mentioned,
  without evidence of a failure on our end these calls should be invalidated similar to the outcome in the Elevance
  appeal. Can you share with us evidence indicating D1400487 and D0800225 failed due to actions by
  UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will remain as is. For
  D1400487 and D0800225 we understand that you believe there were audio issues on the CMS side. However, as
  we previously stated We have no indication of audio issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,



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                                                           218


  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate them from the
  study. With D1400487 and D0800225, the evidence indicates our systems and agents were ready and
  available to fulfill the testing requirements and fails to support a conclusion that the audio issues occurred on
  our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the survey caller heard
  our agent offering support throughout, but the UHC agent heard no sound, which provides evidence of likely
  failure or mute on the caller’s side. With D0800225 there were similar audio issues noted on both sides. We
  understand CMS’s position is that there was “no indication of audio issues”; however, we have shared
  evidence that there was also no indication of audio issues on our side. Without definitive evidence of the
  error being UHC’s, the calls should be invalidated from the study. We agree that the invalidated call we
  referenced in our previous e-mail (C0901198 from 2022) was regarding disconnection; but the precedent
  correctly established how to handle situations when evidence fails to conclusively determine whether the
  failure was due to an error by the plan or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established through Elevance’s
  successful appeal of its March 23, 2023, call, which was resolved after “the CMS Reconsideration Official
  found that there was no evidence the call at issue failed due to actions by Elevance and should not have
  counted against Elevance.” (See Amended Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-
  03902-RDM) at 3.) This reconsideration decision reiterates and clarifies that a call will not be held against a
  plan unless there is evidence that the call failed due to actions of the plan. In our two calls, there is no
  evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at this time and
          verified that the calls were functioning for the stated duration.
          Our Omni telecommunication system also had no outages at that time.
          Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS reconsideration
  official’s decision of the Elevance call from 2023, we request you reconsider this decision and these calls be
  categorized as invalid because there is no evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




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  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform the plan they
  needed a French interpreter. The interviewer was on hold and then connected with a CSR but only heard the
  sound of a voice for a second. The interviewer said, “Hello,” but there was no response from the CSR. The
  interviewer continued to hold until the CSR disconnected, confirmed by the attached raw data and call log, see
  column N HangUpBy = Resp. We have no indication of audio issues with this call, or others placed by this
  interviewer. The previous case you reference was invalidated due to conflicting disconnect directions, that is not
  what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give the wrong
  number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the CSR could not hear
  them. The interviewer stayed on the line until the call timed out. We have no indication of audio issues with this
  call, or others placed by this interviewer. The previous case you reference was invalidated due to conflicting
  disconnect directions, that is not what occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will see that your Part
  D % complete TTY has increased to 100% and your Part D Star Rating has increased to 97%. I have highlighted
  the changes in yellow to make them stand out. Please keep these results for your records and CMS will do the
  same. We will pass these results onto the Stars team. The results in HPMS will not be updated.



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                                                         220


  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center Monitoring Performance
  Metrics for Accuracy and Accessibility Study, CMS encouraged plans to contact CMS if they believe an error
  occurred. UnitedHealthcare (UHC) is presenting the following issues for CMS review and consideration as
  we believe there has been an error in categorizing these calls as failures. In accordance with the technical
  notes and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should be invalidated
  according to the technical notes. The study’s technical notes state on page 19: “We ask the TTY operator to
  confirm the number he or she is dialing. Note: If the TTY operator dials the wrong number, the monitoring
  contractor opts to use its ‘do over’ option available to try again. In this scenario, the invalidated call is not
  counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct phone number or
  failed to confirm the dialed number per the technical notes and failed to opt to use its do over; therefore, this
  call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call should be
  invalidated:



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        CMS comments by the survey caller stated, “plan's extended recording that included information about
        special promotion for medical alert device.” This comment is clear evidence the wrong phone number
        was reached as UHC does not have any such promotion on the IVR or hold language used for the
        phone line being tested (1-800-753-8004). In fact, UHC does not have any audio promoting a medical
        alert device for any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt to use its “do
        over.”
        During our investigation into what may have occurred, we dialed similar numbers to recreate the
        caller’s experience; when we dialed 1-800-753-8001 (not a UHC number) instead of 1-800-753-8004
        (the 1 and 4 buttons are adjacent), we heard a message similar to the one noted by the caller: “Hello
        and congratulations. Are you interested in a free life alert device? You know the little life saving…
        Press 1 to enjoy this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based upon our call logs
        and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not confirm the
  number and did not opt to use its “do over” this call should be invalidated and not count against the plan per
  the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s side. A UHC
  French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. CMS’s call log
  indicates they heard the agent’s voice “cut in”. Our agent reported speaking in French to assist the caller,
  hearing a “hello” from the caller side, then a lack of audio from the caller side, indicating an audio issue due
  to the caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”, UHC observed the
  following details supporting the invalidation of this call:
         AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
         issues in their network that would have impacted the call. AT&T’s log indicates this call was up from
         2:06:24 to 2:20:00 PM (13 min 36 seconds).
         UHC’s telephony system did not have any outages and was at 100% health for that date and time.
         UHC’s system recorded the IVR selection of French, and this call was routed to a French-speaking
         agent.
         UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. The
         caller indicated they heard the UHC agent, however the UHC agent could not hear the caller and
         continued to offer support, but the lack of audio from the caller side prevented our CSR from engaging
         with them.
         The agent stayed on the line for 8 minutes and 17 seconds and continued to offer support in case the
         audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the survey caller’s
  side, CMS invalidated the call. We have attached our communication from 2022 on this call (C0901198),
  which was invalidated due to data indicating a disconnection error occurred on the survey caller’s side.
  Although the details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone equipment failures,
  employee error, or an issue on the part of its phone carrier before the results are issued to you” (page 28).
  This area of the technical notes and CMS application in the prior call reviews indicate invalidating this call
  due to technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the full duration of call,


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  the caller’s audio issues preventing our CSR from communicating with the caller, and CMS call review
  precedent, UHC requests this call be invalidated from the study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey caller’s side. A UHC
  agent picked up this call at 2:15 PM and offered to assist the caller. As noted by CMS, the caller heard our
  agent; however, our agent reported receiving no audio from the caller side, indicating an audio issue due to
  the survey caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s “report”, UHC
  observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
       issues in their network that would have impacted the call. AT&T log indicates call was up from 2:13:05
       to 2:24:11 PM (11 min 6 secs) and the caller hung up the call.
       UHC’s telephony system did not have any outages and was at 100% health at this date and time.
       We have evidence that no IVR touchtone input from the caller was received; therefore, this call was
       routed to an English-speaking agent who picked up this call at 2:15:45 PM and offered to assist.
       The UHC agent was ready to assist and transfer to the appropriate Vietnamese or other language
       support; however, there was absolutely no audio coming from the caller side.
       Caller states the UHC agent kept “repeating her name and introduction” and that she couldn’t hear me,
       further indicating an audio issue on the caller’s end.
       UHC can confirm we had three Vietnamese speaking agents available on this date and time (Truc
       Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation support line).
       UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer assistance to the
       caller for the duration of the call (surpassing the study’s minimum of 8 minutes) in case the audio/mute
       issue on the caller side was resolved (but that did not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated a potential issue
  on the survey caller’s side and CMS invalidated the call. We have attached our communication from 2022 on
  this call (C0901198), which was invalidated due to data indicating a disconnection error occurred on the
  survey caller’s side. Although the details of this call are different, they are similar in that for this call there is
  also sufficient evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the results are issued
  to you” (page 28). This area of the technical notes and CMS’s application in the prior call reviews indicate
  invalidating this call with technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or its phone carrier)
  which prevented our CSR from engaging with the caller, the availability of a Vietnamese-speaking agent, and
  CMS precedent: this call should be invalidated from the study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624



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  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
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  H3749
  H3794
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  H4094
  H4514
  H4527
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  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


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  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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  From:            CMS PartC&DStarRatings
  To:              Dietrich, Sadie M; CMS CallCenterMonitoring
  Cc:              Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin, Jennifer J; Valenzuela, Jose A;
                   Dobbins, Keith E; CMS PartC&DStarRatings
  Subject:         RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:            Friday, September 20, 2024 1:52:06 PM
  Attachments:     image002.png
                   image005.png
                   image001.jpg



  Confirming receipt.

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Thursday, September 19, 2024 5:27 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good evening,

  Thank you for your response on D1400487. We agree invalidating the call is appropriate given our Customer
  Service Representative (CSR) could not hear your interviewer. We believe that, by the same standard,
  D0800225 should be invalidated as well.

  Thank you also for sending the updated call log for D0800225. We believe the call log’s characterization of
  D0800225 shows a misunderstanding of what actually occurred that we would like to address. Together with
  the fact that there is no evidence one way or the other about the source of audio issue, correcting this
  misunderstanding should lead to this call being invalidated from the study.

  Specifically, the call log provides no evidence that the interviewer fulfilled the requirements necessary to
  include the call in the survey. According to the technical specifications, “completed contact with an interpreter
  is defined as establishing contact with an interpreter and confirming that the customer service
  representative can answer questions about the plan’s Medicare Part C benefit within eight minutes”
  (emphasis added). For this call, there is no evidence indicating the interviewer asked a question during the
  eight minutes or that the reason the question was not received was related to UHC’s system as opposed to
  the interviewer’s system. In any event, the CSR never had an opportunity to provide the appropriate
  response, and, therefore, this call should be invalidated and removed from the survey.

  There are three phases for a call to be validly part of the survey for the Star Ratings measure. First, the CMS
  interviewer must dial the plan number, which clearly happened with this call. The second phase is that the
  interviewer connects with the plan’s CSR, which your prior response correctly stated happened in this case.
  In the third phase, the CMS interviewer must ask the introductory question to which the CSR must answer
  affirmatively.

  Here, however, there is no evidence that the introductory question was ever asked, meaning that there is no
  evidence that the CSR had an opportunity to provide a response. As your last response correctly states, the
  interviewer connected to a CSR and heard a voice, which is contrary to your call log that indicates the call
  was placed on hold for 512 seconds. Our prior responses only indirectly addressed these misperceptions. To
  be clear, our evidence clearly demonstrates that the interviewer’s call log and CMS’s understanding of the
  call are incorrect:

          Call details (see call log in Exhibit A)
                2:12:00 PM EST: UHC received the call
                47 seconds: Caller was on IVR and after selection informed they were being connected and that


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              the call may be monitored or recorded
              5 seconds: Caller was routed and briefly rang to get to French-speaking CSR
              2:12:52 PM EST: Caller connected to CSR
                    Our audio recording (attached), along with Exhibits A and B (below), confirm that once the
                    interviewer was connected to a French-speaking CSR (within 52 seconds of the call start)
                    they stayed connected with the CSR for the entire duration of the call and were never put
                    on hold (as the interviewer thought and indicated in the call log).
                    Our systems confirm at the following times in the recording we heard the following from the
                    interviewer side:
                           At 0:00:25 the interviewer faintly said hello
                           At various points between 1:03 and 7:17 the recording shows faint rustling and
                           breathing sounds from the interviewer side of the connection. The noises were heard
                           at these timestamps in the recording:
                                 0:01:03
                                 0:01:08
                                 0:01:14
                                 0:01:15
                                 0:02:47
                                 0:02:49
                                 0:02:58
                                 0:02:59
                                 0:06:00
                                 0:06:48
                                 0:07:17
                    At no point in the recording does the interviewer ask the introductory question as required
                    by phrase 3.
              2:21:11 PM EST: Call disconnected (slightly over required eight minutes)
                    The UHC CSR did disconnect the call, after not being presented the introductory question
                    within eight minutes of connecting to the interviewer, as is allowed per the technical
                    specifications.

  The CMS call log lists code 293.4 for ‘Plan Call Center Dropped Call – Other’ and the finish note and hold
  time entries suggest that the interviewer incorrectly thought they were on “hold.” The call log suggests the
  interviewer believed the call was unsuccessful because the call was disconnected while on hold. However,
  as the facts above indicate, the call was not dropped while on hold and the CSR appropriately ended the call
  after eight minutes after not receiving the introductory question. CMS’s email of September 16 therefore is
  incorrect to the extent that it suggests that this eventual disconnection by the CSR was the source of the
  problem with the call.

  In short, the undisputed recording of the more than eight-minute call does not include evidence that the
  interviewer asked the required introductory question, failing to fulfill phase 3 requirements. The CSR did not
  have the opportunity to respond to the question during the required eight minutes. Had the introductory
  question ever been asked and heard, UHC could have taken the appropriate steps to respond. For these
  reasons, the test call was invalid and should be removed from the study.

  Invalidating the call is warranted, because there is no evidence that actions or inactions by UHC caused the
  problem with the call. In addition, invalidating this call ensures that we are not held to a different standard
  than Elevance, whose call decision was overturned earlier this year because there was no evidence that the
  call failed due to actions or inactions by Elevance. It would be inappropriate for this call to be included in the
  study given that standard.

  We calculate that 12 contracts (listed below) serving over 1,900,000 members should have a change in their
  overall Star Rating after this one call is invalidated. It is important that this matter be handled as soon as
  possible and at least prior to Star Ratings being released publicly so that these contracts have the correct
  Star Rating in October for the Annual Enrollment Period so that members can make informed decisions.



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  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Sincerely,
  Sadie Dietrich


  Below is additional evidence in support of our discussion above.

  Exhibit A. Confirms interviewer was on call for full duration with CSR and not on hold.



  Exhibit B. Confirms caller was specifically connected to a French-speaking CSR and given the lack of audio
  from the caller side the call disposition was recorded as “no answer” from the caller




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 4:27 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  Thank you for reaching out with your questions. We have completed our review and found the following.

  Call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s experience, that they
  connected to a CSR and heard someone say something and then cut out. The attached raw data and call log
  confirms that the plan disconnected the call, see column O HangUpBy = Resp.



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  Call D1400487 has been invalidated. The call recording clearly shows that the plan’s CSR was on the call and
  asking to talk with the person, but our interviewer cannot be heard. This supports what our interviewer states in
  the call note. We are not aware of other issues with this interviewer’s audio on that day. Based on the call
  recording that you provided, and that the CMS interviewer seems to indicate that they didn’t believe the CSR
  could hear them we have invalidated this call.

  The attached new result captures the impact of these invalidations on your plan. You will see that your Part D %
  complete LEP has increased to 97.87%, and your Part D Star Rating has increased to 98%. I have highlighted the
  changes in yellow to make them stand out. Please keep these results for your records and CMS will do the same.
  We will pass these results onto the Stars team for update after plan preview 2. The call center results in HPMS
  will not be updated.

  Thank you again for reaching out with your questions.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan Preview of 2025 Part C
  and D Star Ratings Data, CMS encouraged plans to alert CMS of any suspected data issues or errors. We
  have reviewed CMS’s responses to our previous inquiries and continue to believe CMS has erred in
  categorizing calls D0800225 and D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two calls be
  invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study.
  Without specific evidence that the audio issues with these calls occurred on our end, rather than the tester’s
  end, including them as attempted contacts would be improper, and to do so would have a material impact to
  multiple contracts’ Star Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below)
  should have a change in their overall Star Rating after these calls are invalidated. It is important that this
  matter be handled during plan preview so that these contracts have the correct Star Rating in October for the
  Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both sides have
  noted there were audio issues, but it is unclear what caused them. As you will hear on both calls, audio from
  the testers cannot be heard in either instance, indicating a potential issue on the tester’s end. We have seen
  no specific evidence indicating the source of the issues nor that the issues were due to actions taken, or not
  taken, by UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during the
  Quality Bonus Payment administrative review process because there was no evidence that the call failed due
  to actions or inactions by Elevance. We expect the same standard be applied to us and that these calls be
  invalidated as there is no specific evidence an error occurred on our end while evidence suggests an error
  could have occurred on the tester’s end (accidental muting or other technical issues) in both instances.


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  Again, we are not asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our end so that we are
  not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we will not be
  altering our decision at this time.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



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  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues with these calls or
  others placed by these interviewers. As we mentioned below, for the 2024 Star Ratings Elevance appealed a
  decision on a call and the CMS Reconsideration Official found a lack of evidence that the fail was due to actions
  by Elevance. We have no evidence the audio issues occurred on our end and have provided evidence that
  systems were working and the agents were ready and able to fulfill the testing requirements. As mentioned,
  without evidence of a failure on our end these calls should be invalidated similar to the outcome in the Elevance
  appeal. Can you share with us evidence indicating D1400487 and D0800225 failed due to actions by
  UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will remain as is. For
  D1400487 and D0800225 we understand that you believe there were audio issues on the CMS side. However, as
  we previously stated We have no indication of audio issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,




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                                                           231

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate them from the
  study. With D1400487 and D0800225, the evidence indicates our systems and agents were ready and
  available to fulfill the testing requirements and fails to support a conclusion that the audio issues occurred on
  our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the survey caller heard
  our agent offering support throughout, but the UHC agent heard no sound, which provides evidence of likely
  failure or mute on the caller’s side. With D0800225 there were similar audio issues noted on both sides. We
  understand CMS’s position is that there was “no indication of audio issues”; however, we have shared
  evidence that there was also no indication of audio issues on our side. Without definitive evidence of the
  error being UHC’s, the calls should be invalidated from the study. We agree that the invalidated call we
  referenced in our previous e-mail (C0901198 from 2022) was regarding disconnection; but the precedent
  correctly established how to handle situations when evidence fails to conclusively determine whether the
  failure was due to an error by the plan or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established through Elevance’s
  successful appeal of its March 23, 2023, call, which was resolved after “the CMS Reconsideration Official
  found that there was no evidence the call at issue failed due to actions by Elevance and should not have
  counted against Elevance.” (See Amended Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-
  03902-RDM) at 3.) This reconsideration decision reiterates and clarifies that a call will not be held against a
  plan unless there is evidence that the call failed due to actions of the plan. In our two calls, there is no
  evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at this time and
          verified that the calls were functioning for the stated duration.
          Our Omni telecommunication system also had no outages at that time.
          Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS reconsideration
  official’s decision of the Elevance call from 2023, we request you reconsider this decision and these calls be
  categorized as invalid because there is no evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




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  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions.

  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform the plan they
  needed a French interpreter. The interviewer was on hold and then connected with a CSR but only heard the
  sound of a voice for a second. The interviewer said, “Hello,” but there was no response from the CSR. The
  interviewer continued to hold until the CSR disconnected, confirmed by the attached raw data and call log, see
  column N HangUpBy = Resp. We have no indication of audio issues with this call, or others placed by this
  interviewer. The previous case you reference was invalidated due to conflicting disconnect directions, that is not
  what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give the wrong
  number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the CSR could not hear
  them. The interviewer stayed on the line until the call timed out. We have no indication of audio issues with this
  call, or others placed by this interviewer. The previous case you reference was invalidated due to conflicting
  disconnect directions, that is not what occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will see that your Part
  D % complete TTY has increased to 100% and your Part D Star Rating has increased to 97%. I have highlighted
  the changes in yellow to make them stand out. Please keep these results for your records and CMS will do the
  same. We will pass these results onto the Stars team. The results in HPMS will not be updated.



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  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center Monitoring Performance
  Metrics for Accuracy and Accessibility Study, CMS encouraged plans to contact CMS if they believe an error
  occurred. UnitedHealthcare (UHC) is presenting the following issues for CMS review and consideration as
  we believe there has been an error in categorizing these calls as failures. In accordance with the technical
  notes and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should be invalidated
  according to the technical notes. The study’s technical notes state on page 19: “We ask the TTY operator to
  confirm the number he or she is dialing. Note: If the TTY operator dials the wrong number, the monitoring
  contractor opts to use its ‘do over’ option available to try again. In this scenario, the invalidated call is not
  counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct phone number or
  failed to confirm the dialed number per the technical notes and failed to opt to use its do over; therefore, this
  call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call should be
  invalidated:



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        CMS comments by the survey caller stated, “plan's extended recording that included information about
        special promotion for medical alert device.” This comment is clear evidence the wrong phone number
        was reached as UHC does not have any such promotion on the IVR or hold language used for the
        phone line being tested (1-800-753-8004). In fact, UHC does not have any audio promoting a medical
        alert device for any of the phone lines filed in HPMS.
        The survey caller makes no mention of confirming the number called and did not opt to use its “do
        over.”
        During our investigation into what may have occurred, we dialed similar numbers to recreate the
        caller’s experience; when we dialed 1-800-753-8001 (not a UHC number) instead of 1-800-753-8004
        (the 1 and 4 buttons are adjacent), we heard a message similar to the one noted by the caller: “Hello
        and congratulations. Are you interested in a free life alert device? You know the little life saving…
        Press 1 to enjoy this special offer”.
        UHC did not have any calls to 1-800-753-8004 at the stated time and date based upon our call logs
        and system reports.
        UHC’s telephony system did not have any outages and was at 100% health for that date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not confirm the
  number and did not opt to use its “do over” this call should be invalidated and not count against the plan per
  the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s side. A UHC
  French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. CMS’s call log
  indicates they heard the agent’s voice “cut in”. Our agent reported speaking in French to assist the caller,
  hearing a “hello” from the caller side, then a lack of audio from the caller side, indicating an audio issue due
  to the caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”, UHC observed the
  following details supporting the invalidation of this call:
         AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
         issues in their network that would have impacted the call. AT&T’s log indicates this call was up from
         2:06:24 to 2:20:00 PM (13 min 36 seconds).
         UHC’s telephony system did not have any outages and was at 100% health for that date and time.
         UHC’s system recorded the IVR selection of French, and this call was routed to a French-speaking
         agent.
         UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. The
         caller indicated they heard the UHC agent, however the UHC agent could not hear the caller and
         continued to offer support, but the lack of audio from the caller side prevented our CSR from engaging
         with them.
         The agent stayed on the line for 8 minutes and 17 seconds and continued to offer support in case the
         audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the survey caller’s
  side, CMS invalidated the call. We have attached our communication from 2022 on this call (C0901198),
  which was invalidated due to data indicating a disconnection error occurred on the survey caller’s side.
  Although the details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone equipment failures,
  employee error, or an issue on the part of its phone carrier before the results are issued to you” (page 28).
  This area of the technical notes and CMS application in the prior call reviews indicate invalidating this call
  due to technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the full duration of call,


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  the caller’s audio issues preventing our CSR from communicating with the caller, and CMS call review
  precedent, UHC requests this call be invalidated from the study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey caller’s side. A UHC
  agent picked up this call at 2:15 PM and offered to assist the caller. As noted by CMS, the caller heard our
  agent; however, our agent reported receiving no audio from the caller side, indicating an audio issue due to
  the survey caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s “report”, UHC
  observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
       issues in their network that would have impacted the call. AT&T log indicates call was up from 2:13:05
       to 2:24:11 PM (11 min 6 secs) and the caller hung up the call.
       UHC’s telephony system did not have any outages and was at 100% health at this date and time.
       We have evidence that no IVR touchtone input from the caller was received; therefore, this call was
       routed to an English-speaking agent who picked up this call at 2:15:45 PM and offered to assist.
       The UHC agent was ready to assist and transfer to the appropriate Vietnamese or other language
       support; however, there was absolutely no audio coming from the caller side.
       Caller states the UHC agent kept “repeating her name and introduction” and that she couldn’t hear me,
       further indicating an audio issue on the caller’s end.
       UHC can confirm we had three Vietnamese speaking agents available on this date and time (Truc
       Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation support line).
       UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer assistance to the
       caller for the duration of the call (surpassing the study’s minimum of 8 minutes) in case the audio/mute
       issue on the caller side was resolved (but that did not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated a potential issue
  on the survey caller’s side and CMS invalidated the call. We have attached our communication from 2022 on
  this call (C0901198), which was invalidated due to data indicating a disconnection error occurred on the
  survey caller’s side. Although the details of this call are different, they are similar in that for this call there is
  also sufficient evidence to show an error or technical issue occurred on the caller’s side.

  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the results are issued
  to you” (page 28). This area of the technical notes and CMS’s application in the prior call reviews indicate
  invalidating this call with technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or its phone carrier)
  which prevented our CSR from engaging with the caller, the availability of a Vietnamese-speaking agent, and
  CMS precedent: this call should be invalidated from the study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624



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  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008
  H5253
  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


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  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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  sender by replying to this message and delete this e-mail immediately.
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  notified that any dissemination, distribution or copying of this e-mail is
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  sender by replying to this message and delete this e-mail immediately.




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                                              222
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  From:           CMS CallCenterMonitoring
  To:             Dietrich, Sadie M; CMS PartC&DStarRatings
  Cc:             Brady, Will; Brooks, Carolyn J; Mirfakhraie, Zoe; Larson, Aaron J; Lenz, Michael R; Steele, Michael A; Martin, Jennifer J; Valenzuela, Jose A;
                  Dobbins, Keith E
  Subject:        RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study
  Date:           Tuesday, September 24, 2024 3:32:00 PM
  Attachments:    image002.png
                  image004.png
                  image008.png
                  SII_RawCallLog_2024_Full_H1045_S5921.xlsx
                  image001.jpg
                  image005.jpg



  Good afternoon,

  The determination for call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s
  experience, that they connected to a CSR and heard someone say something and then cut out. The recording
  shows the brief noise that the interviewer referenced at the 9 second mark. At no point during your provided
  recording can your plan be heard trying to engage the French speaking caller. The attached raw data and call log
  confirms that the plan disconnected the call, see column O HangUpBy = Resp.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Thursday, September 19, 2024 5:34 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Responding with Exhibit B included below.

  From: Dietrich, Sadie M
  Sent: Thursday, September 19, 2024 4:27 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



  Good evening,

  Thank you for your response on D1400487. We agree invalidating the call is appropriate given our Customer
  Service Representative (CSR) could not hear your interviewer. We believe that, by the same standard,
  D0800225 should be invalidated as well.

  Thank you also for sending the updated call log for D0800225. We believe the call log’s characterization of
  D0800225 shows a misunderstanding of what actually occurred that we would like to address. Together with
  the fact that there is no evidence one way or the other about the source of audio issue, correcting this



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  misunderstanding should lead to this call being invalidated from the study.

  Specifically, the call log provides no evidence that the interviewer fulfilled the requirements necessary to
  include the call in the survey. According to the technical specifications, “completed contact with an interpreter
  is defined as establishing contact with an interpreter and confirming that the customer service
  representative can answer questions about the plan’s Medicare Part C benefit within eight minutes”
  (emphasis added). For this call, there is no evidence indicating the interviewer asked a question during the
  eight minutes or that the reason the question was not received was related to UHC’s system as opposed to
  the interviewer’s system. In any event, the CSR never had an opportunity to provide the appropriate
  response, and, therefore, this call should be invalidated and removed from the survey.

  There are three phases for a call to be validly part of the survey for the Star Ratings measure. First, the CMS
  interviewer must dial the plan number, which clearly happened with this call. The second phase is that the
  interviewer connects with the plan’s CSR, which your prior response correctly stated happened in this case.
  In the third phase, the CMS interviewer must ask the introductory question to which the CSR must answer
  affirmatively.

  Here, however, there is no evidence that the introductory question was ever asked, meaning that there is no
  evidence that the CSR had an opportunity to provide a response. As your last response correctly states, the
  interviewer connected to a CSR and heard a voice, which is contrary to your call log that indicates the call
  was placed on hold for 512 seconds. Our prior responses only indirectly addressed these misperceptions. To
  be clear, our evidence clearly demonstrates that the interviewer’s call log and CMS’s understanding of the
  call are incorrect:

        Call details (see call log in Exhibit A)
              2:12:00 PM EST: UHC received the call
              47 seconds: Caller was on IVR and after selection informed they were being connected and that
              the call may be monitored or recorded
              5 seconds: Caller was routed and briefly rang to get to French-speaking CSR
              2:12:52 PM EST: Caller connected to CSR
                      Our audio recording (attached), along with Exhibits A and B (below), confirm that once the
                      interviewer was connected to a French-speaking CSR (within 52 seconds of the call start)
                      they stayed connected with the CSR for the entire duration of the call and were never put
                      on hold (as the interviewer thought and indicated in the call log).
                      Our systems confirm at the following times in the recording we heard the following from the
                      interviewer side:
                             At 0:00:25 the interviewer faintly said hello
                             At various points between 1:03 and 7:17 the recording shows faint rustling and
                             breathing sounds from the interviewer side of the connection. The noises were heard
                             at these timestamps in the recording:
                                   0:01:03
                                   0:01:08
                                   0:01:14
                                   0:01:15
                                   0:02:47
                                   0:02:49
                                   0:02:58
                                   0:02:59
                                   0:06:00
                                   0:06:48
                                   0:07:17
                      At no point in the recording does the interviewer ask the introductory question as required
                      by phrase 3.
              2:21:11 PM EST: Call disconnected (slightly over required eight minutes)
                      The UHC CSR did disconnect the call, after not being presented the introductory question


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                     within eight minutes of connecting to the interviewer, as is allowed per the technical
                     specifications.

  The CMS call log lists code 293.4 for ‘Plan Call Center Dropped Call – Other’ and the finish note and hold
  time entries suggest that the interviewer incorrectly thought they were on “hold.” The call log suggests the
  interviewer believed the call was unsuccessful because the call was disconnected while on hold. However,
  as the facts above indicate, the call was not dropped while on hold and the CSR appropriately ended the call
  after eight minutes after not receiving the introductory question. CMS’s email of September 16 therefore is
  incorrect to the extent that it suggests that this eventual disconnection by the CSR was the source of the
  problem with the call.

  In short, the undisputed recording of the more than eight-minute call does not include evidence that the
  interviewer asked the required introductory question, failing to fulfill phase 3 requirements. The CSR did not
  have the opportunity to respond to the question during the required eight minutes. Had the introductory
  question ever been asked and heard, UHC could have taken the appropriate steps to respond. For these
  reasons, the test call was invalid and should be removed from the study.

  Invalidating the call is warranted, because there is no evidence that actions or inactions by UHC caused the
  problem with the call. In addition, invalidating this call ensures that we are not held to a different standard
  than Elevance, whose call decision was overturned earlier this year because there was no evidence that the
  call failed due to actions or inactions by Elevance. It would be inappropriate for this call to be included in the
  study given that standard.

  We calculate that 12 contracts (listed below) serving over 1,900,000 members should have a change in their
  overall Star Rating after this one call is invalidated. It is important that this matter be handled as soon as
  possible and at least prior to Star Ratings being released publicly so that these contracts have the correct
  Star Rating in October for the Annual Enrollment Period so that members can make informed decisions.

  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Sincerely,
  Sadie Dietrich


  Below is additional evidence in support of our discussion above.

  Exhibit A. Confirms interviewer was on call for full duration with CSR and not on hold.



  Exhibit B. Confirms caller was specifically connected to a French-speaking CSR and given the lack of audio
  from the caller side the call disposition was recorded as “no answer” from the caller




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                                                              241




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Monday, September 16, 2024 4:27 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


  Caution: External email. Do not open attachments or click on links if you do not recognize the sender.




  Good evening,

  Thank you for reaching out with your questions. We have completed our review and found the following.

  Call D0800225 will remain as is. The plan’s provided recording confirms the interviewer’s experience, that they
  connected to a CSR and heard someone say something and then cut out. The attached raw data and call log
  confirms that the plan disconnected the call, see column O HangUpBy = Resp.

  Call D1400487 has been invalidated. The call recording clearly shows that the plan’s CSR was on the call and
  asking to talk with the person, but our interviewer cannot be heard. This supports what our interviewer states in
  the call note. We are not aware of other issues with this interviewer’s audio on that day. Based on the call
  recording that you provided, and that the CMS interviewer seems to indicate that they didn’t believe the CSR
  could hear them we have invalidated this call.

  The attached new result captures the impact of these invalidations on your plan. You will see that your Part D %
  complete LEP has increased to 97.87%, and your Part D Star Rating has increased to 98%. I have highlighted the
  changes in yellow to make them stand out. Please keep these results for your records and CMS will do the same.
  We will pass these results onto the Stars team for update after plan preview 2. The call center results in HPMS
  will not be updated.

  Thank you again for reaching out with your questions.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, September 13, 2024 3:49 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
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  Good afternoon,

  In the recent HPMS Memo issued on September 5, 2024, regarding the Second Plan Preview of 2025 Part C
  and D Star Ratings Data, CMS encouraged plans to alert CMS of any suspected data issues or errors. We
  have reviewed CMS’s responses to our previous inquiries and continue to believe CMS has erred in
  categorizing calls D0800225 and D1400487 as failures.

  In accordance with the technical notes and prior call reviews, UHC requests that these two calls be
  invalidated from the 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study.
  Without specific evidence that the audio issues with these calls occurred on our end, rather than the tester’s
  end, including them as attempted contacts would be improper, and to do so would have a material impact to
  multiple contracts’ Star Ratings. We calculate that over 1,900,000 members in 12 contracts (listed below)
  should have a change in their overall Star Rating after these calls are invalidated. It is important that this
  matter be handled during plan preview so that these contracts have the correct Star Rating in October for the
  Annual Enrollment Period.

  In addition to evidence provided earlier, we are attaching our recordings of these calls. Both sides have
  noted there were audio issues, but it is unclear what caused them. As you will hear on both calls, audio from
  the testers cannot be heard in either instance, indicating a potential issue on the tester’s end. We have seen
  no specific evidence indicating the source of the issues nor that the issues were due to actions taken, or not
  taken, by UnitedHealthcare. Earlier this year, CMS reversed a decision on an Elevance call during the
  Quality Bonus Payment administrative review process because there was no evidence that the call failed due
  to actions or inactions by Elevance. We expect the same standard be applied to us and that these calls be
  invalidated as there is no specific evidence an error occurred on our end while evidence suggests an error
  could have occurred on the tester’s end (accidental muting or other technical issues) in both instances.
  Again, we are not asking that these calls be categorized as successful, we are just asking that they be
  invalidated from the study given there isn’t clear evidence that the issue occurred on our end so that we are
  not held to a different standard than Elevance.


  Contracts:
  H0543
  H0624
  H0710
  H0755
  H1045
  H1889
  H2247
  H3805
  H4544
  H5652
  H8768
  R6801

  Best regards,
  Sadie




  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Wednesday, August 14, 2024 5:50 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>; CMS PartC&DStarRatings <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>


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  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good evening,

  CMS has provided you evidence to support our conclusions in our previous responses, and we will not be
  altering our decision at this time.

  Very respectfully,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, August 14, 2024 3:32 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>; CMS PartC&DStarRatings
  <PartCandDStarRatings@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  Adding the Star Ratings team given we are in the Star Ratings plan preview period.

  We appreciate your response and understand you do not have an indication of audio issues with these calls or
  others placed by these interviewers. As we mentioned below, for the 2024 Star Ratings Elevance appealed a
  decision on a call and the CMS Reconsideration Official found a lack of evidence that the fail was due to actions
  by Elevance. We have no evidence the audio issues occurred on our end and have provided evidence that
  systems were working and the agents were ready and able to fulfill the testing requirements. As mentioned,
  without evidence of a failure on our end these calls should be invalidated similar to the outcome in the Elevance
  appeal. Can you share with us evidence indicating D1400487 and D0800225 failed due to actions by
  UnitedHealthcare?

  Best regards,
  Sadie



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Tuesday, August 13, 2024 11:03 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions. The outcomes of the calls in question will remain as is. For
  D1400487 and D0800225 we understand that you believe there were audio issues on the CMS side. However, as
  we previously stated We have no indication of audio issues with this call, or others placed by this interviewer.

  Very respectfully,

  Steve

  From: CMS CallCenterMonitoring
  Sent: Thursday, August 1, 2024 6:10 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning,

  We will review and be in touch.

  Thank you,

  Steve

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Wednesday, July 31, 2024 11:52 AM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good morning –

  Thank you for your response and decision on D0800347.

  Regarding D1400487 and D0800225 we request you re-consider these calls and invalidate them from the
  study. With D1400487 and D0800225, the evidence indicates our systems and agents were ready and
  available to fulfill the testing requirements and fails to support a conclusion that the audio issues occurred on
  our end and not the testers.

  We are not disputing the experiences reported by the survey callers. With D1400487, the survey caller heard
  our agent offering support throughout, but the UHC agent heard no sound, which provides evidence of likely
  failure or mute on the caller’s side. With D0800225 there were similar audio issues noted on both sides. We
  understand CMS’s position is that there was “no indication of audio issues”; however, we have shared
  evidence that there was also no indication of audio issues on our side. Without definitive evidence of the
  error being UHC’s, the calls should be invalidated from the study. We agree that the invalidated call we
  referenced in our previous e-mail (C0901198 from 2022) was regarding disconnection; but the precedent


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  correctly established how to handle situations when evidence fails to conclusively determine whether the
  failure was due to an error by the plan or by the tester.

  In addition to the call overturn of C0901198 (mentioned above), precedent is established through Elevance’s
  successful appeal of its March 23, 2023, call, which was resolved after “the CMS Reconsideration Official
  found that there was no evidence the call at issue failed due to actions by Elevance and should not have
  counted against Elevance.” (See Amended Complaint in Elevance Health Inc. v. Becerra, (D.D.C. 1”23-cv-
  03902-RDM) at 3.) This reconsideration decision reiterates and clarifies that a call will not be held against a
  plan unless there is evidence that the call failed due to actions of the plan. In our two calls, there is no
  evidence indicating error on our end and not the testers.

  In fact, available evidence indicates UHC was ready and available to handle these calls:
         AT&T, a neutral third party, has independently verified that there were no outages at this time and
         verified that the calls were functioning for the stated duration.
         Our Omni telecommunication system also had no outages at that time.
         Our agents also state their systems were working as expected.

  Consistent with overturning call C0901198 from 2022 and in accordance with the CMS reconsideration
  official’s decision of the Elevance call from 2023, we request you reconsider this decision and these calls be
  categorized as invalid because there is no evidence indicating a failure on our end and not the testers.

  Telephony and Network Performance was at 100% (UHC’s Omni system):




  Thank you in advance for your re-consideration of these two calls.

  Best regards,
  Sadie Dietrich



  From: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Sent: Thursday, July 25, 2024 3:54 PM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study


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  Good afternoon,

  Thank you for reaching out with your questions.




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  Call D0800225 will remain as is. The interviewer was able to connect with the plan and inform the plan they
  needed a French interpreter. The interviewer was on hold and then connected with a CSR but only heard the
  sound of a voice for a second. The interviewer said, “Hello,” but there was no response from the CSR. The
  interviewer continued to hold until the CSR disconnected, confirmed by the attached raw data and call log, see
  column N HangUpBy = Resp. We have no indication of audio issues with this call, or others placed by this
  interviewer. The previous case you reference was invalidated due to conflicting disconnect directions, that is not
  what occurred here.

  Call D0800347 has been invalidated. The attached TTY tape shows that the interviewer did give the wrong
  number to the TTY operator. Interviewer provided 1-800-753-8005 instead of 1-800-753-8004.

  Call D1400487 will remain as is. The interviewer connected with the plan and a CSR but the CSR could not hear
  them. The interviewer stayed on the line until the call timed out. We have no indication of audio issues with this
  call, or others placed by this interviewer. The previous case you reference was invalidated due to conflicting
  disconnect directions, that is not what occurred here.

  The attached new result captures the impact of this single invalidation on your plans. You will see that your Part
  D % complete TTY has increased to 100% and your Part D Star Rating has increased to 97%. I have highlighted
  the changes in yellow to make them stand out. Please keep these results for your records and CMS will do the
  same. We will pass these results onto the Stars team. The results in HPMS will not be updated.

  Thank you again for reaching out with your question.

  Very respectfully,

  Steve



  From: CMS CallCenterMonitoring
  Sent: Monday, July 22, 2024 11:56 AM
  To: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: RE: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study

  Good afternoon,

  We have received your email and will be in touch.

  Thank you,

  From: Dietrich, Sadie M <sadie_dietrich@uhc.com>
  Sent: Friday, July 19, 2024 1:39 PM
  To: CMS CallCenterMonitoring <CallCenterMonitoring@cms.hhs.gov>
  Cc: Brady, Will <will.brady@uhc.com>; Brooks, Carolyn J <carolyn.brooks@uhc.com>; Mirfakhraie, Zoe
  <zoe_mirfakhraie@uhc.com>; Larson, Aaron J <aaron_j_larson@uhg.com>; Lenz, Michael R <michael_lenz@uhc.com>;
  Steele, Michael A <michael_steele@uhc.com>; Martin, Jennifer J <jennifer_j_martin@uhc.com>; Valenzuela, Jose A
  <jose.valenzuela@uhc.com>; Dobbins, Keith E <keith_e_dobbins@uhc.com>
  Subject: 2024 Call Center Monitoring Performance Metrics for Accuracy and Accessibility Study



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  Good afternoon,

  In the recent HPMS Memo issued on July 11, 2024 regarding the 2024 Call Center Monitoring Performance
  Metrics for Accuracy and Accessibility Study, CMS encouraged plans to contact CMS if they believe an error
  occurred. UnitedHealthcare (UHC) is presenting the following issues for CMS review and consideration as
  we believe there has been an error in categorizing these calls as failures. In accordance with the technical
  notes and prior call reviews, UHC requests the following three calls be invalidated from the study.

  D0800347: February 19, 7:49 PM
  There is clear evidence that an incorrect number was dialed on this call and the call should be invalidated
  according to the technical notes. The study’s technical notes state on page 19: “We ask the TTY operator to
  confirm the number he or she is dialing. Note: If the TTY operator dials the wrong number, the monitoring
  contractor opts to use its ‘do over’ option available to try again. In this scenario, the invalidated call is not
  counted against the plan.”

  For this call, D0800347, the caller either failed to provide the TTY operator the correct phone number or
  failed to confirm the dialed number per the technical notes and failed to opt to use its do over; therefore, this
  call should be removed from the study.

  UHC has the following evidence that the caller connected to the wrong number and the call should be
  invalidated:
         CMS comments by the survey caller stated, “plan's extended recording that included information about
         special promotion for medical alert device.” This comment is clear evidence the wrong phone number
         was reached as UHC does not have any such promotion on the IVR or hold language used for the
         phone line being tested (1-800-753-8004). In fact, UHC does not have any audio promoting a medical
         alert device for any of the phone lines filed in HPMS.
         The survey caller makes no mention of confirming the number called and did not opt to use its “do
         over.”
         During our investigation into what may have occurred, we dialed similar numbers to recreate the
         caller’s experience; when we dialed 1-800-753-8001 (not a UHC number) instead of 1-800-753-8004
         (the 1 and 4 buttons are adjacent), we heard a message similar to the one noted by the caller: “Hello
         and congratulations. Are you interested in a free life alert device? You know the little life saving…
         Press 1 to enjoy this special offer”.
         UHC did not have any calls to 1-800-753-8004 at the stated time and date based upon our call logs
         and system reports.
         UHC’s telephony system did not have any outages and was at 100% health for that date and time.

  Based on clear evidence that an incorrect number was used, and the survey caller did not confirm the
  number and did not opt to use its “do over” this call should be invalidated and not count against the plan per
  the technical notes (page 19).

  D0800225: February 19, 2:11 PM
  Based on our research, this call should be invalidated due to audio issues on the caller’s side. A UHC
  French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. CMS’s call log
  indicates they heard the agent’s voice “cut in”. Our agent reported speaking in French to assist the caller,
  hearing a “hello” from the caller side, then a lack of audio from the caller side, indicating an audio issue due
  to the caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the caller’s “report”, UHC observed the
  following details supporting the invalidation of this call:
         AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
         issues in their network that would have impacted the call. AT&T’s log indicates this call was up from
         2:06:24 to 2:20:00 PM (13 min 36 seconds).



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        UHC’s telephony system did not have any outages and was at 100% health for that date and time.
        UHC’s system recorded the IVR selection of French, and this call was routed to a French-speaking
        agent.
        UHC French-speaking agent picked up this call at 2:12:52 PM and offered support to the caller. The
        caller indicated they heard the UHC agent, however the UHC agent could not hear the caller and
        continued to offer support, but the lack of audio from the caller side prevented our CSR from engaging
        with them.
        The agent stayed on the line for 8 minutes and 17 seconds and continued to offer support in case the
        audio on caller side was fixed (but that did not occur).

  In a similar call review in 2022 where evidence and data indicated a potential issue on the survey caller’s
  side, CMS invalidated the call. We have attached our communication from 2022 on this call (C0901198),
  which was invalidated due to data indicating a disconnection error occurred on the survey caller’s side.
  Although the details of this call are different, they are similar in that for this call there is also sufficient
  evidence to show an error or technical issue occurred on the caller’s side.

  The technical notes state that “CMS’s contractor has investigated to rule out any phone equipment failures,
  employee error, or an issue on the part of its phone carrier before the results are issued to you” (page 28).
  This area of the technical notes and CMS application in the prior call reviews indicate invalidating this call
  due to technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the availability of a French-speaking agent for the full duration of call,
  the caller’s audio issues preventing our CSR from communicating with the caller, and CMS call review
  precedent, UHC requests this call be invalidated from the study.

  D1400487: April 2, 2:13 PM
  UHC also believes that this call should be invalidated due to audio issues on the survey caller’s side. A UHC
  agent picked up this call at 2:15 PM and offered to assist the caller. As noted by CMS, the caller heard our
  agent; however, our agent reported receiving no audio from the caller side, indicating an audio issue due to
  the survey caller’s equipment, connection, carrier, or something else.

  Based upon our review of the technology, our system log details, and the survey caller’s “report”, UHC
  observed the following details supporting the invalidation of this call:
       AT&T (our telecom provider) has not identified any outages for this time and has indicated no known
       issues in their network that would have impacted the call. AT&T log indicates call was up from 2:13:05
       to 2:24:11 PM (11 min 6 secs) and the caller hung up the call.
       UHC’s telephony system did not have any outages and was at 100% health at this date and time.
       We have evidence that no IVR touchtone input from the caller was received; therefore, this call was
       routed to an English-speaking agent who picked up this call at 2:15:45 PM and offered to assist.
       The UHC agent was ready to assist and transfer to the appropriate Vietnamese or other language
       support; however, there was absolutely no audio coming from the caller side.
       Caller states the UHC agent kept “repeating her name and introduction” and that she couldn’t hear me,
       further indicating an audio issue on the caller’s end.
       UHC can confirm we had three Vietnamese speaking agents available on this date and time (Truc
       Dang, Tram-Anh Ngo, and Joey Pham, as well as a translation support line).
       UHC’s agent stayed on the line for 8 minutes and 26 seconds and continued to offer assistance to the
       caller for the duration of the call (surpassing the study’s minimum of 8 minutes) in case the audio/mute
       issue on the caller side was resolved (but that did not occur).

  Similar to above, we are providing a call review in 2022 where evidence and data indicated a potential issue
  on the survey caller’s side and CMS invalidated the call. We have attached our communication from 2022 on
  this call (C0901198), which was invalidated due to data indicating a disconnection error occurred on the
  survey caller’s side. Although the details of this call are different, they are similar in that for this call there is
  also sufficient evidence to show an error or technical issue occurred on the caller’s side.



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  Also as above, the technical notes state that “CMS’s contractor has investigated to rule out any phone
  equipment failures, employee error, or an issue on the part of its phone carrier before the results are issued
  to you” (page 28). This area of the technical notes and CMS’s application in the prior call reviews indicate
  invalidating this call with technical issues on the caller’s side is appropriate.

  Given evidence of our system’s health, the complete lack of audio from the caller side (or its phone carrier)
  which prevented our CSR from engaging with the caller, the availability of a Vietnamese-speaking agent, and
  CMS precedent: this call should be invalidated from the study.



  Contracts
  The requests above are applicable to the contracts listed below:

  H0169
  H0251
  H0271
  H0294
  H0321
  H0432
  H0543
  H0609
  H0624
  H0710
  H0755
  H0764
  H0845
  H1045
  H1278
  H1360
  H1659
  H1889
  H1944
  H1961
  H2001
  H2226
  H2247
  H2272
  H2292
  H2406
  H2509
  H2577
  H2582
  H2802
  H3113
  H3256
  H3307
  H3379
  H3387
  H3418
  H3749
  H3794
  H3805
  H4094
  H4514
  H4527
  H4544
  H4604
  H5008


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  H5322
  H5420
  H5435
  H5652
  H6526
  H6595
  H6706
  H7404
  H7464
  H7778
  H8211
  H8768
  R0759
  R2604
  R3175
  R3444
  R5329
  R5342
  R6801
  R7444
  S5805
  S5820
  S5921


  Regards,
  Sadie Dietrich

  UnitedHealthcare
  Medicare Health Plan Quality/Star Ratings
  952-931-5362

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Exhibit A:
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Exhibit B:
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